  Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 1 of 95 Page ID #:468
                                                                                 ~~~~~
~'^


                                                                                            ~S
      t    Thomas P. Rilc~~, S13N 19706                                   2~i3 p' 12 P~912~
           LA~V OFFICES OF 1'iIOMAS P. R11,I;Y,P.C.                                            - ~ :tT
      2    First Library Squ~rc                                                           ,, ~ ,LIB.
           l l l~1 rrem~nt Avenuc                                                          _.~_
      3    South 1'asadcnn, CA 9103Q-3227
      4    Tcl: l26-799-9797
           Fix: G2(-799-9795
      5    1'1'1tLA\~'~:~tt.nct
      6    Attornc~~s for Plaintiff
           INNO~'ATIV~:Sl'OItTS 117ANAGI;MI:NT,INC.
           d/l~/~ li~''1'i;GItATCU SPOR7'5 A'ICI)IA
      8

      s                               UNI'TI?D STATES DISTRICT COURT
                                  CC\TIZAL UIS7'RICT COURT OF CALIFORNIA
      ~o                                     ~'~'ES7'I:RN DIVISION
      ~~
            Inno~~ativc Sports Management,inc., d/h/a           Case No.: 2:22-cv-07303-1'JII~ ~LSjC
      ~z    Integrated Sports Media,
      13                                                         PLAINTIFF'S RESPONSES TO
                            Plaintiff,
                                                                 ll~F[:!~'DAh'T'S REQUF.S"I' FOR
      ~a
                                                                 PROi)UCTION OF DOCUMFhTS
                                  ~~.
      ~s
      ~s    Gerardo Vuldi~~i~~,

      n                     1)efcnd:~nt.

      18

      is   PROPOUNDING PARTY: Defendant Gerardo Valdivia, individually and d/U/a Tondero
                              Peruvian Cuisine
      20
           1tESNONDINC YAR'I'1':           Inno~~ati~~c Spirts ~'I.~na~;cmcnt, lnc., d/b/a Intc~ratcd Sports 1~icdia
      21

      zz ~ SF.T NUMBER:                    ONE(1)

      23

      2a       Pursuant to the Federal Rules of Civil Procedure Rule 34,PlaintiffINNOVATIVE SPORTS
           MANAGEMCNT,INC. d/b/a IN"I'EGRAT~D SPORTS MEDIA ("Plaintiff") hereby responds to the
      zs
           Request for Production of Documents of Gerardo Valdivia individually and d/b/a Tondero Peruvian
      zs
           Cuisine ("Defendant").
      27
           ///
      28




           PLAINTIFF'S RESPONSES TO llEF[iNDANT'S REQUEST FOR PRODUCTION OF DOCUMEN"fS
           CASE NO.2:22-cv-07303-TJH-PLA
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 2 of 95 Page ID #:469




                                                      ir~~rizc~nucT~oty
      2

      3            Plaintiff has not completed its discovery or preparation for the trial of this matter.

     a      Furthermore, Pllintitrhas not completed its re~~ic~~+ and lnalysis ofdocuments thus far gathered in

     5
            the course of discovery. Accordingly, these responses arc made without prejudice to Plaintiff's right
            to present additional facts or contentions based upon information and documentation hereafter
     s
            obtained or evaluated.
                   Plaintiff specifically reserves the right to supplement or amend these responses or present
     8
           additional facts, contentions and documents at a later date, including the right to raise any applicable
     9
           objections, in light of deg-elopments in the law or the underlying claims and any relevant information
 ~o
           or documentation that Plaintiff subsequently may obtain.
 i~
                  Plaintifi~has made a reasonable effort to respond to each rcc~ucst as it understands and
 ~z        interprets each said request. If Defendant subsegticntly assert a different interpretation, Plaintiff
 13        reserves the right to supplement its responses and/or objections.
 14       ///
 15       //~

i6        ~~~

17        ///

          ~~~
18
          /~/
19
          //~
20
          ///
21
          ~~~
22
          ///
23
          ~//
24
          ~~/
25
          ~~~

26        ~~~

27        ~//
          r~~
28




         (.AMT[FP'S RESPONSES TO DEFEND/1NT'S 1ZEQUGST FOR PRODI,'CTIOv
         '                                                              OF DOCUMENTS
          ASE NO. 2:22-cv-07303-T111-P(,A
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 3 of 95 Page ID #:470




                                                  GI~,NI~.ItAL 013.II:CT1ONS


     3              1'hc follo~vin~ gcnrral objections ~~nply to each and cvcry responsc given herein, and arc

     a    i ncor~ratcd into Pl.~intiCi'S respoitscs to each rcqucst ('or production and inspccti~n as if set forth

     5
          fiiUy in each and every one of the follo~vin6 res~onscs:
                    1.     1'IaintifY~objects to any instructions or directions in the Itcc~uest to the extent that they
     s
          are contrary to provisions of the ~cderal Rules of Civil Procedure Rule 33. Plaintiff is not obligated
          to, and decline to, comply with any instnictions or directions that conflict with said Rules to the
  8
          extent that they purport to require any actions beyond or different from those set forth in Rule 33.
  9
                  2.      Plaintiii~objects to each request for prod~iction to t11e extent that is calls for the
 ~o
         disclosure of information protected by tltc attornc~--client privilege Ind/or the attorney work product
 ~~
         doctrine and/or any other applicable privilege or immunity; Plaintifl'~vill nat disclose such
 ~z      inforn~ation.
 13              3.        Plaintiff objects to each rcc~ucst for production to the c~tent that is calls for the
 14      disclosure of confidential information.
 15              4.        Plaintiff objects to the Definitions to tlic extent the impose upon Plaintiff a duty of

16       disclosure or other obligation nor required by the Federal Rules of Civil Procedure or Local Rules of

n        the United States District Court for the Western District of California.
                5.      Plaintiff objects to the Definitions of"YOU"and "YOl1R" as being overly broad.
18
         unduly burdensome, and vague and ambiguous and to tl~c extent it intends to impose upon }'laintiFf
19
         the duty to search or identify documents in the possession of individutils or entities other than
20
         Plaintiff and/or seeks information by the attorney-client privilege and/or «~ork product doctrine.
21
                6.       In stating the above objections, Plaintiff does note ~ti~aive, and hereby reserves, any
zz
         and all of their rights and further objections to the Request.
23
                7.        Subject to and without waiving the foregoing objections, Plaintiff further respond as
24
         FOIIOWS:
25       ~~/
26       ~~~

27       ~~~

28       ~~




         'LAINTIFr'S RESPONSES TO DCPCNDAVT'S REQUEST'FOR YRODUCI'ION OP DOCUMENTS
         'ASE NO. 2:22-cv-07303-TJIl-PLA
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 4 of 95 Page ID #:471




                           t~t.A~~~~~rr~s si~i~.cir~c c~i;,irc•i•~c~Nti nrr» itr~i~~~n~srs

           ll C:FH;NDt1\'1"S ltl?(~)Ut?ti'I' 1~Oit PltOI)UC'I'1ON NO. l:
                   Pro~~idc your company's ccrtil►catc or incorporation, bylaws, talcs, regulations, procedures,
           and any proposed amendments thcrcto, if any of these documents have been modified, amended or
           are in an~~ ~~~ay dilTcrent from those produced in response to the INCID1sN"f.


           PL:~I\`1'1FF'S RF.S1'ONSI: TO nEFI?n'DA~'T'S Itf;Q[1[?ST FOR PRO1)UCTION tiO. l:
                  Objection. INNOVATIVE SPORTS MAN~IGI:MI N'(', INC. objects to each Ind every, alt
           and singular, oi~the items listed as Defendant's Request for Production No. 1 as lollows: Attorney-
     ~o
           Client privilege; work product privilege; the privilc~es accorded under the United States
          Constitution and the Constitutions of one or more of the fifty states, the privileges accorded under
     ~2
          the rights of privacy of third parties, including but not limited to, INNOVATIVE SPORTS
 13       MANAGEMENT, INC., the privileges accorded other third parties, including but not limited to,
 ~a       those persons and parties ~vho are listed and described in the docwncnts herein; that the books,
 15       letters, papers and files, and each of the same, constitute proprietan~ information, constitute a trade
 ~s       secret, constitute information which INNOvn1~IVP. Sr~ORTs ~InNAGrN1~NT, 1NC. has a

 ~~       reasonable expectation of privacy and is subject to a right of privacy; constitute secrets, formulas,

 ~a       trade secrets, and business information. INNOVATIVE SPORTS MANAGEMENT,1I~iC.
          furthermore objects on the basis that the document request is overly broad, and moreover, seeks
19
          documents which are e~ctremely voluminous. INNOVATING SPORTS MANAGf:MENT, INC. also
20
          objects that some or all of these books, letters, papers, and files, ire available to the propounding
zi
          party through other and alternative sources, including but not limited to, third parties herein.
22
          f NNOV~ITIV~ SPOR'T'S MANAGCMEN"I', INC. also objects on the basis of the rights of privacy of
23
          hind parties in that the person and parties herein would have a reasonable expectation of privacy
za        hereunder. INNOVATIVI: SPORTS MANAGEMENT, INC. also objects on the basis that the
25        ~cqucst seeks information that is irrelevant and not proportional to the needs of the case.
26

z~        )EFENDANT'S Itf;UUGS7' FOIL 1'1t01)UCT1nN n0.2:
28              One copy of each of your most current employee lists and organizational charts.



          L.AINTIFF'S RESPONSES TO DEFENDANT'S Rf;QUEST I'OR PRODUCTION OF DOCUMENTS
          ASG NO. 2:22-cv-07303-TJli-PLA
          Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 5 of 95 Page ID #:472




               PLAINTIFF'S 1Zf~.SI'ONSF, TO UEFH;NI)ANT'S Ri: )U1~ST ~nR PRODUCTION NO.2:
                        Objection. INNOVA"I'1V1:.SNOIt'fS M/1N~1GI:MI:N"1', 1NC. ~hjccts to c~ch and every, all
               and singular, of the items listed as Dcicnd~int's Request ('or Production Nn. 2 as follows: Attorncy-
               Client privilege; work product privilege; the privileges accorded under the United States
                                                                                                              under
               Constitution and the Constitutions of one or more of the fitly states, the privileges accorded
               the rights of privacy of third parties, includinb but not limited to, INNOVA7'1VC SPOR'I~S
                                                                                                             to,
               A~IANAGEMENT, INC., the privileges accorded other third parties, including b~rt not limited
                                                                                                    the books,
               those persons and parties who arc listed and described in the documents herein; that
                                                                                                                a trade
               letters, papers and files, and each of the same, constitute praprietar}~ information, constitute
                                                                                                           has a
              secret, constitute information which 1NNOVA"1'[VI: SPORTS MANAGf;MEN"T, 1NC.
     ~o                                                                                                    formulas,
              reasonable expectation of privacy and is subject to a right of privacy; constitute secrets,
     ~i
              trade secrets, and business information. INNOVATIVE SPORTS MANAGCNIEN"T,1NC.
     ~z       furthermore objects on the basis that the document request is overly broad, and moreover, seeks
                                                                                                MENT,INC. also
     13       documents which arc extremely voluminous. INNOVATIVE SPORTS MANAGE
                                                                                                                 ing
     14       objects that some or all of these books, letters, papers, and fles, are available to the propound
                                                                                                         herein.
 15           party through other and alternative sources, including bt~t not limitcci ta, third parties
                                                                                                                          of
 ~s           INNOVATIVE SI'OR1'S MANAGEMENT.INC. also objects on the basis oi'thc rights oi'privacy
              third parties in that the person and parties herein would have a reasonable e~peciation of privacy

 18
              thereunder. INNOVATIVE SPORTS MANAGEMI;N'I',1NC. also objects on tl~e basis that the
                                                                                                                               j
              request seeks information that is irrelevant and not proportional to the needs of the case.
 19

 20
              ~I:FFNI).4N7''S REQUf:S7'FOIZ PIZODUCI'!ON NO.3:
zt
                    One copy ofeach annual or other periodic report of your company, separately for your
z2
              company and each ofits divisions or subsidiaries.
23

24
          'LAIN7'IFF'S It1:S1'nNST; TO 1)I~;1~'1:NDAN7"S RI:OUI;S7'FnR P1tODUC`I'!ON NO.3:
2s                    Objection. INNOVATIVE SPORTS MANAGEMEN"1',INC. objects to each and
zs        ~ every, all and singular, of the items listed as Defendant's Request for Production No. 3 as follows:
27        ~ ttorney-Client privilege; work product privilege; the privileges accorded under the
                                                                                                 United States
                                                                                                           under
28        ~   onstitution and the Constitutions ofone or more of the fifty states, the privileges accorded
              e rights of privacy of third parties, including but not limited to, 1NNOVA"I'IVE SPORTS

              A[NTII~F'S RGS!'ONSI:S 7'O pt:f~I:NUnT~'I"S RI:QUi:SI'f'OIi t'ROI)UC'flOv OI~ D(K U\-11:NTS
              .SF: NO. 2:22-cv-07303-TII i-PLA
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 6 of 95 Page ID #:473




                                                                                                         not limited to,
                MANAGrMrNT,1NC.,tl~c privileges accorded other third parties, including but
                                                                                         ents herein; that the hooks,
                those persons and parties ~vho arc listed and described in the docum
                                                                                    etary information, constitute a trade
                letters, papers and files, and each of the same, constitute Propri
                                                                               1'S M~INAGEMENT,INC. has a
               secret, constitute information ~vliich INNOVA7'!VL' S!'OIZ'
                                                                   to a right of privacy; constitute secrets, formulas,
               reasonable expectation oi'privacy and is subject
                                                                       Vi: SI'OR'I'S MANAGI:MEN"T,INC.
               trade secrets, and business i~il'ormation. INNOVA'I't
                                                                             t is overly broad, and moreover, seeks
               fiirihcrnlorc objects on the basis that the document rcc~ucs
                                                                                  SPORTS MAN/1GGM1:N'I', 1NC. also
               documents which arc extremely voluminous.[NNOVATIVP,
                                                                                     arc available to the propounding
               objects that some or all of these books, letters, papers, and files,
                                                                                  limited to, third parties herein.
               part}' through other and alternative sources, including but not
     ~o                                                                                the basis of the rights of privacy of
              INNOVATING SPORTS MAN~IGT:MI N'I', INC. also objects on
     >>                                                                            reasonable crpectation of privacy
              third parties in that the person and parties herein would have a
                                                                                        objects on the basis that the
     ~2       thereunder. 1NNOVA'1'1VC SPORT'S A9ANAG~MEN"T,INC. also
                                                                                    to the needs of the case.
     13       request seeks information that is irrelevant and not proportional
 14

 15           DCFFNllAN7''S 1ti~.QUf:ST FOR P120DUCTlOh' NO.=1:
                                                                                   whether Cormal or informal, of
 ~s                   All minutes, recordings, summaries or reports of'mcctings,
                                                                   of management employees of your company,
              the members ofeach committee, group or subgroup
                                                                 ons or subsidiaries.
 18
              separately for your company and each of its divisi

 19
                                                                  I;S'1' FOIZ PRODUCTION NO.4:
   PLAINTIFF'S It1:Sl'UNSI: TO DI:F'(;NI)ANT'S R(:Qli
20                                                                                            s to each and
                    Objection. 1NNOVA7'IVE SPORTS MANAGEMENT,INC. object
z~                                                                      st f'or !'r~ductian No. ~t as follows:
   ~~~ery, a1! and singular, of the items listed as I)el'cndant's Reque
zz                                                                                   under the United States
   lttorney-Client pri~~ilebc; work product privilc~e; the prig-ilcges accorded
23                                                                                      eges accorded under
   'onstitution and the Constitutions of~one or more of the Glty states, the privil
2a        ~                                                                                 SPOR"1~S
            ~e rights of privacy of third parties, including but not limited to, INNOVATIVE
25        j sANAGEMI:NT,INC., the privileges accorded other third parties, including but not limited to,

2s        t pose persons and parties who arc listed and described in the documents herein; that the books,
                                                                                                       tute a trade
z~        1. ttcrs, papers and files, and each of'the same, constitute proprietary information, consti
          S cret, constitute information which INNOVA'I'IV1: SPORTS MANAGt:ML'NT,
                                                                                                1NC. has a
28
                                                                                                        formulas,
          re ~sonable expectation of privacy and is subject to a right of privacy; constitute secrets,

          I'l,AIN'fIF'F'S RIiS('ONSGS TO UIiFENllAN7 'S RGQUI:S'I'FOR YRUUUC1~lU~l OI~ I~OCUA11iN7'S
          C.\SE NO.222-cv-07303=fJl1-PI.A
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 7 of 95 Page ID #:474




           trade secrets, and business information. INNOVA'I'IVT: SPORTS MANAG~MI:N1',INC.
           furthermore objects on the basis that t(ic document request is overly broad, and moreover, seeks
                                                                                                                also
           documents ~vhidi arc extremely voluminous. INNOVATIVE SPORTS MAN/1GCMI:NT,INC.
           objects that some or all of these books, letters, papers, and Liles, arc available to the propounding
           part~~ through other and alternative sources, including but not limited to, third parties herein.
           I NNOVAT1Vt: S!'OR1'S MANAGCMCNT,tNC. also objects on the basis of the rights of privacy of
           third parties in that the person end parties herein would have a reasonable expectation of privacy
           thereunder. INNOVATING SI'OR'I'S MANAG~UILN'I',INC. also objects on the basis that the
           request seeks information that is irrelevant and not proportional to the needs of the case.

     ~o
           ur;Fr~na~T~s it~~.Uu~:s~r root ~~izoi~~~c~rion~ vv.s:
                  All documents that report, describe, summarise, analyze, discuss ar comment on the
 12
          distribution of programs similar to the INC1Dl N"I'.
 13

 14       PLAINTIFF'S RFSPONSN:TO llLFLND~IN'1''S RI+:QUEST FOlt PRO1)UCT10~1 NU.5:
 15                       Objection. II~TIVOVA'1'IVE SPORTS MANAGEMEN'1',1NC. objects to each and
 ~s       every, all and singular, of the items listed as Defendant's Request for I'rodttction No. 5 as iollo~vs:
          Attorne~~-Client privilege; work product privilege; the privileges accorded under the United States

 18
          Constitution and the Constitutions ol'onc or ►Wore of the lilt~~ states, the privileges accorded unifier
          the rights of privac~~ of third parties, including but not limited to, [NNOVA'1'IV1: SYOR'1~S
 19
          MANAGEMI~N"f, INC., the privileges accorded other third parties, including but not limited ta,
20
          those persons and parties ~vho are listed and described in the documents herein; that the books,
zi
          letters, papers and files, and each of the same, constitute proprietar~~ ini'ormation, constitute a trade
22
          secret, constitute information which INNOVATIVT:' SPORTS MAN~IGL•'iVIENT, INC. has a
23
          seasonable expectation of privacy and is subject to a ribht of'privacy; constitute secrets, formulas,
2a        ,rode secrets, and business information. INI~IOVA"1'IVE SPURTS VIANAGEVII N'T, INC.
2s         urthermore objects on the basis that the document request is overly broad, and moreover, seeks
is        iocuments which aze extremely voluminous. INNOVA"I'IVL' SPOR"1'S MANIIGEML'NT, 1NC. also
2~        ibjects that some or all of these books, letters, papers, and files, are available to the propounding
28        lorry through other and alternative sources, including but not limited to, third parties herein.
          1VNOVATIV~ SPORTS MANAGEMENT', INC. also objects on the basis of the rights of privacy of

          LAfNTI~~'S RI:SI'ONSI;S TO DEFf;NDAK"T'S REQ(JfiST FOR
                                                                 YRO[~UC'I'ION OP pOCUMFNTS
          '?+4'9! ?~.?-~2~o~u033(33~GJI7N~J;,t1
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 8 of 95 Page ID #:475




                                                                                                    of privacy
           third parties in that the person and panics hcrcin would have a reasonable cxpcctation
                                                                                           the basis that the
           thereunder. INNOVf17'IVF,SPOR'T'S MANAGCMI;NT,INC. also objects on
                                                                                          of the case.
           request seeks information that is irrelevant and not proportional to the needs


           D F.HENDAN"T'S ItI;QUI?S'1' FOIt 1'1ZO1)UC'170N NO. G:
                                                                                      b provided to your
                 Please provide all documents and communication related to any trainin
           pri~~atc investigators regarding to the incident


                                                                                   PItODUC7'1nN NO.6:
          PI.AI\Tl)~F'S 1ZI~;SPONSI; TO U!?FENllAN'I''S RF,QUI;S7' TOR
                                                                                           objects to each and
                          Objection. INNOVATING SPORTS MANAGP.MEN'T,II`'C.
 ~o                                                                                Production No.6 as follows:
          every, all and singular, of the items listed as Defendant's Request for
 >>                                                                                  ed under the United States
          Attorney-Client privilege; work product pri~~ilege; the privilebes accord
                                                                                 the privileges accorded under
 ~z       Constitution and the Constitutions ofone or more of the fifty states,
                                                                               INNUVA"TINE SPORTS
 13       the rights of privacy ofthird parties, including but not limited to,
                                                                                 including but not limited to,
 ~a       MANAGEML'NT,1NC., the privileges accorded other third parties,
                                                                                   nts herein; that the books,
 ~s        those persons and parties ~vho arc listed and described in the docume
                                                                              tary information, constitute a trade
 ~s       letters, papers and files, and each of~the same, constitute proprie
                                                                         'S MAN~~GEMENT,INC. has a
 n        secret, constitute information which 1`T'OVATIVE SPQR"I
                                                                               aey; constitute secrets, formulas,
 18
          reasonable expectation ofpri~-acy and is subject to a right ol~priv
                                                                            TS          GL'•MlNT,[NC.
          trade secrets, and business information. INNOVATIVI: S['OR NIAN~I
 19
                                                                        overly broad, and moreover, seeks
          furthermore objects on the basis that the document request is
20                                                                                       EVIEN7',INC. also
                                                                                S
          documents which are ertremcly voluminous. INIVOVATIV~ SPORT MANAG
2~                                                                                              the propounding
          objects that some or all of these books, letters, papers, and files, arc available to
n
          party through other and alternative sources, including but not limited to, third parties herein.
23                                                                                                of privacy of
          NNOVATIVI;SPORTS MANAGI:MI:NT,INC. also objects on the basis of the rights
                                                                                                   privacy
24
          zird panics in that the person and parties herein would have a reasonable expectation of
                                                                                                          the
2s    ~ereundcr. INNOVA7'IVC SPORT'S MANAGT:MLU'I',iNC. also objects on the basis that
zs    'quest seeks information that is irrelevant and not proportional to the needs of the case.
2~    ~

28

          EFTNDAN"I''S It1?pUES"1'FOIL l'R011UCTION NO 7•

           A INTIFP'S RESPONSES TO I)Ef~ENllANT'S REQUEST f~OK PR011UC!'ION OF DOCUMENTS
          .SE NU. 222-cv-07303-TJlI-PLA
    Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 9 of 95 Page ID #:476




       Please provide all documcnt5 that dcscribc any steps taken by YC)U to monitor
ULI~ENDANT related to tyc 1NCID!?N'1'


1'LAINTIHI+'S KI?S1'ONSI;'1'O D1,rI:~n~~ti'T'S It1;QU[;S'I' ~OIZ 1'It01)11CT10N N0.7:
       Objection. Defendant's Rcqucst for Production No. 7 is unintelli6iblc.
       INNOVATIVT: SPORTS MANAGEMENT,1NC. further objects to each and every, all and
singular, of the items listed as Defendant's Request for Production No. 7 as follows: Attorney-
Client privilege; work product privitebe; the privileges accoreied under the United States
                                                                                               under
Constitution and the Constitutions of one or more oC the fifty states, the privileges accorded
the rights of privacy of third parties, including but not limited to, INNOVA"I'IVE SPOR"1'S
MANAGEMENT, INC., the privileges accorded other third parties, including but not limited ta,
those persons and parties ~vho are listed and described in the documents herein; that the books,
                                                                                                   trade
letters, papers and files, and each of the same, constitute proprietary information, constit~ite a
                                                                                                  has a
secret, constitute information which I~JNOVA7'IVI: SPORTS MANAG[:v1EN"T, INC.
reasonable expectation of privacy and is subject to a right of privacy; constitute secrets, formulas,
                                                                                                1~fC.
trade secrets, and business information. INNO~'A7'IVG SPORT'S MA~fAGI:MENT,
furthermore objects on the basis that the document request is overly broad, and moreover, seeks
documents ~~~hich arc extremely voluminous. 1NNUVA"1'IV1' SPOR'T'S MANAG~MEN'1', INC.
also objects that some or all of these books, letters, papers, and tiles, are available to the
propounding party through other and alternative sources, including but not limited to, third parties
herein. INNOVA7'IV1: SPOIL"1'S MANAGEMENT,INC. also objects on the basis of the rights of
                                                                                                on
privacy of third parties in that the person and parties herein would have a reasonable expectati of
privacy thereunder. INNOVATIVE SPORTS MANAG~Ml:N1', 1uC. also objects nn the basis that
the request seeks information that is irrelevant and not proportional to the n~ecis of the case.


DEFENDANT'S R[?QUES7'FUIt I'1tODUC1'IO\ NO.8:
      Please provide all documents that have in writing the names and contact information ofany
employees or contractors of I'I.AIN'1'[f~r ~vho were involved in the investigation ofthe alleged
unlawful interception, receipt, and publication of the Plaintift~s program.


PLAINTI['F'S RF:SYOI~SE TO 1~F:FTIAAN'I''S 12EQUF.S"T FOR PRODIiC'1701~ VO.8:

Nl.A1NTIFr'S RESPONSES TO Dli~f:VDAN7"S Rf:QUL•'S'f FOR PRODUC'CIO;~I OF DOCliA1ENTS
          Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 10 of 95 Page ID #:477




                      Objection. INNOVA7'1VIs SI'nR"I'S MANAGI;MI~N'i', INC. objects to each and every, all
               and singular, of the items listed as I)etcndant's Rcc~ucst for Production No. 8 as follows: Attorney-
                                                                                                              States
               Client privilc~c; work product privi(c~c; the: privileges accorded under the United
                                                                                                      accorded under
               Constitution and the Constitutions of one or more oi~ the fifty states, the privileges
                                                                                           INNOVA"I'IVE SPORTS
               the rights of privacy of third parties, including but not limited to,
                                                                                            g but not limited to,
               M ANAGEMENT, 1NC., the privileges accorded ether third parties, includin
                                                                                                  that the books,
               those persons and parties ~~~ho are listed and described in the doci~mcnts herein;
                                                                                                    constitute a trade
               letters, papers and files, and each of the same, constitute proprietary information,
      s                                                                                              f, (NC. has a
               secret, constitute information which INNOVA'1'IVI.: SPORTS 1~~1nNnGCMi:N"
      9                                                                                           secrets, formulas,
               reasonable expectation of privacy and is subject to a right of privacy; constitute
     ~o                                                                                            :MEN7', INC.
               trade secrets, and business information. INNOVA'I'IVI; SI'OKTS MANAGI
     i~                                                                                       moreover, seeks
              furthermore objects on the basis that the document request is overly broad, and
                                                                                      MANAGEMENT, INC.
     12       documents which are c~tremely voluminous. INNOVATIVE SP02"I'S
                                                                                                available to the
     13       also objects that some or all of these books, letters, papers, and files, arc
                                                                                                     third parties
     ~a       propounding party through other and alternative sources, including but not limited to,
                                                                                                       of the rights of
 15           herein. INNOVAT1Vr SPORTS M~1NAG~NIF:N'1', TNC. also objects on the basis
                                                                                                     le expectation of
 ~s           privacy or third parties in that the person and parties herein ~~~ould have a reasonab
                                                                                                      nn the basis that
 ~~           privacy thereunder. 1NNOV~ITIV~ SPQR"1'S ~b1AI~'AGf:Ml:N'!'. INC. also objects
                                                                                                     the case.
 ~s           the request seeks information that is irrelc~~ant and not proportional to the needs of

 19
              I)FFI;~1'llA]\'T'S 1t1~;QUI:ST FOR PIt01)UCI'10\'~O.9:
zo
                      Please provide all documents and communication related to the management and supervision
z~
              ~f PLAIN"1'IF~, including any documents or communication related to the alleged unla«~fi~l
zz
          i nierception, receipt, and publication of plaintiil's program.
23

24
          'LAIC\'TIFF'S lZI SI'O\Sf:1'O llF,~I?NllANT'S it1~,UUI;S"f FOIL 1'ILOI)11CT10\'I\O. 9:
          ~

25              Objection. INNOVATIVE SPORTS MANAGEMENT,INC. objects to each and every, all
2s        a nd singular, of the items listed as Defendant's Request for Production No. 9 as follows: Attorney-

z~        C lient privilege; work product privilege; the privilebes accorded under the United States
28        C onstitution and the Constitutions of one or more of the taffy states, the privileges accorded under
          cr e rights of privacy of third parties, including but not limited to, INNOVATIVE SPORTS

              AIN7'If'I''S RGSPONSF.S TO Df;r1:NDANT'S RI:QUF,ST rOR PROnUCTIUN OF D(~IiMENTS
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 11 of 95 Page ID #:478




                                                                                                  to,
      MANAGEMENT, INC., the privilcgcs accorded other third parties, including but not limited
                                                                                           the books,
 z    those persons and parties who arc listed and described in the documents herein; that
                                                                                              constitute a trade
 3    letters, papers and Cies, and each of the same, constitute proprietary information,
                                                                               MAN11G1;ML'N"I', INC. has a
 a    secret, constitute information which 1NNOVATIV[; SPORTS
                                                                                   canstitutc sccr~ts, formulas,
 5
      reasonable expectation of privacy and is subject to a right of privacy;
                                                                                   S M/1NAGt:ti1t;N"f, INC.
      trade secrets, and business information. I~INOVA"17 VI: SPURT
 s
                                                                                   broad, and moreover, seeks
      fiirthennore objects on the basis that the document request is overly
                                                                           SPORTS MANAGEMEN"f, INC.
      documents which are extremely voluminous. INNOVA"TIVC
 8
                                                                              and files, are available to the
      also objects that some or all of these books, letters, papers,
 9                                                                              but not limited to, third parties
      propounding party through other and alternative sources, including
~o                                                                                 on the basis of the rights of
      Herein. 1NI~IOVATIVE SPOR"CS MANAGI:MI;N"I', INC. also objects
                                                                              have a reasonable crpectation of
      privacy of third parties in that the person and parties herein ~ti~ould
                                                                                  also objects on the basis that
 ~z   pri~~acy thereunder. INNOVA"1'1V1~ SYOR'I'S MAI~~~G~MI;NT,[NC.
                                                                              to the needs of the case.
13    the request seeks information that is irrelevant and not proportional
14

,5 nrr~Fn»a~z•~s ~icUvcs~'FOI2 PIZnDUCI~ro~~ n~. ~o:
                                                                              the alleged unl~~~vful
~s            Please provide any and all contracts or agreements related to
                                                                       m.
n     interception, receipt, and publication of the plaintiCl's progra

~s
                                                                   F:S7' FOlt 1'RODUC7'1ON \'n. 10:
      PLAINTIFF'S RI:SPONSi:'!'O I)I;FI~.NllAh`T'S ltl;O(,'
19
                                                                                      to each and every, al(
             Objection. 1NNOVAI'[VL SI'OR'I'S MANAGI:MLNT', INC. objects
Zo
                                                                           tion No. 10 as follows: Attorney-
      and singular, of the items listed as Ucfendant's Rcc~uest for Produc
z~                                                                                       the United States
      Clieni privilege; work product privilege; tl~e privileges accorded under
zz                                                                                           accorded under
      Constitution and the Constitutions of one or more of the fifty states, the privileges
                                                                                                    Sl'OR'TS
      the rights of privacy of third parties, including but not limited to, INNOVATIVE
23

                                                                                                           to,
2a    M AI~'AGI;ME:I~'T, 1NC., the privileges accorded other third parties, including but not limited
                                                                                                      books,
25    those persons and parties who arc listed and described in the documents herein; that the
zs    letters, papers and files, and each of the same, constitute proprietary information, constitute a trade
2~    secret, constitute information which INNOVA"I'IV[: SPORTS MANAGEMENT, INC. has a
28              expectation of privacy and is subject to a ribht of privacy; constitute secrcis, formulas,
      ~ seasonable

      rade secrets, and business information. INNOVATIVE SPORTS MANAGEMCNT, INC.

       LAM7'I~I''S RFSPONSfiS TO DEFI;NDAN7"S R[:QUCS'f FOR PRODUCTION OP DOCUMENTS
      'ASE NO. 2:22-cv-07303-TJH-I'1,A
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 12 of 95 Page ID #:479




      furthermore objects on tlic basis that the clocumcnt rcqucst is overly broad, and moreover, seeks
  2   documents which arc extremely voluminous. INNOVATIVE SPOR'E'S MANAGrMrN"t, JNC.
                                                                                                    to the
  3    also objects that some or all of these books, ]ettcrs, papers, and files, are available
                                                                                              third parties
  4    propounding party through other and alternative sources, including but not limited to,
                                                                                             of the rights of
  5
       herein. INNOVATIVI SPORT'S MANAGI;NiEN'I', INC. also objects on the basis
                                                                                   reasonable e~cpectation of
       privacy of third parties in that the person and parties herein would have a
  s
                                                                                              nn the basis that
       pri~~acy thereunder. INNOVATING S}'ORTS MANAGI:MEN'f, INC. also objects
                                                                                          of the case.
       the request seeks information that is irrelevant and not proportional to the needs
  8

  9
       »rFEn~n~~n•r~s ~zrc~ursT r0121'1t011UCl~ioN ~~c~. i i s
 ,o
              Plcasc describe any policies or procedures in place at PLAIN~I'IPF for this
       INVCSTIGATIONS
 ~z
                                                                   P1t01)l'C7'IOV 10. 11:
 13    PLAI\TIFF'S Rl?SPO\SITO llEFI:\D:1N'1''S K(?OUI:S"f FOIt
                                                                               each and even. all
 ~a         Objection. INNOVA7'IVT: SPOR"1~S MnNAGE1~~tT:N'I~. INC. objects to
                                                                                    I 1 as follows: Attomey-
 15    and singular, of the items listed as Defendant's fZequest for Production No.
                                                                                          the United States
 16    Client privilege; ~~~ork product privilege; the privileges accorded under
                                                                                  privileges accorded under
       Constitution and the Constitutions of one or more of the fifty states, the
                                                                                             TIVE SPORTS
 18
       the rights of privacy of third parties, including but not limited to, INNOVA
                                                                                                   to,
      M ANAGEMENT, NC., the privileges accorded other third parties, including but not limited
 19
                                                                                                books,
      those persons and parties ~vho are listed and described in the documents herein; that the
 20
                                                                                                        trade
      letters, papers and files, and each of the same, constitute proprietary information, constitute a
 z~                                                                                                    has a
      secret, constitute information which INNOVA"I'1Vf SPORTS MANAGEMENT, INC.
 22
      reasonable expectation of pri~~acy and is subject to a right of privacy; constitute secrets, formulas,
 23
      trade secrets, and business information. IiVNOVATIVE SPOR"TS MANAGEMENT, INC.
 24
      furthermore objects on the basis that the document request is overly broad, and moreover, seeks
 zs   documents which are extremely voluminous. INNOVATIVE' SPOIt'fS MANAGCMENT, INC.
 is   also objects that some or all of these books, letters, papers, and files, are available to the
 27   propounding party through other and alternative sources, including but not limited to, third parties
 28   herein. Ini~JOVA'CNT: SNORTS MANAGL•'N1F,N'I', WC. also objects on the basis of the rights of
      privacy of third parties in that the person and parties herein ~voutd have a reasonable expectation of

      'LAINTIFF'S RESPONSES TO DIiPGNDAi~'T'S RF.QUES7'FOR PRODUCTION OF DOCUMENTS
      ;ASE NO.2:22-cv-07303-TJH-PI.A
                                                       ,
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 13 of 95 Page ID #:480




                                                                                                         that
         privacy thereunder. INNOVATING S['OR'1'S M/1NAG('sMf:NT, INC. ~Iso objects on the basis
         the tcquest seeks information that is irrelevant And not proportional to the needs of the case.


          DI:FE\`llANT'S ItI~.QUI:S"f I~OIt I'ltOU1►C7'ION NO. 12:
                                                                                           to work with you
                Please provide all document that describe how many investigatores in order
         in this type of investigations that provide names, addresses, phone numbers
     s

                                                                                   PRODUCTION NO. l2:
         PLA1\TiFI~''S 12[:SPO1'SI~ TO UI~ FI:1~'Dr~11'T'S lll~ QUfS"f Olt
     s                                                                                         each and every, all
                  Objection. INNOVATIVI: SPQR"I'S MANAGf:Mf:N7', fNC. objects to
                                                                                          12 as follows: Attorney-
         and singular, of the items listed as Def'endant's Itec~ucst for Production Nn.
     9

                                                                                       under the United States
         Clicnt pri~~ilcgc; work product privile~c; the privileges accorded
 ~o
                                                                                       privileges accorded under
         Constitution and the Constitutions of one or more of the fifty states, the
                                                                                       [NNOVATTVE SPORTS
 ~z      the rights of privacy of third parties, including but not limited to,
                                                                                   including but not limited to,
 13      MANAGEMENT, INC., the privileges accorded other third parties,
                                                                                       ts herein; that the books,
 to      those persons and parties who are listed and described in the documen
                                                                                  in!'orniation, constitute a trade
 15      letters, papers and files, and each of the same, constitute proprietary
                                                                               MAN~IGI;~~[:NT, [NC. has a
 ~s      secret, constitute information which II~'NOVA1'IV1: SPORTS
                                                                                              e secrets, forn~ulas,
 n       reasonable expectation of pri~~ac}~ and is subject to a right of privac~~; constitut
                                                                                                 EI~9CN1', INC.
 18
         trade secrets, and business information. INNOVAI'1VE SPORTS MANAG
                                                                                                           r, seeks
         furthermore objects on the basis that the document request is overly broad, and moreove
 19
                                                                                                            ',
         documents which are extremely voluminous. 1NNOVA'1'IVi: SPORTS MANAGEvlEN1 INC.
zo                                                                                                        the
         also objects that some or all of these books. letters, papers, and files, are available to
z~
         propounding party through other and alternative sources, including but not limited to, third parties
         herein. INNOVATIVE SPO1tTS ,'VIANAC;l;M1:N7', 1\'C. also objects on the basis of the rights of
22


         privacy of third parties in that the person and parties llcrcin would have a reasonable expectation of
23

za       privacy thereunder. INNOVA"I'IVE SPOR"fS MANAGLMLN"I', INC. also objects on the basis that
25       he request seeks information that is irrelevant and not proportional to the needs of the case.
zs       %/
z7       //
2s       r~



         LAfi~TIFT'S RGSPONSfiS TO UEI~I:NUANT'S RfQ11fiS~T FOR PRODUC1lON OF DOCUA4~T~'fS
         ASE NO. 2:22-cv-07303-TJH-PLA
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 14 of 95 Page ID #:481




       llCFI:NUA\7''S RI:QUI;S'1'FOR 1'ItODUCTION NO. 13:
                                                                                                   the
  2           Please provide all documents and communication related to the acquisition and use of

  3    plaintiffs program.

  4
                                                                                1'itnl)11CT1ON NO. l3:
  5
       PLA1Nfl1~H'S It1~.Sl'O\til;'I'O UI~.I~I?\'1)AN'1''S ItEQt►l~.ST I~nR
                                                                                              each and every, all
               Objection. INNOVA"[7VT; SPQR"I'S MAN/1GI:Mf:N't', INC. objects to
                                                                                       13 as follows: Attorney -
  6
       and singular, of the items listed as Defendant's Rcyuest for Production No.
                                                                                     under the ilnited States
       Client privilege; work product privilege; the privilcbes accorded
  8                                                                                  privileges accorded under
       Constitution and the Constitutions of one or more of the fifty states, the
                                                                                     INNOVATIVE SPORTS
       the rishts of privacy of third parties, includinb but not limited to,
  9

                                                                                 including but not limited to,
       MAN~1Gl:MLN'T, INC., the privileges accorded other third parties,
  ~o
                                                                                    nts herein; that the books,
  t~   those persons and parties ~vho arc listed and described in the docume
                                                                               information, constitute a trade
  ~2
       letters, papers and lilcs, and each of'thc same, constitute proprietary
                                                                             N1nNAGLMI.:NT, INC. has a
  13    secret, constitute information which INNUVAI~IV~ Sf'OIZ7~S
                                                                                ; constitute secrets, formulas,
  to   reasonable expectation of privacy and is subject to a right of privacy
                                                                                  S MANAGEMENT, INC.
  is    trade secrets, and business information. 1NNOVA'fIVE SPORT
                                                                                  broad, and moreover, seeks
  ~s    furthermore objects on the basis that the document request is overly
                                                                                   S MANAGEMENT, INC.
  n     documents which are extremely ~~oluminous. INNOV~ITIVE SPORT
                                                                                           arc available to the
  ~a    also objects that some or all of tlicse books, letters, papers, and tiles,
                                                                                                 to, third parties
        propounding party through other and alternative sources, including but not limited
  19
                                                                                                         rights of
        herein. INNOVATIVE SI'OR'fS MANAGL'ML•'N"I', [NC. also objects on the basis of the
  20                                                                                                            of
       privacy of third parties in that the person and parties Herein would have a reasonable expectation
       privacy thereunder. IIVNOVA"FIVE SPOR"TS MANAGEMENT, 1NC. also objects on the basis that
  2~

  zz
       the request seeks information that is irrelevant and not proportional to the needs of the case.
  23

  24
       DF:HF;NDAN'I''S ItI:UU1~.S7' FOR 1'It01)UCf10N 1'O l~1•
  25           Yleasc provide all plans to execute the operation against DCPI:NDANT the day of the
  is   [NCIUENT
  z~
  28   PLAIn"TI~F'S RESPONSE TO I)F.rEn'DANT'S !Zf)UFS'1' H012 PRODUCTION NO 14•
               Objection. Defendant's Request for Production No. 14 is unintelligible.

       PLAIN'TIFF'S RESPONSES TO DEF~NI)ANl"S REQUEST FOR PRODUCTION OF DOCUMENTS
       CASE NO.222-cv-07303-TJII-PLA
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 15 of 95 Page ID #:482




                 INNUV/1'I'IVI; til'(lll'I'S MnN/1(~f;MI:N'1', IN(:, furlhcr c~bjc:cls I~~ c~ich rind every, ull rind
                                                                                                                        /1Uurncy-
  z     sin6ular, c~I' the itct~iti lititccl tis Ucicncl~uit's Itu~ucsl lirr I'ruclucliun N~,. !~1 pis li,lluws:
                                                                                                                   Ilnitccl Statrs
  3     Clicnl rrivilc~;c; ~vc~rk ~~rc~clucl ~~rivilcf;c; floc ~~rivitct;cs sicc~~rcicd uncicr the
                                                                                                    privilc;f;csc accc►rdc;d undc;r
  e    (;unslitt~tic»> ❑ncl Il~c ('cmtitiltiti~~iis c~l'unc car i»~~rc cif tl~c filly st~~lcs, t)ic
                                                                                               lu, INNOV/1'flVl; SI'Ult"f5
  5
        the rihhts af' ~~rivncy ~~I~ lliircl ~~arlics. incltuliti~; but n~,l limilcc)
                                                                                             , incluclir~l; but nut limilcd lc,,
        MI1Nn(;I;MI~.N'1', INC'., tlic ~~rie-ilc~~cs ucc~irciccl u(licr tl~irc) nartics
  s
                                                                                        dc,cun~cr~ts I~crc:in; lhat the bc,c~ks,
        t hose rcrsons tinci {~artics whc~ arc lititcc) and cicscrihccl in tl~c
                                                                                              in(i,rmalicm, cunstitutc a trade
        letters, pa~crti anti lilcti, acid c,icli c>1'the s~unc, c~~nslitulc ~r~~rricl~u•y
  8                                                                                        M/1N/1(;I:MI:N'(', INC. his u
        secret, constitute inl~~rmalion wliicl~ INNf)V/1'17V1: SI'O(t'1'S
                                                                                     privacy; cunstitulc secrets, 1i~rmulas,
        rcationablc cx~~cclatic>n c~l~ privacy ~u~d is subjccl to a right nl'
  9

                                                                                      51'O(t'I'S M/1Nn(il:Ml:N'I', lNC;.
         trade secrets, aiul husit~css iiifiyr~natic,n. INNOV/1'I'I V1;
 ~o
                                                                                 overly bru~~cl. anci mum~~vcr, seeks
 ~~      liirihcrmorc ohjccls c~ii the basis that ll~c cic~c~uiic~it rcc~uc5t is
                                                                        V/1'I'IVt; ti!'OK'I'S M/1N/1(;I;IV11:N'I'. IN(:.
 12      cic►cumcnts ~~•hich arc cxlrcmcly vc,lurninc►us. INNU
                                                                                                                       tc~ the
                                                                   Icltcrs. rapers, and lilts. tirc ~ivail~shlc
 13      also ohjccts lhal tic~ntc car till ~~f tlictic hcx►kti,
                                                                 sc►w•ccs, ii~cluclin~; but nc,t lirnitccl lc~, lhircl ~arlics
  ~a     proro~mdin~ party tl~rc~u~li c~thcr ai~cf alternative
                                                             I:N'I', 1N(;. also ohjrctti on the basis o1'thc ribhts ~f
  15     herein. INNOV/1'I'IVI: S!'Ult'I'S MANi1GI;M
                                                            panics herein wc~ulcl h~~vc a rcasc~n<<blc expectation of
  is     privacy cif third Parties in that the rcn~i~ and
                                                            MnNn(;IiMIiN'I', INC. also, objects on the basis that
         privacy thereunder. INNUVn'ff VI: ~PUl2'1'S
                                                         int and nc~t rropc~rtic~n~il tc, the ncccls of the case.
         the ru~ucst seeks inf~~rmation that is irrcicv~
  18

  19
                                                          0C'I'ION nt). IS:
         UI~;I~1~:N1)AN'1''S Ill~:OUl~:ti'I' I~UIt I'1l00
 20                                                                        your invcsli~atc~rs to execute the
                 1'lc~~sc nrc~vicic all text mcssabcs yciu cxch~~n~c ~vilh
 z~
         operation a~ain~t I)l:l~l;~'1)/1N'1' the cl~iy cif the IN(;IUI:N"1'
 22

                                                                                                     !'ItO1)UC"I'IOi\' NO. IS:
         1'I.AIN'I'll~l~'S Ill~:til'ON~1~;7'O I)I~:l~l~:hl)AN7''ti 1~1~;OUl~.ti'I' I~OIt
 23

 za               Objection. 1NNUV/1'I'(Vl; SI'OK'I:S ~1~1nNnGIiMIiN'I', IN(;. objects to
                                                                                          each and every, all
                                                                                                  follows: /lttornry-
 25      and singular, of the items listed as Uc(cnd~inl'ti ftcc~ucst liar I'roductic~n No. 15 as
                                                                                                       United Slatcti
 2s      Clicnt rrivilc~;c; work }~rc~cluct ~rivilcgc; the rrivilc~cs accarciccl uncicr the
                                                                                                     accc~rcicd under
 z~      Constitution ~~nd the t'c~ntitilutions ol'nn~ car morn of~thr lifty states, the ~ri~~ilc~cs
                                                                                                   SPOIt7'S
 28      ~hc rights cal' privacy cif third ~~~rtics, includinb but not limited tc~, (NNOV/1'17V(:
                                                                                                 limited to,
         ~1~1NnGI;MI:N'!', INC., the privilc6cs accorded ~thcr lhirct parties, including but pat

         'I,AIN'I'll'P'S ItlsS!'UN51iS "I'O llIiI~IsNUAN'I"S Itli(jU1;S'1' I~UIZ I'ItUllUC17UN OI' I)U(.'t1MIiN'fS
          'ASls NO. 2:22-cwt)73U3=1'111-P1,A
                                                                      ~c
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 16 of 95 Page ID #:483




                                                                                                             books,
       those persons and parties who are listed and dcscribcd in the ciocumcnts hcrcin; that the
                                                                                               n, constitute a trade
 2     letters, papers and files, and each of the same, constitute proprietary informatio
                                                                                                       1NC. has a
 3 secret, constitute infor
                                   mation ~vhieh lNN~Vn"f1VI; SPn1tT'S MANnGEMrNT,
                                                                                                 secrets, formulas,
       reason able  expec tatio n of privacy and is subject to a ribt~t of privacy; constitute
 4 1
                                                                              S['01tTS MANAGEMEN"f, 1NC.
       tra de secrets, and business information. INNOVATIVE:
 5
                                                                         st is overly broad, anti moreover, seeks
       furthermore objects on the basis that the document reque
 6                                                                                                      'NT, 1NC.
                                                                   VATIVI: SPORTS MANAGEML
        documents which are c~tremcly voluminous. INNO
  ~ ~                                                                                                   able to the
                                                                     s, papers, and files, arc avail
        also objects that some or all of these books, letter
                                                                                                                    s
  8 ~,
                             throu  gh other and altern ative sourc es, inclu ding but not limited to, third partie
        propounding    party
                                                                                                                  of
  9
                                        '1'S MANAG I;UI}  :N"1' . INC.   also objects nn the basis of the rights
        herein. INNOVA7'lVC SI'OR
                                                                                                     expectation of
 ~o                                                               herein would have a reasonable
        pri~~acy of third parties in that the person and parties
                                                                                                          basis that
                       under . INNO  VA"G  IVE  SPOR  TS  MAN   AGE   MENT,INC. also objects on the
        privacy there
                                                                                    the needs of the case.
 ~z the request seeks inforntation that is irrelevant and not proportional to
 13
                                                       InN Nn. 1G:
 ~a     DLFCNllAN7''S KI:QUI:S'I'FOK PRODUCI'
                                                                                                      "f
                 ase provi de the phone report of «hat numbe rs da you call the day of the INCDIDEI~~
 15          Ple

 16
                                                       ,'I"S 12N:UUTS'1' FOIL I'[ZOI)UC"I70N NO. 1G:
        PLAInTIFF'S RFS1'Oh'51~: TO UI;FEVllA\
                                                           ction No. 16 is unintelligible.
                 Objection. Defendant's Request for Produ
  18
                                                               INC. further objects to each and every, all and
                 INNOVATIVE SPORTS MANAGE~~IENT,
                                                     s Request for Production No. 16 as follows: Attorney-
  19
        singular, of the items listed as Defendant'
 so                                                     the privileges accorded under the United States
        Client privilege; work product privilege;
 2~                                                          of the fifty states, the privileges accorded under
        Constitution and the Constitutions of one or more
 zz                                                                     limited tc~, 1NNOVt~"1'IVE SNORTS
        the rights of privacy ~f third parties, including but not
                                                                                        ding but not limited ta,
        MANAGEMENT, INC., the privileges accorded other third parties, inclu
 23

                                                                                              n; that the books,
 24
        those persons and parties ~vho are listed and described in the documents herei
                                                                                               constitute a trade
 25     letters, papers and files, and each of the same, constitute proprietary information,
                                                                                                    INC. has a
 is     secret, constitute information which 1NNOVA'I'IVE SPORTS MANAGEMENT,
                                                                                                             las,
 2~     reasonable expectation of privacy and is subject to a right of privacy; constitute secrets, formu
 28     trade secrets, and business inFormation. INNOVATIVE SPOR"I'S MANAGEMENT, INC.
        furthermore objects on the basis that the document request is overly broad, and moreover, seeks

       'LAi\'TlfP'S RESPOVSliS TO Df:Ff:A'DANT'S RIiQUES[' FOR PRODUCTION QF DC~U~IF:N'I:S
        ASE NO. 2:22-cv-07303=PJF1-PLA
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 17 of 95 Page ID #:484




                                                                                                      TNC.
   documents which are extremely voluminous. INNOVATIVE SPORTS MANAGEMENT,
                                                                                          available to the
   also objects that some or all of tl~esc books, letters, papers, and files, arc
 2
                                                                                                    parties
 3 propounding party thro
                             ugh other and alternative sources, including but not limited to, third
                                                                           ts nn the basis ~f the rights of
 4 herein. INNOVA~'IVT: Sl'Olt'I'S I~9nN~1GI:Mt;;~'7',(NC. also objec
                                                                         have a reasonable expectation of
   pr ivacy of third parties in that the person and parties herein would
 5
                                                                   'f,INC. also objects on the basis that
    privacy thereunder. INNOVATIVE SPORTS MANAGEMCN
 s
                                                             proportional to the needs of the case.
   the request seeks inforn~ation that is irrelevant and not


        ~ nN:rrNn~~~•r~s itcQUF.S7'rOlt YI2()000TION l~~o. »:
  8

  s                                                                          all your private invcsti~ators
                Please provide the ~vrittcn agreement you have ~~~ith
 ~o
                                                                                                            ON ~O. 17:
  ~~                        RI;S  I'ON Si;  7'O   I)1F1  ~:~(U :1\'T 'S  Itl;QI~ES"I' N'OR 1'ItODUC'1'!
        PLAIN'17I~F'S                                                                                              every, all
  ~z                                 VA'I  'IV1   : SYOI   tTS  MAN   AGE    MEN   T,INC. objects to each and
                  Objection. 1NNO
                                                                                                                   Attorney-
                                        liste d as  Defen  dant' s  Requ  est for Production No. 17 as follows:
  13    and singular, of the items                                                                                          s
                                                ct  privi lege;   the   privi leges  accorded under the United State
  to    Client privilege; work produ
                                                                                                             accorded under
                         and  the  Const ituti  ons  of one  or  more   of the fifty states, the privileges
  ~s    Constitution
                                                                                                                   SPORTS
                           priva cy  of  third    parti es, inclu  ding   but not limited to, I\~'OVATIVE
   ~s   the rights of
                                                                                                              not limited to,
                                                         s accorded other third pzrties, including but
  n      VIANAGrMLNT, INC., the pri~~ilege
                                                                                                          n; that the books,
            se  perso ns  and   parti es  ~vho   are  listed and described in the documents herei
        tho
   18                                                                                                           itute a trade
               s, paper s and  files, and   each   of  the same, constitute proprietary information, const
        letter
                                                                                                                       has a
                                                          INNOVATIVI; SPORTS MANAGEMENT, INC.
  19
                  const itute  infor  matio  n   whic  h
        secret,
                                                                                                                            ,
  zo                                                        subject to a right of privacy; constitute secrets, formulas
        reasonable expectation of privacy and is
  21                                                         n. INNOVATIVE SPORTS MANAGEMEN"t, INC.
        trade secrets, and business informatio
  2z                                                                       request is overly broad, and moreover, seeks
        furthermore objects on the basis that the document
                                                                                       SPORTS MANAGI:ti1ENT, INC.
        documents which are extremely voluminous. II~'NOVATIVE
  23

                                                                                                tiles, are a~~ailable to the
  2a    also objects that some or all of these books, letters, papers, and
                                                                                                nat limited to, third parties
  25    propounding party through other and ~Iternative sources, including but
                                                                                                       basis of the rights of
  zs    herein. INNOVATIVE SPORTS MANAGL'MCNT, INC. also objects on the
                                                                                                           le expectation of
  27    privacy of third parties in that the person and parties herein would have a reasonab
                                                                                                   the basis that
  28     privacy thereunder. INNOVATIVE SPORTS MANAGCMENT,INC. also objects on
         the request seeks information that is irrelevant and not proportional to the needs of the case.

        'l.AM7'llT'S RCSF'ONSES TO D(:Ff:NDANT'S RF•.QUEST TOR f'RUDUC'TION OF DOCUMENTS
        :ASE NO. 2:?2-cv-07303-7711-PI.A
              Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 18 of 95 Page ID #:485




        niFCNn:~n~~~s ~zi:t~ucs~r i~011 I'ItODUC•~7ON Nc~. ix:
                                                                                       the day of the
                Plcasc provide tllc written notes taken by your nrivatc invcsti~;ators
        I NCIDCNI'


                                                                             ~OK PltOI)11C7'1ON NO. 1K:
        PLAIN'TIFF'S IZI~~P01~'til~ TO U[~ rrr~'I)AN"t''S Itl: )UI?S"('
                                                                                    objects to each and every, all
                Objection. INNOV~1'I'IVL' SPOR"I'S MANAG[;Mf:N"t~, INC.
                                                                        Production No. 18 as ('ollows: Attorncy-
        and singular, of the items listed as llefcndant's IZcc~ucst for
                                                                                   cd under the [Initcd States
        Client privilege; work product privilege; the privileges accard
3
                                                                            states, the privileges accorded under
        Constitution and the Constitutions of one or more of the fifty
3                                                                                   to, [NNOVAT[Vf; SPORTS
        the rights of privacy of third parties, includinb but not limited
0                                                                                 , including but not limited to,
        MANAGEMENT, INC., the privileges accorded other third parties
                                                                              dacumcnts herein; that the hooks,
        those persons and parties who arc listed and described in the
                                                                              tary inti~rmation, constitute a trade
z       letters, papers and Glcs, and each v1' the same, constilutc proprie
                                                                             'S ~1nNnGI:MI;N"1~, INC. has a
3       secret, constitute information which 1N~lOVA"1'IVI: SPQR"1
                                                                           privacy; constitute secrets, formulas,
a       reasonable expectation of privacy and is subject to a right ol~
                                                                            S1'OR"I'S MAI~~AGLMI:N1', INC.
5       trade secrets, and business inforniation. INNOVA"I'[VL
                                                                        t is overly broad, and moreover, seeks
.s      furthermore objects on t)tc basis that the document reques
                                                                          TS MANAGrMENT, 1NC.
i~      documents which are extremely voluminous. INNOVATIVE SPOR
                                                                                 are available to the
18
        also objects that some or all of these books, letters, pa~crs, and Gles,
                                                                                               third parties
        propounding party through other and alternative sources, including but not limited to,
19
                                                                                                          of
        herein. INNOVA"I'fV~ SI'OIZTS MANAGCMI:N`I', INC. also objects on the basis of the rights
~o
        privacy of third parties in that the person and parties herein would have a reasonable expectation of
~~
        privacy thereunder. 1NNOVA"t'IVf; SPORTS Mf1NAGI MCN'I', INC. also objects on the basis that
~2 '~
        the request seeks information that is irrelevant and not proportional to tl~e needs of the case.
23

24
        D EF'ENllAN7''S ltl?QUI:S'I' FOIL NROI)UCI'IOv NO 19•
25              Please provide any cmails you exchange with the priv~tc invesiig<<tors the day of the
Z6      INC1UrNT
27      ///

28      ~~~




        PLAINTIFF'S RESPONSES TO             'S                Rnrn rrT~n~ n~ nnrr ~~,rr.~rrc
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 19 of 95 Page ID #:486




                                                                                                           \O 1')•
      PLAINTIi'F'S ItI:SPONSi: TO 1)~~fNDAN"1''S )t['QU~S"1' FOR I'RO Ul1CTInN
                                                                                                          and every, all
z               Objection. INNOVATIVI; SPOIL"I'S MANAGF.NII;N"f, 1NC. objects to each
                                                                                           Nn. 19 as folla~us: Attorney-
3     and singular, of the items listed as Defendant's Rcqucst for Production
                                                                                        ded under the (Inited States
a     Client privilege; work product privilc~e; tl~c privilebes accor
                                                                                  states, the privileges accorded under
5
      Constitution and the Constitutions of one yr more of the fii~y
                                                                                limited to, INNOVATIVE SPORTS
      the rights of privacy of third parties, including but not
s                                                                                                                  ed to,
           NAGI    :M}~  NT,  INC.  ,  the privi leges  accor  ded  other  third parties, including but not limit
       MA
                                                                                                                        ,
                                                                               the documents herein; that the books
7
       those persons and parties ~vha arc listed and described in
                                                                                                                 a trade
8
              s, paper s and  files, and  each  of the  same  , const itute proprietary information, constitute
       letter
                                                                                                                  has a
9                                                                          SPUR7~S MANAGI;MI:N"I', (NC.
       secret, constitute information which INNOVA~~IVL•'
                                                                                                               formulas,
~o                                                                            ot~ privacy; constitute secrets,
       reasonable expectation of~ privac}~ and is subject to a right
                                                                                                            ,NT, Ih'C.
>>                                                                   VAI'1 V!: SPORTS MANAGI:MI-
       trade secrets, and business information. 1NNO
                                                                                                            over, seeks
~2              rmore  objec ts on   the  basis that  the  docu  ment  request is overly broad, and more
       furthe
                                                                                                          1EN'f, INC.
                                                                 INNOVATIVE SAOR"I'S MANAGI?V
13      documents ~~~hich are extremely voluminous.
                                                                                                            able to the
                                                                  , letters, papers, and files, arc avail
14      also objects that some or all of these books
                                                                                                                       es
                  ding  party  throu  gh other  and  alter nativ e sources, including but not limited to, third parti
~s      propoun
                                                                                                                     s of
                                                             N1ENT, 1NC. also objects on the basis of the right
16      herein. IT~'NOVATIVG SPORTS h~IANnGE
                                                                                                                     n of
                                                              pzrties herein would have a reasonable expectatio
n       privacy of third parties in that the person and
                                                          TS ~VI~INAGEMENT, I~fC. also objects on the basis that
        privacy thereunder. INNOVA"1'IVI: SPOR
~a
                                                         evant and not proportional to the needs of the case.
        the request seeks information that is irrel
19

20
                                                    77Oh` NO.20:
       I)EFFNDA1t''T'S RrOULS7'FOIL ['tZODUC
z~                                                            that ~~ou had ~vitlt ~~our investi~at~rs the
              Please provide any other written communications
zz
       day ~f the 1NCIDI:NT
23

                                                                                                         No.Zo:
24
       ~~~t~i~•r~rr•s ~tcsi>c~~~si: ~ro i~i:FT\nAN~r~s ~z~:o~r:s~l' FOR 1'!tOI)11CTlOn~
                                                                                          each and every, all
2s            Objection. INNOVATIVE' S1'OR"1'S MANAGEMENT,INC. objects to
                                                                                       as follows: Attorney-
zs     and singular, of the items listed as Defendant's Request for Production No. 20
                                                                                      r the United States
27     Client privilege; work product privilege; the privileges accorded unde
                                                                                        leges accorded under
28     Constitution and the Constitutions of one or more of the fifty states, the privi
                                                                                       OVATIVE SPORTS
       the rights of privacy of third parties, including but not limited to, INN

       PI.AIN'T(Nh'S Rf;SPONSES'I'U DEFENllAN7'S REQUES 1" FOR PRODUCTION OP DUCUMIiNTS
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 20 of 95 Page ID #:487




                                                                                                including but not limited to,
      MANAGL•MCNT, INC., the privilcscs accorded other third parties,
                                                                                                                        books,
                                                                                           documents herein; that the
 z    those persons and parties who arc lis(cc1 and described in the
                                                                                                                        a trade
               plpe rs end   files , end   each   c~l~ the  same  , const itute   proprietary information, constitute
 3    letters,
                                               ~vl~i  ch  1NNO   V/1'  [7V) ;   S['OR '1'S   M~1NnGf;Ml:N7', INC. has a
      secret, constitute     info rmat   ion
 a                                                                                                         secrets, formulas,
        easo nable expe ctat  ion  of   priv acy   and   is  subje ct  to a ribht of privacy; constitute
      r
 5                                                                                                                N"f, INC.
                   ts,   and    busi   ness    info  rmat  ion.   INNO   VA"I   'IVE SPOIt1'S MANAGT'ME
      trade secre
                                                                                                                         seeks
 s
                                     the  basis   that   the  docu   ment  requ  est  is  overly broad, and moreover,
      furthermore objects on
                                                                                                    MANAGT:MEN"f, INC.
         ocum ents  ~vlii ch arc   cxlr  emel   y  volu  mino  us.   INNnVAT1Vi: SPORTS
      d
                                                                                                            available to the
 8
                             some     or   all   of   these   book   s, lette rs,  papers, and tiles, arc
       also objects   that
                                                                                                                        parties
 9
                                          othe r  and   altcr nati~ -c sources,   incl uding but not limited to, third
       propounding party through                                                                                            s of
~o                                                MANA   GI~M   I:N'   1', INC.    also  objects nn the basis o1~ the right
       herein. INNOVnT1VL SPORTS
                                                                                                        onable expectation of
~~              of third  parti es  in  that the   pers  on  and  parti es herein would have a reas
       privacy
                                                                                                                 the basis that
 ~z                        er. INN    OVA   TIV   E   SYOI   tTS  MAN   AGE  M~N"I',INC. also objects on
       pm~ac}~ thereund
                                                                                                       s of the case.
                                                            evant and not proportional to the need
 13    the request seeks information that is irrel
 14
                                              UC'i'ION 10.21:
 ~s    D~:FEN1):~~'T'S RI:(,~U1:S7' FOIt PRUD
                                                                                               date
                                                    GOL"TV LATIN~I~~1I:RIC/\ SA in ?019 to the
 16          Please provide any email you have with

 17 ~ 2~?3

 18
                                               f:NI).A17''S 1tI?QULST FOIL 1'It000Ci'lON 14.21:
       PLAINT'IFF'S KI:SPONSF,7'O I)EH
                                                           NAGGMI;NT, INC. objects to each and every, all
 19
                Objection. INI~'OVATIVE SI'OItTS Mf1
 zo                                                  t's Request for Production No. 21 as follows: Attorney-
       and singular, of the items listed as Delcndan
 2~                                                    the privileges accorded under the United States
       Clieni privilege; work product privilege;
 zz                                                                lifty states, the privileges accorded under
       Constitution and the Constitutions of one or more of the
                                                                             ed      INNOVA"('1VC SPOR"1'S
       the rights of privacy of third parties, including but not limit to,
 23

                                                                                      uding but not limited to,
 24
       M ANAGLM~NT, INC., the privileges accorded other third p~uties, incl
                                                                                             n; that the books,
 25    those persons and parties who arc listed and described in the documents herei
                                                                                              constitute a trade
 is    letters, papers and Liles, and each of the same, constitute proprietary information,
                                                                                               T, INC. has a
z~      >ecrct, constitute information which INNOVAI'IVI: SPORTS MANAGCMEN
                                                                                                ts, formulas,
28     seasonable expectation of privacy and is subject to a right of privacy; constitute secre
                                                                                                      , INC.
       rode secrets, and business information. INNOVATIVE' SPOIZ'fS MANAGEMi3N7'

        LAINTIf'F'S R1:SPOVSI:S TO UEf'[:NOANI"S REQUfsST f~Olt I'R011UCTION OfDnCUh1GNTS
       'ASE NO. 2:22-cv-07303-TJH-F'l,A
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 21 of 95 Page ID #:488




                                                                                                moreover, seeks
    fitrihermore objects on the basis that the document rcqucst is overly broad, and
                                                                                        MANAGEMENT, 1NC.
    documents which arc extremely voluminous. 1NNOVA"1'[Vf: SPORTS
                                                                                     files, are available to the
    also objects that some or all of these books, letters, papers, and
                                                                            dinb but not limited to, third parties
    propounding party through other and alternative sources, inclu
                                                                                                                of
                                                                       also objects nn the basis of the rights
    herein. INNOVA'1'IVt; SI'OR"I'S MANAGI:Mf;N"T. INC.
                                                                                                              n of
        vacy of third parti es in that the perso n and parti es herei n would have a reasonable expectatio
    pri
  s                                                                                                     basis that
                                                                    MGN'C, WC. also objects nn the
    privacy thereunder. INNOVA"1'IVE SPORTS MAN~IGI:
                                                                 proportional to the needs of the case.
    the request seeks information that is irrelevant and not
  8

  9                                                           2:
        UEFENUANT'S IZF,pUF.S'1' FOR 1'RODUC7'10\ NO.2
 ~o                                                             with your contact in Paraguay
             Please provide any ~~ritten communication you have
  ~~
                                                                                                         ~O.22:
                                                                     1tFQUFS'I' FOIl PIZnll~C7'IUN
  ~z       PLA1\"fli'F'S 1tFSPONSF TO DI~ FI~NUAN7''S
                                                                                                             every, all
                                                                    Gf:A9I;NT, INC. objects to each and
  t3                Objection. INNOVATIVE SPORTS MANA
                                                                                                                   ney-
                              the items  listed as Defendant' s ltequ cst for Production No. 22 as follows: Attor
  14   ~ I and singular,   of
                                                                                                             ed States
                                                               the privileges accorded under the 1lnit
  15        Client privilege; work product pri~~ile~e;
                                                                                                      accorded under
                                                      one or more of the fifty states, the privileges
  ~s   ~ ~ Constitution and the Constitutions of
                                                                                                                   RTS
                                                          including but not limited to, IhiNOVATIVE SPO
  n    ~ ~ the rights of privacy of third parties,
                                                         accorded other third parties, including but not limited to,
  18
       ~ ~MANAGEM[:NT, INC., the privileges
                                                           and described in the documents herein; that the books,
         ' those persons and parties ~vho arc listed
  ~s
                                                              , constitute proprietan~ information, constitute a trade
           letters, papers and files, and each of the same
  zo                                                          VATIVi; SPOR'I~S ~9~1NnG[;MT:N"1', (NC. has a
          secret, constitute information which tNNO
 z~                                                                  a right of privacy; constitute secrets, forniulas,
          reasonable expectation of privacy and is subject to
 zz                                                                                   RTS MANAGCMI;NT, INC.
           trade secrets, and business information. INNOVA'1'IV~ SPO
                                                                                         broad, and moreover, seeks
          furthermore objects on the basis that the document request is overly
 23

                                                                                             MANAGEMENT, INC.
 za        documents which ure c~ctremcly voluminous. INNOVATIVi's SHORTS
                                                                                                are available to the
 25        also objects that some or all of these books, letters, papers, and files,
                                                                                                      to, third parties
 2s         propounding party through other and alternative sources, includinb but not limited
                                                                                                      of the rights of
 2~         ~ercin. INNOVATIVE SPORTS MANAGL'MENT,[NC. also objects on the basis
                                                                                                       expectation of
 28         privacy of third parties in that the person and parties herein would have a reasonable



         LAIN7'IFI''S RIiSPONSES TQ DEPENDANT"S(i~QUCST POR PRODUCTION Or DOCUMENTS
         ASE NO. 2:22-cv-07303-TJN-PLA
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 22 of 95 Page ID #:489




                                                                                             cts on the basis that
 t        privacy thereundcr. 1NNOV~ITIVI; SPORTS MANAG['M1;N'f',(NC. also obje
                                                                                to the needs of the case.
 2        the request seeks information that is irrelevant and not proportional

 3
                                                               NO.23:
 a         UEl~I:NDAN"1''S 12F,QU1?S"I' FOR I'Rn))UCTInN
                                                                       California for 2019-2023
                 Please provide the lcasc a~rcement of your offices in
 5

 6                                                                                               UCTION NO.23:
                                                                    12I~QUFS'I'FOIZ 1'Rnl)
          ~ PLAINTIFF'S 12ESI'ONSE TO I)fFENUAN"1''S
                                                                                                      on No. 23.
                      ntil 7'ha s no doc ume nts resp onsi ve to I)cf cnda nt's ltcquest for Producti
                 Plai
 8

                                                         Za:
          ~ nrF~~»~`T~s izr~Ucs•r rc~iz ~~iio»ucTlo~r no.
     9

,o                                                           County to operate your            business in I.os Angeles
                    Please provide the permit of Los Angeles
 ~~
                                                                                                           2d:
                                                   1~~\   DAN" C'S  Rf'QtiF'S7' Fnit 1'ROUL'C'I'lON 1Y0.
 ~z         PLAIN"TIFF'S K~SPO~iSF TO         1)('
                                                                                          Production Nn. 24.
                        tiff has no doc ume nts resp onsi ~~e to nefendanl's RecJucst for
 13               Plain
     14
                                   z 1~izoi~uc~~~c~v n~~. ~s:
 ,~ ~ »r~r~T»~~1•~s ~t~~.oucsr Fc~~                          of State to operate your business in
                                                        of California Secretary
     ~s              Please provide tllc registration
            California

     18
                               SPo ~~s r To nr~ 'EN DAN  T'S 1tEQUI:ST FOl2 PIt01)I7CTIOn'\U.25:
            PLAln~rrrr'S   1tE
                                                                                       uction No. 25.
                                             responsive to Defendant's Request for Prod
     19
                  Plaintiff has no documents
     2a
     z~                                          t PltOUl~C7'101 NO.2G:
             DH:FTn'I)A1~T'S RF.I)UES"f FOI
                                                                                                            ness in
     2z                        ide the regi stration of Ne~v Jers ey Secretary of State to operate your busi
                   Please prov
     23
             New Jersey
     24
                                                                                                                NO.26:
                                                                        lti:OIJI:ST FOIL PRODUCTION
     25      PLAIN'TIFF'S RESPONSI:7'n 1)I;Fl:N1)ANT'S
                                                                                                                        y, all
                                                                                       , INC. objects to each and ever
     2s             Objection. INNOV~1'fIVT SPORE'S MANAG~MEn'7'
                                                                                                                   Attorney-
                 sing ular , of the item s list ed as Defe ndan  t's Request  1'or !'rodtiction No. 26 as follows:
     27      and
                                                                                                                       States
                     priv ilc~ e;  wor k   prod  uct  priv ilc~ e; the  priv ilcE es   accorded under the United
     2a      Client
                                                                                                                       under
                                                                      e         fift~~ states, the privileges accorded
             Constitution and the Constitutions of one or mor of the

                                                     REQUEST FOR PRODUCTION OF DOCUMENTS
            ?LAIti'TIPF'S RESPONSES TO DEI~ENDAN'f'S
            .ASE NO.222-cv-07303- TJFi -PLA
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 23 of 95 Page ID #:490




  t        the rights of privacy of third partics, including but not limitcd to, 1NNOVAT'IVE SPORTS
                                                                                                                     ed ta,
  2        M ANAGI:MI;N"1', INC., the privilcbcs accorded other third parties, including but not limit
                                                                                                               the books,
  3        those persons and parties ~vlio ~trc listed rind described in the clocumcnis herein: that
                                                                                                       constitute a trade
  4        letters, papers and tiles, and each of the same, constitute proprietary information,
                                                                                        MANnGEMi;N"T, INC. has a
  5
           secret, constitute information which INNOVA"I~1VI~ SPURT'S
                                                                                            constitute secrets, Formulas,
           reasonable expectation of privacy and is subject to a right of privacy;
  s
                                                                                         "fS MANAGCMLNT, INC.
            trade secrets, and business information. INNOVATIVE SPOR
                                                                                          y broad, and moreover, seeks
            fi~rthcrmorc objects on the basis that the document request is overl
  8                                                                                 SPORTS MANAGF.MEN"T, INC.
            documents which are extremely voluminous. 1NiVOVATI V~
                                                                                                                    to the
  9                                                                                 s, and (ilcs. arc available
            also objects that some or all of these books. letters. paper
                                                                                                                          s
  ~o                                             and  altern ative sourc es. inclu ding  but not limited to, third panic
             propounding party throu    gh other
                                                                                                             the rights of
  >>                                                                          also objects on the basis of
             herein. INNOVA"I'IVG SPORTS M~1NAGrYII:NT, INC.
                                                                                                                 tation of
                                                                               would have a reasonable expec
  ~z         privacy of third parties in that the person and parties herein
                                                                                                            the basis that
  13                  there under . II~T~ OVA7' IVE SPQR" I~S  M/1N  AGEMEN"f, INC. also objects on
             privacy
                                                                                                           case.
                                                                    not proportional to the needs of the
  ~a         the request seeks information that is irrelevant and
  15
                                                        'InN \O.27:
  ~s        DE~ENDAnT'S ltl:OliI:S'I' I~Olt PIZO1)UC"1
                                                           of Consumer Affairs of l.os Angeles County to
      ~~         Please provide the permit liom Department
                                                               Angeles County
            properly provide services to consumers in Los
      16

      19
                                                  NDANI''S REOUES7'rOR PItnDUCTION n'O. 27:
            PLAT\TIFF'S K{~.SPONSI: TO lll~.rE
  20                                                            dant's Request for Production No. 27.
                 Plaintiff has no documents responsive to Defen
  21

  22
             ul:Frn~»,~~~~r~s itcc~u~.s~r roa ~~~tc~nucr~on~ nto. ~s:
                                                                                           ications Associations to
                    Please provide the permit from California Cable and Telecommun
      23

      2a     properly provide cable services to consumers in California
      25
                                                                                           N NO.28:
      26 I PLAINTIFF'S R~SPONSF;TO 1)EFI~,NDAN"l''S R1~. )UEST FOIL PRODUCTIO
                                                                                                28.
      z~        Plaintiff has no documents responsive to Defendant's Request for Production No.
      za    //~


            ~ PI.AINf1Ff'5 RC:SPONSC:S TO DEFENDAN'T'S RliQ1JGS1' I'OR PRODl1CT1nN Of DOCU~1(iNI~S
              CASE NO.2:22-cv-07303-17Ff-PLA
    Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 24 of 95 Page ID #:491




           llEFEhllAN'T'S R(;QUFS'1'FOIL PIt01)UC"f10N ~1'O 29
                                                                                     provide cable inthe
/    2           Please provide the permit from federal Communications Commission to

     3     1lnited States

     4
                                                                                              NO.29:
                   IHF 'S RI? SI' ONS i: TO UI; rl: NUA NT' S RfQ UGS'1' NOR PIZODUC'f10N
          I,PLAINT
     5                                                                                           29.
                                                                      Request for Production No.
                 Plaintiff has no documents responsive to Defendant's
     s

                                                         ION 1Y0.30:
           DI;FE\DAN7''S ItEQU~S'I'FUR PROI)UCI'                                                          meriea
      8                                                tha mer ica n cou ntr y to provide cable in SouthA
                Please provide the permit from any sou
      9
                                                                                                                          'IOh NO.30:
     ~o                                                   ll l'F[  :Nll A~'1  ''S  Itf• 'Q11 1~S" 1' 1'OK PRU1)UC'1
          I ~ PLAINTIFF'S ItF'SPOVSI' TO
                                                                                                            telligible.
                                   n. Def end  ant 's  Req  ues  t for  Pro duction I~'o. 30 is unin
                        Objectio                                                                                                       all and
                                                                      GEM  ~N"  T,   NC   .  furt  her  objects to each and every,
      ~2                 IN]~OVA1'IVI; SPOR"TS 1~9ANA                                                                               Attorney-
                                                                           Req ues  t for   Pro duc   tio  n No. 30 as follo~vs:
      13 sinbular, of the items listed as Def
                                                             endant's
                                                                                                                               United States
                                                        t   priv  ile~ c;   the   priv  ileg  es accorded i~ndcr the
      is Clicnt ~rivilcgc; work pro                 duc
                                                                                                                             accorded under
                                                    tion  s  of one    or  mor e  of  the  fifty states, the privileges
                                          Constitu
       ~s Constitution and the                                                                                                          OR"tS
                                                              ics  ,  incl udin g   but   not    limi  ted to, [NNOVATIVE SI'
       16 I I the rights
                              of privacy of third pan
                                                                                                                     ing but not limited to,
                                       1NC  .,  the  priv  ileg es  lcc orded other third parties, includ
            II MANAGEM~N7',                                                                                                        the hooks.
                                                 ~vh o  arc   list ed  and   desc ribed in the documents herein; that
                 those persons and pan      ics
       ~a I ~                                                       sam  e,  cons titu te proprietary information, constitute
                                                                                                                                       a trade
                                              and  eac  h  of  the
             ~~ letters, papers and files,                                                                                                   a
       19
                                                 ion    whi   ch   INI  ~'O  VAT  IVE     SPO  K'I'S MANAGL•'MEN1', INC. has
             ~ ~ secret, constitute informat                                                                            te secrets, formulas, I
       zo
                              expe ctat ion  of priv  acy   and   is subject to a right of privacy; constitu
             ~ ~ reasonable                                                                                                      N"T, INC. ~
       z~
                                   and    busi ness    info  rmat  ion.    INNOVA"I'1VE SPO[tTS MANAGEME
               ~ trade secrets,                                                                                                     er, seeks
       z2                                on  the  basi  s that   the   doc  ume nt request is overly broad, and moreov
                 furthermore objects                                                                                                         .
       23                                   ext rem ely    vol  umi  nou  s.  INN   OVA    TIV    E SPORTS 1~9ANAGEMENT, INC
                 documents which are
                                                                                                                                 lable to the
                                                                                 letters, papers, and files, arc avai
        24
                 also objects that some or all of these books,
        25 propounding party through other and alternative sources, includin
                                                                                                         g but not limited to, third parties
                                                                                                               on the basis of the rights of
        is herein. 1MVOVATIV~ SPORTS MANAGEMENT,INC. also objects
                                                                                                                                       ion of
                                                                                               would have a reasonable expectat
        2~        privacy of third parties in that the person and parties herein
                                                                                                                                the basis that
                                                                    RTS MANAGEviENT,INC. also objects on
        2s privacy thereunder. INNOVATIVE SPO
                                                                                                          to the needs ofthe case.
                  he request seeks information that is irrelevant and not proportional

                                                                T FOR PRODI1CIlO\' OF U(~UbtF•.NTS
             'I.AIV7'I~F'S RF.SPOVSI:S TO DEI•T•.NDANT'S RGQUGS
             'ASF. T~'O. 222-cv-07303-TJI~-PI.A
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 25 of 95 Page ID #:492




          uF~~I?NDAN~r~s u~;ovFs"f TOR 1'ROI)UCTION NO 31•
 z               Please provide the permit from INDI:COPI to provide cable in I'cru

 3
                                                                                              NO.31:
                                                                UI~S7'rOK PItnDUC"T(ON
 a        PLAINTIFF'S R[?Sl'ONSI? TO 1)I,fT~'DAN'f'S R~O
                                                                                                 31.
                                                                     Rcc~uest for Production No.
               Plaintift'has no documents responsi~~c to Defendant's
 5

 6
          ~~ Fr~~ua~~T~s tzi:ouLs~~' rOlt 1'lZ000CTION ISO.;z:                              dt
                               the perm it fro m Auto rida d de Regu lacion y Fiscalizacion
                Please provide
 8                                                       provide cable in Bolivia
          Telecommunicaciones y 7'ransportes (A'I`I') to
 9
                                                                                                 h0.32:
 ~o                                                 ANT  'S R1~ QUF S'1 ' FOI L PIZODUCTIOr'
                                                nll
          PLAINTIFF'S Itl'SPONSF "TO U1'rl~
                                                         Defe ndan t's Req ues t for Production No. 32.
                                                      to
               Plaintifi'l~as no documents responsive
 ~z
                                           1'ltUD           [;C770N n0.33:
 13        1)GFFID~~N'1''S KI~.QUI:S'f FOR                                                                 023
                                                                           COMMl:I301, from ?019-2
                                              ication }~ou have ~~~ith
 ~a                Please pro~~ide any commun

 15                                                                                                      0V `U.33:
                                                  llffFN   llA  1~T 'S  RF' QUCS7'POR PltODUC17
                                     \SH'TO
           PLAINTIFF'S 12HSPO                                                                                    every, all
 ~s
                                                    SI'O  R7'S   btA NAG l:v 1EN ~f, 1NC. objects to each and
                                              Vl:
                   Objection. 1NNOVA"f]
                                                                                                 33 as Collo~vs: Attorney-
                                 item s list ed as  Defe ndan  t's Request for Nroduction No.
           and sin{;ular, of the                                                                      the IJnited States
  18
                                wor k   prod  uct   priv ile~ c; the privileges accorded under
           Client privilege;                                                                              accorded under
     19
                                  Cons tit« tion  s of one   or  more of the fifty states, the privileges
           Constitution and tl~e                                                                                 SPOR7~S
  Zo
                                    of   thir d  part ies,  incl  udin g but nc~t limited to, INNOV~17'IVG
           the rights of privacy
  z~                                         privileges accorded other third parties,
                                                                                            including but not limited to,
           M ANA  GGM  En'  f,  1NC .,  the
                                                                                                             that the books,
     zz
                        ons  and   part ies  ~vho are  list ed and described in the documents herein;
           those   pers
                                                                                                               titute a trade
     23
                   , pape rs and  files , and  each  of the  sam e, constitute proprietary information, cons
           letters
                                                                                                                       leas a
     24              cons titu te info rmat  ion  whi  ch  INN   OVA   TIV  E SPOIZTS MANAGGMrNT, INC.
           secret ,
                                                                                                                            ,
     25                e expe ctat ion  of  priv acy  And is  subj ect to a righ t of privacy; constitute secrets, formulas
           reasonabl
                                                                                           RTS MANf1G~MI:N"T, INC.
     is    trade secrets, and business information. [NNOVATIVC SPO
                                                                                               broad, and moreover, seeks
     2~    furthermore objects on the basis that the document rrquest is overly
                                                                                                   MAN/1GEMF.N1', Il~'C.
     28    documents which are extremely voluminous. 1NNQVA"I'IVE SPOR"['S
                                                                                                           available to the
           ~Iso objects that some or all of these books, letters, papers, and files, are

           '1,AMTIFF'S RESPO\'SAS TO DEPENDANT'S[tEQUEST POR PRODUCTION OP DOCUMENTS
           'ASE NO.2:22-cv-07303-T1H-PI.A
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 26 of 95 Page ID #:493
i




                                                                                                          third parties
         propounding party throubh other and alicrnativc sources, including but not limitrci to,
                                                                                                     s of the ribhts o1
2        herein. INNOVA'I'IVI; SPORTS MANAGI:MEN7', INC. also objects on the basi
                                                                                            reasonable expectation of
3        privacy of third parties in that the person and parties herein would lave ~
                                                                                                             basis that
                                                                                 ,INC. also objects on the
a        privacy thereunder. INNOVATIVE SI'OR'I'S MANAG~MGNT
                                rmat ion that is irre leva nt and not prop orti onal to the needs of the case.
5
         the request seeks info

6
                                                          NO.34:
         UI:FENnANT'S IZt:QUEST FOR 1'R000CTION
                                                                                023
                                                         COMMEI30I. from 2019-2
              Please provide any a~recment you have with
s i
                                                                                                 NO.3~1:
 9 1                                      ~'~N l)AN "T'S Itl~ QUC  'ST   H'OR PItODUCI'IOV
      PLAIN'1'IFI~'S Itl~S1'ONSF 7'O 1)Fi                                                       and every, all
                                                  MAN  AGC   MI;   NT,    1NC . objects to each
~~ I         Objection. iNNOVATIV[: SPORTS                                                               orncy-
    ~                                                          for  Prod ucti on  No. 34 as follows: Att
» and singular, of the items listed as Defendant's Req  ues  t
                                                                                                             es
                                                              ileg es   acc ord ed  under the United Stat
~2 i Client privilege; work product privilege; the
                                                        priv
                                                                                               accorded under
                                          one  or mor e  of the  fift y states. the privileges
13 Constitution and the Constitutions of
                                                                                        OVA"r[VE SPORTS
                                                                                                      1NN
                                       of  thir d   part ies,   incl udin g but not limited to,
 ~a       the rights o!' privac~~                                                                                      limited to,
                                                              acco  rded   c~th rr thir d parties, including but not
                                               privileges
 15        M ANAGT:MENT, INC., the                                                                       herein; that the hooks,
                                       ies  ~vho  arc   list ed  and  described in the documents
    ~s     those persons and part                                                                               constitute a trade
                                              each   of  the  sam  e, cons titu  te proprietary information,
            letters, papers and files, and                                                                                . has a
                                                  whi  ch   IIV   I~' OVA TIV  E   SPORTS MANAGEMENT, INC
                                            ion
           secret, constitute informat
    18                                                                                              constitute secrets, formulas,
                         expe ctat ion of  priv acy   an d is subject to a right of privacy;
            reasonable
                                                                                                            AGF,MENT, INC.
    ~s
                              and    busi ness   info  rmat  ion. INI~'OVAT1Vfs' SPORT'S MAN
            trade secrets,                                                                                              er, seeks
    20
                                    nn  the  basi s  that  the   doc ument request is overly broad, and moreov
            furthermore objects
                                                                                                            1NAGE;MGN7', INC.
    z~                                                voluminous. INNOVA~I'l VI: SYOR'I'S ~1/
          ~ documents ~ti~hich are extrcmcl~r
                                                                                                                 available to the
    z2                                                 these books, letters, papers, and files, are
            also objects that some or all of
                                                                                                                          d parties
                                                                    ive sources, including but not limited to, thir
            propounding party through other and alternat
    23
                                                                                                                                 of
                                                                                   . also objects on the basis of the rights
    2a       herein. INNOVATING SPORTS MANAGGi~1ENT, INC
                                                                                               leave a reasonable expectation of
    25      privacy of third parties in that the person and parties herein would
                                                                                                        objects on the basis that
    is       privacy thereunder. INNOVA7'1VE SPORTS MANAGEMENT,INC. also
                                                                                                             of the case.
    27       the request seeks information that is irrelevant and not proportional to the needs
    28     ///




          'I.AWTIFF'S RESPONSES TO DEFET'DANT'S REQUEST FOR PRODUCTION OP DOCUMC~ITS
          :ASE NQ. 2:22-cv-07303-TIII-PI.A
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 27 of 95 Page ID #:494
    r


0
2


3

4        llated: March 3, 2023                                       /.5~- %7~unru.~• 1'. lei/c~y
                                                                                                              .F:v, l'.C.
                                                                     L,~~~~ Orrtc~a:s or• 7'it~~~i,~s P. Itii
                                                                     13y:'1'h~mas I'. IZilcy, I:squirc
5
                                                                     /lttorncys for Plaintitr
6                                                                                                 vti1N~~G1;Ntl:\'7', INC. d/b/a
                                                                     1 NNOVi1"1~IV1; SYO(Z"I:S


8        IlI

s        ~~~
         ///
~o
         ///
>>
         ///
~2
         ///
13
         1/.1
~a
         ///
is        ~//
~s        ///
 ~~       U/
    ~s    ///
    is    ///

    zo    ~~~
    z~    !//

    zz   ~~~
         !//
    23
          ~~~
    24
          ~~/
    25
          ~~~
    26
          ///
    27    ///

    28    ///




                                                                        7' I~UR PKO1)l~('1 IU\ OI' I)O('l'\tli\ 11
          PL.~INI'll~l~'ti ItI:SPONSES fU ll1:FI:Nll~W"I 'ti RliQl~l:ti
         (':~~1: \c) 22?-r►-u7303-I'111-I'1.,~
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 28 of 95 Page ID #:495




1                                                       vrttrH[c~Tr~,y
z
3

         STATC OF NC~'V Jl;12SI;Y                          ~
4
                                                                   SS.
5
          COUNTI'OF 13C1tCCN                               ~
s i

                 I, DOUG ,IACOI3S, declare as follows:
8                                                           sub jec t act ion and  mak   e this Verification on its
                 1 am the President ofthe Plaintiff in the
                                                                     SPO   NST  S TO   I)EFFNDANT'S I2IsQUCST
9                                                     IFF'S    ItT
          behalf. I have read the foregoing PLAINT                                              'fhe matters stated in
                                                                   w  the con ten ts the reo f.
~o                                            F,NTS and kno
          FOR PRODUCTION OF llOCUM                                                                    stated on
                                            kno ~vl edg c exc ept as  to those matters, which arc
~~        the foregoing arc true of my own                                             true.
~z                         beli ef, and as to tho se  matt ers,(believe them to be
          information and                                                                                  a that the
                                                         und er the  law s of the [lnitcd States of Americ
                                               per jur y
13               I declare under penalty of                                                   ch 2         ,2U23, in
                                                    this decl arat ion was  exe cuted on Mar
                                 correct and that
~a        foregoing is true and
    15    1~enatly. Ne~v Jersey.

    16

    17
                                                          ~-
    18

    19                                                     nouc.r~co~s
    zo
           ///
    z~
           ///
    z2
           ///
     23
           /~/
     24    ~~~
     25    ~~~

     26     ~~~

     27     ~~~

     28    ///




            PI.AINTlfF'S RESPONSES TO DEFENDANT'S REQUEST FOR PRODUCTION OF DOCUMENTS
            CASG NO.2:22-cv-07303-TJll-PLA

                                                       Pnce 28
    Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 29 of 95 Page ID #:496


n




                                               I'ItO<)I~ OF til~:ItV1C;1~, lI3Y MA11.1
    z

    3 II            1 dcclarc that:

     a
                                                                                              the age oT cightccn years
     ~              I am cmploycd in the County al'Los n~,a~~~s,('alifornia. 1 am Duct
                                                                                                                        c,
                                                                                f.ibrary 5yuarc 1114 I~rcmont ~lvcnu
           acid nc~t a part~~ to the within cause; my businrss address is first
     s                                                                                                           tion end
                                                                             this law firm's practice for callrc
           South Pasadrna, California 91030. 1 am readily familiar with
                                                                                 caursc ofbusincss.
           prurrssin~ c~l~correspondcnc:c/documents I~~r mail in the ordinary
     B

     9
                    On March 3, 2023 1 served:
                                                                                                                     OF
     ~o                                                                      ItEQUES"1' HOIZ I'IZOI)l'C`I'1OV
                    PLAINTIFF'S 1tFSPONSH:S'1'O DENI:NDAn"[''
              UUCUMFN'1'S
                                                                           DeFc:ndam at the li~llo~vint~ address:
     1z             On all parties in said c.~usc by mailing same to the
     73
                                                                           (1)cicndant)
                    Mr. Gerardo V~ildivia
     74             9347 Slauu~n Avenue
     15             Pico Itivcra.('n 90660

    ,s                                                                          ol'thc United States that the lorcboing
                     I declare under the penalty ol'pcqury pursuant to the laws
     ,~                                                                   March 3, 2023, at South Pasadena,
            is true and correct and that this declaration was executed on
    ,s
            C~ilifornia.
     19

    20

            I)atcd: ~9arch ;.203                                    %a~~"Ac~!lt~;t/ 1lr~nlphrc~v               --
    Z~
                                                                     KN:1.1,1' M.IIUNII'111tEY
    22
           //,~
    23     !//

    24     ///

    25     ///

    26     /~/

    27     //~

    28     ~~,~




           PI.AIN'1'!I'F'S KIsSPONSti,S TO DIiPGN!)ANl1"S RGQUIiSI'I~OR
                                                                        PRUDUC'IION OP DUCUMGT~'fS
           CASIi ISO. 222-~v-(17303-1711-PI.A

                                                              0
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 30 of 95 Page ID #:497




         LAW OFFICES OF THOM
                             AS P. RILEY
                               A PROFESSIONAL CORPORA
                                                      TION

                                   S 15 SOUTfI FLOWER STREET
                                          18T" F~ooa
                                  LOS ANGELES, CA 90071-2207
                                        ~VWW.TPRLAW.NET
  TEL:(213) 229-9292
                                                                             FAX: (2l3) 229-9295



   March 3, 2023

  Mr. Gerardo Valdivia
  9347 Slauson Avcnuc
  Yico Rivera, California 90660

  Re: G & G Closed Circuit li~~e~ils, LLC ►: Gerardo {~nl~livia
      Cnse 1Vn 2.22-cv 07303 TJII 1'LA (USDC CDC~1)

  Mr. Valdivia.:                                    7ransmi/~ed by I'i►•st-Gloss c~ Ore~•nigh~ Mai!

  Please find Plaintiff's Responses to Defendant's Request for Admissions, Plaintiffs Responses
  to Request Defendant's Rcqucst Special Interrogatories, and 1'laintil~f's Responses to
  Delcndant's Request for Production of I~ocumcnts enclosed.

  Cordially,



~~~~~
               .

  Gnclosums

  '1'PR/kmh
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 31 of 95 Page ID #:498




       Thomas P. Riley,SI3N 194706
       LAVV OFFICES OF THOMAS P. R1LFY,!'.C.
  2    First Library Squarc
       1114 Frcmont Avenuc
   3   South Pasadena, CA 91030-3227
   a    Tel: 62(-799-9797
        Fix:626-799-9795
  5     Tl'RLAW@Att.net
   B   Attorneys for Plaintiff
       INNOVATIVE SPORTS MANAGEMENT,INC.
       d/b/a INTEGItATF,D SPORTS MEDIA
  8
                                   UNITED STATF,S DISTRICT COURT
  9                           CEN'I'1tAI, DISTRICT COURT OF CALIFORNIA
  ~o                                        WFSTFRN DIVISION

  ~~
       Innovati~~e Sports Management,inc., d/b/a      Cusc No.: 2:22•cv-07303-TJH-PLA
  ~2   Integrated Sports Media,
                                                      PLAINTIFF'S RESPONSES TO
  13                   P~Allitl~~                     DEFENDANT'S REQUEST FOR
  14                                                  ADMISSIONS
                             V.
  15
        Gerardo Valdi~~ia,
  ~s
                       Defendant.
  t~
  18
       I PROPOUNllI1VG PARTY: Defendant Gerardo V~ldi~~ia,individually and ci/b/a Tondero
  19                          Peruvian Cuisine

 20 ~ RESPOr'DING PARTY:            Ianovutive Sports A1an~gement,Inc., cl/b/a Integrated Sports Media
 z~
       ~ SET NUMI3ER:               ONE(1)
 zz
 23    ///
       ///
 2~
       ///
 25
       //~
 28
       ///
 27
       ~~~
 28



       PLAINTIFF'S RESPONSES TO DEFENDAM"S REQUEST FOR ADMISSIONS
       Cate No.: 22Z-cv-07303=fIH-PLA
                                                   Page t
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 32 of 95 Page ID #:499




   ~                                     It1~.QUI;ST l~OI2 AI)111SS1OnS
   2

   3    REQUEST FOR AllMlSSIOiV NO. 1:
   4            Admit or deny that the PLA(NTIfP has no liccnsc with the California I3usincss Consumer
                                                                                                   r
   5    Affairs specifically the Plaintiff's rights as the etclusive commercial domestic distributo of the
       televised Program of the SUBJCC'I' 1NC(DEN'f
  6

   7
       R1;SP0]~St~: TO nF,FEI~1Dr1NTS' IZI;QUF.S7' FnR ~~U~7ISSION NO. 1:
  8
               Defendant's Request for Admission No. l is unintelligible. As such Plaintiff c~innot ascertain
  9
       Defendant's request and on that basis Itequcst for Admission No. l is denied.
  ~o

  ~~   RF.QUF.ST FnR AD~7ISSION NO.2:
  12           Admit or deny that the PI.AIN'I'IFI~ has no registration with the California Secretary of State
                                                                                                    televised
  13   to operate a Business in California as the exclusive commercial domestic distributor of the
 i4    Program of the SUBJECT INCIDENT
 15

 is    PLAIN"17FF'S lti?SPONSh; 7'O 1)1~,FF:NllAn7'S' RF.QUES"('FOR ~V)111SSION 2:
 ~~          Defendant's Request for Admission No. 2 is unintelligible. As such Plaintiff cannot ascertain
 18    Defendant's request and on that basis Request 1'or Admission No. 1 is denied.

 ~s
       REQUEST'F()R ADn~SSIOn` 1 0.3:
 20
               Admit or deny that the YLAINTIF~ has no registration ~~~ith the Ne~v Jersey Secretary of
 z~                                                                                               r of the
       Siate to operate a I3usincss in New Jersey as the exclusive commercial domestic distributo
 22
       televised Program of the SU[3JE"I' 1NCIDEN"!'
 23

 24 ~~ PLAINTIFF'S RESPONSE 7'U ll1;FENDAN"CS' REOUI;ST FOIL ADMlSS10N 3:
                                                                                                ascertain
 z5         Defendant's Request for Admission No. 3 is unintelligible. As such Plaintiff cannot
 z6    Defendant's request and on that basis Request for Admission No. 1 is denied.
 2~    ///
 28    //~




       PLAINTIFF'S RESPOtiSL'S TO DE~L•NDAM"S RL:QUEST FOR ADMISSIUUS
       Case No.: 2:22-ev-07303-T1H-PI.A
                                                       Page 2
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 33 of 95 Page ID #:500




  i    ItEQUI?ST P()R ADM1SSi0I~1 NO.4:
  z             Admit or deny that the PLAINTIFF has no cxclusivc rights for a worldwide distributor of the

  3    televised Program of the SUDJCC"f INCIDENT

  4

  5
       t~LA[N"fIFH~s ~zr~roys~; To nrFrn'UAN~rs~ ~it~:out~.s~r ~c~ii ni~n-iissi~ti~ Nc~. a:
               Defendant's Request for Admission No. ~# is unintelligible. ns such Plaintiffc~innot ascertain
  s
      Defendant's request and nn that basis Request for admission No. 1 is denied.

  8
      REQUCS'1'FUR ADn'IISSION NO.S:
  s
               Admit or deny that PLAINTIFF does not have any agreement with COMMEE30L
 ,o
 >>
      PLA1~7'IFF'S RF.SPONSI:7'O UI;rI;IYI)AN"1'S' RI:QiJEST I'Olt ADMISSION 5:
 12            Defendant's Request for Admission No. 5 is unintelligible. As such Plaintiff cannot ascertain
 13   Defendant's request and on that basis Kequest for Admission No. I is denied.
 ~a

 i5   RF.OUEST FOIZ Alll~T1SS10N NU. G:

 ~s            Admit that your agreeme~it is with GOLTV

 17

 ~e   PLATI~TIFF'S 1ZESPOi~'SE Tn DF,FF.NI)AN'I'S' ItEQU1~:S7' FOR ADIITISSIOi~'6:
               Defendant's Request ror Admission I~'o. 6 is unintelligible. As such Plaintiff cannot ascertain
 19
      Defendant's request and on that basis Request for Admission No. 1 is denied.
 20
 z,
      REQUEST'FOR ADMISSION NU.7:
 zz
               Admit that GOLTV has no agreement ~~~ith COMMFBOI.
 23

 24
      PLAINTIFF'S I2H:SI'ONSr TO I)EFI~.1~IllANTS' RrQUEST T~Oit Alln11SSION 7:
 25            Plaintiff is unaware of what agreements, if any GOL~'V has with COMMEBOL. As such
 26   Plaintiff is incapable of responding to this request.
 27   ~~~

 28   ///




      PLAIKCIfF'S RESPOVSLS TO DEFC•NUANT'S REQUEST FOR ADb11SSI0NS
      C~sc No.: 2:22-cv-07303=1'1H-PLA
                                                        Page 3
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 34 of 95 Page ID #:501




     ItF,QUEST FOlt A1)~IISSION NO. K:
z           Admit that COMMEBOL is an urbanization that orbanircd the game of 1NCIDEN"f

 3

4    r~~~r~T~rr•s ltr;sroysr Tc~ urrr~n,~hT~s~ 1ti:Qut?s~I' I~OIt AI)11-i~ssio~r s:
            Plaintiff is incapable o1' responding to Dc('cndant's Request for Admission No. $ as this
 5
     particular request concerns a third party.
 s
 z
     RF:QUI:S7' FC)IZ ADMISSIOn 1~O. 9:
 8
            Admit that the game of the 1NCIDL'-NT bchvccn P1:KU-[30LIVlA vas organized by
 9
     COMMEE30L
~o
it
     PI.AItirTIFF'S RF.SPONSF.1'n 1)I?FF.NDANTS' ItI~;QIIES7' I~OR AD]~~i1SS10\ 9:
~z          Plaintiff is incapable of responding to Defendant's Request for i~dmission No. 9 as this
13   particular request concerns a third party.
~a
15   REOUES7'FnR AD~]ISS1U\ 1~0. 1{):

16           Admit or deny that you have no evidence that the defendant, Gerardo Vzldi~•ia, intentionally
     intercepted, received, and published the plaintiff's program at "I'ondcro Yeru~~ian cuisine himself:

~e
     PI.AI,V"fIFF'S Rf:SPONS1;7'O llEFF,n'DAIVTS' 12[;QU~:S7' FOR ADIIISS[ON lU:
~s
             Plaintiff's investigation is ongoing, and Plaintiff reserves the right to amend, modify, or
20
     supplement these objections and responses. Plaintiff reserves the right to revise, correct, supplement,
zi
     or clarify the content of these objections and responses to object to further discovery in this action.
2i
     Plaintiff's responses reflect the current state of~ their kno~vlcdgc or information regarding the
23
     information requested. Further investigation inay identify additional facts or inform~~tion that could
24
     lead to additions or changes to these objections and responses. At this tune and until discovery is
25   complete, deny.
26   ~/~

27   ~~/

28   ~~/




     Pl./~IPfI'1FF'S R[:SPONSFS TO DEF[iNDAM"S R(:QUGST FOR ADMISSIONS
     Case No.: 2:22-cv-07303-TJI I-PLA
                                                        Page 4
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 35 of 95 Page ID #:502




     ItEQi1EST FOR Alll~'IISSION NO.11:
z          Admit or deny that you huvc no evidcnce ~vhatsocvcr that the actions of the cmployees of
3    Tondero Peruvian cuisine ire directly imputnblc to the dcfcndant, Gerardo Valdivia, by virtue of his

4    ackno~vledgcd responsibility for the operation ofTondcro I'cruvian cuisine.

5
     PLAINTIFF'S IiESPONSI:TO DF,FF,NDANTS' ItEUUEST FOlt AD~11SSInN l 1:
s
          Plaintiff's investigation is ongoing, and Plaintiff reserves the right to amend, modify, or
     supplement these objections and responses. Plaintiff reserves the right to revise, correct, supplement,
8
     or clarify the content of these objections and responses to abject to further discovery in this action.
9
     Plaintiff's responses reflect the current state of their knowledge or information regarding the
~o
     information requested. i'urther investigation may identify additions) facts or information that could
t~   lead to additions or changes to these objections and responses. At this time and until discovery is
12   complete, deny.
13

~a   REOUI:ST FOR ADMISS1Ul~' NU.l2:
~s          Admit or deny that you have no evidence whatsoever that the defendant, Gerardo Valdivia,
~s   had knowledge of the unlawful interception, receipt, and publication of the plaintiff's program.

n
18
     PLAIVTII~F'S RFSI'ONSF TO 1)F.FF.NDAN7'S' REQUEST FOR ADI~IISSIOn 12:
          Plaintiff's investigation is ongoing, and Plaintiff' reserves the right to amend, modify, or
19
     supplement these objections and responses. Plaintiff reserves the right to revise, correct, supplement,
Zo
     or clarify the content of these objections and responses to object to further discover- in this action.
z~
     Plaintiffs responses reflect the current state of their knowledge or information regarding the
2z
     information requested. Further investigation may identify additional facts or information that could
23
     lead to additions or changes to these objections and responses. At this time and until discovery is
24
     complete, deny.
zs
28   ItEQUES'['FOR A1)171SSION NO. 13:
2~          Admit or deny that you have no evidence whatsoever thAt the defendant, Gerardo Valdivia,
28   had the authority to prevent the unlawful interception, receipt, and publication of the plaintiff's
     ~ program.

     PLAINTIFF'S RESPONSES TO DEFENDAKT'S KEQUL-ST FOR ADv1ISS1UNS
     Case No.: 2:22-cv-07303-TJH-PLA
                                                   Page 5
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 36 of 95 Page ID #:503




      PLAINTIFr'S RLSI'ONSI:TO Di;F1;N1)AnTS' Kl:OUI?S"1' FOI2 AI),tiiiSSION 13:
z            Dcnicd.

3

4     IZH:QUF~'I'FOR ~11)1~IISS1()N NO. 14:

 5
             Admit or deny that you have no cvidcnce ~vhatsocvcr that the dcicnc3ant, Gerardo Valdivia,
      had a duty to prevent the unlawful interception, receipt, and publication of the plaintiff`s probram.
 s


      PLAI1TIr~'S IZI:SYOtiSF, TO DI;FI:NDAN'I'S' REQUES"1'FOK AI)~IISSION l~;
 s
             Denied.
 9

10
      ~~~:Qu~:s'T FOR All1IlSS10N ~To. ~s:
~i
              Admit or deny that ~~ou have no evidence whatsoever that the defendant, Gerardo Valdivia,
~z
      took any actions to prevent the unlawful interception, receipt, and publication of the plaintiff's
13
      program.
~a

15
      PLAIN"T'IFF'S KI;SY0~1SE'1'O DEFI;NUAN7'S' K(~;OUF.S'I' FUIt AU~171SS10~1 l5:
 ~s
            Plaintiffs investigation is ongoing, and I'laintitT reserves the right to amend, modify, or
 i~
      supplement these objections and responses. Plaintiff reserves the right to revise, correct, supplement,
 is
      or clarify the content of these objections and responses to object to further discovery in this action.
 19   Plaintiff's responses reflect the current state of their kno~~~ledge or information regarding the
 zo   information requested. Further investigation may identifj~ additional facts or information that could
 z~   ~ lead to additions or changes to these objections and responses. At this time and until discoven~ is
 zz    complete, deny.

 23

 24    REQUEST FOIL ADI~1ISSION NO. 16:

 zs           Admit or deny that you have no evidence whatsoever that the defendant, Gerardo Valdi~~ia,
       was aware of any policies or procedures in place at Tondero Peruvian cuisine related to the
 zs
       interception, receipt, and publication of programming.
 2~
       ~~/
 28



       PL~11;JiIF'F'S RESPONSGS'I'O DEFENDANT'S REQUEST FOR ADh11SSlO\S
       Case No.: 2:22-cv-07303-77H-PLA
                                                         I'agc 6
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 37 of 95 Page ID #:504




                                                                          FOR ADMISSION IG:
   t     PLAII~TIT'F'S 1ZFSPONSE 7'O DI:FENI)An''I'S'RF:QUF.ST
                                                                                    right to amend, modify, or
   z             Plaintiffs investigation is ongoinb, and Plaintiff reserves the
                                                                                                                 ,
                                                                    ves the right to revise, correct, supplement
   3     supplement these objections and responses. Plaintiff reser
                                                                                                                n.
                                                                  to object to further discovery in this actio
   4     or clarify the content of'thesc objections and responses
                                                                                                         ding the
                                                             their knowledge or information regar
   s     Plaintiffs responses reflect the current state of
                                                                                                            could
                                                                  fy additional !'acts or information that
         information requested. rurtlier investigation may identi
   s                                                                                                       very is
                                                                responses. At this time and until disco
         lead to additions or changes to these objections And
         ~ complete, deny.
   8

   9
         RFQUF.ST FOIL ADMISSION NO. 17:
   ~o                                                                          the defendant, Gerardo Valdivia,
                Admit or deny that you have no evidence whatsoever that
                                                                                                              am.
   ~~                                                                and publication of the plaintiff's progr
         received any training related to the interception, receipt,
   ~z
                                                               ItEQUES'1' FOlt ADnI[SSION l_7:
   13  PLAl1~T1FF'S RESPONSF.'I'O llH:FENUAN'CS'
                                                                            ves the right to amend, modify, or
   14          Plaintiffs investigation is ongoing, and Plaintiff reser
                                                                                                             ement,
       sup pleme  nt these objec tions and respo nses. Plaintiffreserves the right to revise, correct, suppl
   ~s
                                                                                                very in this action.
       or clarif y the conte nt of these objections and responses to object to further disco
   ~s
                                                                            edge or information regarding the
       Pla intiff s responses re!]ect the current state of their knowl
    ~i
                                                              identify additional facts or information that could
       inf ormation requested. Turther investigation may
    18
                                                             end responses. At this time and until discovery is
       lead to additions or changes to these objections
   19
          complete, deny.
   20
   2,
          RF:QUES'T FOR ADMISSION NU. 18:
   zz                                                              oevcr that the defendant, Gerardo Valdivia,
                 Admit or deny that you have no evidence whAts
                                                                   d the interception, receipt, and publication
          was responsible for ensuring compliance with I~~vs relate to
   23

   24
          of programming at Tondero Peruvian cuisine.
   25

                                                                                        ~ISSION 18:
    26    PLAIn'T1FF'S RESPONSF.TO DF.FEn'DAN1'S' REOUFST FOR ADi~
   i7             Denied.
    28    ~~~




          PLAINTIFF'S RESPONSES TO DEPENDAN'T'S REQUEST FOR ADMISSIONS
          Case No.: Z22-cv-07303-Thl-PLA
                                                            Page 7
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 38 of 95 Page ID #:505




     RF:QUFST FOR AUA~iISSIUN NO. 19:
z           Admit or dcny thAt you havc no cvidcncc whatsocvcr that the dcfcndant, Gcrardo Valdivia,
3    had the authority to enforce compliance with laws rclatcd to the intcrccption, rcccipt, and publication

a    of programming at "1'ondcro Peruvian cuisine.

5
     I'LAIN7'IF`F'S RI;SPUI~'Sl: TO UI:~ENUAN7'S'It1,QUES7'FOIL ADMISSION 19:
s
             Denied.

8
     REOUFST FOR AllM1SS101~' NO.20:
9
            Admit or deny that you have no evidence whatsoever that the defendant, Gerardo Valdivia,
~o
     took any steps to enforce compliance with laws related to the interception, receipt, and publication of
i~
      programming at Tondcro Peruvian cuisine.
~z
13   PLAINTIFF'S Itt?SPONSI: TO U1:FENDA~\'I'S' RI:Ql1ES'1' FOR A1)~i1SSlO~~ 20:
14        Plaintiffs investigation is ongoing, and Plaintiff reserves the right to amend, modify, or
15   supplement these objections and responses. Plaintiffreserves the right to revise, correct, supplement,
~s   or clarify the content of these objections and responses to object to further discovery in this action.
      Plaintiff's responses reflect the current state of their knowledge or information regarding the

~e    information requested. Further investigation may identify additional facts or information that could
      lead to additions or changes to these objections and responses. At this time and until discovery is
19
     complete, deny.
zo
21
     RFOUFST FOR AllM1SS10N VO.Zl:
u
             Admit or deny that you have no evidence whatsoever that the defendant, Gerardo Valdivia,
23

24
     I vas aware ofany employees or contractors ofTondero Peruvian cuisine ~vho were involved in the
     alleged unlawful interception, receipt, and publication of the plaintiff's program.
25

26   PLAINTIFF'S RFSI'ONSI;f0 D1:FI:I~ANTS' RrUUEST FOR ADM11ISSION Z1:
27           Plaintii'('s investigation is onboinb, and Plaintiff reserves the right to emend, modify, ar
28   supplement these objections and responses. Plaintiff reserves the right to revise, correct, supplement,
     or clarify the content of'thesc objections and responses to object to further discovery in this action.
     PLNNTIPF'S RESPONSES TO DEFGNDAM''S RLQUCST I'OR ADMISSIONS
     Case No.: 222-cv-07303-TJH-P1.A
                                                  Page 8
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 39 of 95 Page ID #:506




                                                                                   or information regarding the
            Plaintiff's responses reflect the current state of their kno~vlcdge
                                                                             onal Facts or information that could
   z        information mqucstcd. l~unhcr investigation may idcntii'y additi
                                                                         ses. /1t this time and until discovery is
   3        lead to additions or changes to tl~c5c objections and respon

   a ~ complete, deny.

   5

   s
             itLUtn:s't' F()1Z AI)NiISSION N~.Zi:
                                                                                   the defendant, Gerardo Valdivia,
                    Admit or deny that you have no evidence whatsoever that
                                                                                  employees or contractors of
             had the authority to tenninatc the employment or contract of any
   8
                                                                              unlawful interception, receipt, and
             Tondero Peruvian cuisine «'I70 ~'VCiC IIIVOIVCd lfl lI1C alleged
    s
             publication of the plaintiff's program.
   ~o
   ~~                                                                   M;S7' F012 AI)MISS[ON 22:
             PLAINT1rT'S RESI'O~iSE'1'n DEFf:NDAVTS' RI;QU
   ~z                Denied.
   13

    14        REQUT:ST FOR ADZIISSIOn \~.23:
                                                                           that defendant, Gerardo Valdivia, was
       ~s            Admit or deny that you have no evidence whatsoever
                                                                    ndero Peruvian cuisine.
       ~s     responsible for the management and supervision of'1'o

    ,~
                                                      TS' RI~:QU        F:S'1' FOI2 ~V)~IISSION 23:
              PLAINT~rr'S It1:SPOi~1S1;•ro »rFr;IYDAn
       ~a
                      Denied.
       is
       zo
              REQUEST FU12 ADntISS[ON NU.24:
       zi                                                               that the defendant, Gerardo Valdivia,
                     Admit or deny that you have no evidence whatsoever
       zz                                                                           and supervision of Tondero
              had access to documents and communication-related to the management
       23
              Peruvian cuisine.
       24

                                                                                                    24:
       25    I I PLAINTIFF'S R[?SYONSE'1'O Dl:HENI)ANTS'Itl?QUEST rOI2 AU~IISSION
        26            nCfIIC(~.

        27    //~

        28     ///




               PLAINi'1FF'S RfSPUNSES TO DETENDAPfi''S REQUEST FOR ADMISSIONS
               Case No.: 222-cv-07303-TJH-P(.A
                                                                Page 9
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 40 of 95 Page ID #:507




           RFOUEST FOR ADA~IISSIOh NO.25:
  2               Admit or deny that you have no cvidcncc whatsocvcr that the dcfcndant, Gerardo Valdivia,
                                                                                                          the
  3        took any actions in response to the alleged unlawful interception, rrceipt, and publication of

  4        ~ plaintiff's program.

  5
                                                                                              2~:
       1'LA11~7'IFF'S 1ti:SPONSF TO DFFFNI)ANTS' Kr~)UFS'1' FOK AD~9(SSION
  s
                                                                                           amend, modify, or
                Plaintiff's investigation is ongoing, and Plaintiff reserves the right to
   T
                                                                                          correct, supplement,
       supplement these objections and responses. Plaintiff reserves the right to revise,
   8
                                                                                      discovery in this action.
        or clarify the content of these objections and responses to object to further
   9                                                                               information regarding the
        Plaintiffs responses reflect the current state of their knowledge or
  ~o                                                                                   information that could
        ini'ormation requested. Further investigation may identify additional facts or
                                                                                        and until discovery is
     ~ lead to additions or changes to these objections and responses. nt this time
  ~2
            complete, deny.
  13

  to ItE0UES7'FOR AD191SSION NO.2G:
                                                                                                Valdivia,
  15        Admit or deny that you have no evidence whatsoever that the defendant, Gerardo
                                                                  interception, receipt, and publication of
  ~s cooperated with any investigations into the alleged unlawful
  n the plaintifFs program.
      16
             PLAINTIRF'S RF,SPOhSF TO DEFI~:NDA1''fS' REQUEST FnR AD!~i1SSlOn 2G:
      19
                  Plaintiff's investigation is onboing, and Plaintiff reserves the right to amend, modify, or
      zo
             supplement these objections and responses. Plaintiff reserves the right to revise, correct, supplement,
      z~
             or clarify the content of these objections and responses to object to further discovery in this action.
      n
             Plaintiff's responses reticct the current state oftheir knowledge or information regarding the
      23
             information requested. Further investigation may identify additional facts or information that could
      24
              lead to additions or changes to these objections and responses. At this time and until discovery is
      25
              complete, deny.
      26     ///

      27     /~/

      28      ~~~




              PLAIN'TIFF'S RESPONSES TO DEFENDANT'S RCQUEST FOR ADMISS10N5
              Case No.: 222-cv-07303•Tl11-PLA
                                                            Page 10
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 41 of 95 Page ID #:508




           2E LJEST FOIL ADMISSION \U.27:
 z                Admit or dcny that you maliciously filcd a complaint a6ainst Dcfcndant, Ccrardo Valdivia,
  3        knowing that you will not prevail in this case based nn this INC(I)I:N'1'

  4

  5
           1'LAll~T1FF'S RI~.SPONSI?'1'O lll?FF.NUANTS' R1~.QUI;S"1' FOR AU;~115SION 27:
                   Denied.
  s
  z
           I2F,QUF,ST FUZZ AD1~ilSS10N NO.28:
  8
                   Admit or deny that you have no evidence whatsoever that tlic dcfcndlnt, Gerardo Valdivia,
  9
           took any actions to rerncdy any harm caused by the alleged unla~vfiil interception, receipt, and
  ~o
           publication of the plaintiffs program.
  1~
  ~z        PLAINTIFF'S RI~:SPONSE'1'O DI?FI~,nUAn7'S' RT:QUF.ST FOR ADnllSS10Y 28:
  13                Plaintiff's investigation is ongoing, and Ylaintifl' reserves the right to amend, modify, or
     to     supplement these objections and responses. Plaintiff reserves the right to revise, correct, supplement, or
     15     clarify the content of these objections and responses to object to further discovery in this action.
      ~s    Plaintiff's responses reflect the current state oftheir knowledge or information regarding the information
            requested. Further investigation may identify additional facts or information that could Iead to additions

      18
            or changes to these objections and responses. At this time and until discovery is complete, deny.

      19
            ItEOL1EST FOR ADA'IISSION NO.29:
      20
                    Admit or deny that you maliciously filed a complaint again Defendant, Gerardo Valdivia,
      z~
            accusing him of intentionally intercepted, received, and published the plaintiffs program at Tondero
      ii
             Peruvian cuisine himself.
      23

      24
             PI.AINTII~F'S RESPONSF,7'U DI;FFNllAn`7:S' RI:OUCS'1'FOR ADr~11SS1ON l9:
      25            Denied.
      zs
      27     RFQUI~;ST FOR AllYIiSSION NO.30:
      28            Admit that your investigators are not licensed in California.


             PLAINTIFF'S RESPONSES TO DF.FENDAM"S REQl1E5T FOR ADMISSIONS
             Cffie No.: 2:22-w-07303-T1H-PLA
                                                           Page I 1
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 42 of 95 Page ID #:509




 t ' 'LAIN'1'IFF'S 1tF.S1'O\~SC TO D~FI~'YDANTS'ItFQUrST FOR AD~715S[ON 30•

 2                     Denied.

 3

 a         REOUCSI'FOIL Al)`~11SSlON NO.31:
                                                                                    California to act as an Investigator
                        Admit that your investigator Valentino is not licensed in
 5

 6
                                                                            U~ST FUIt ADti1ISS10N 3l;
              YLAiI~'TIFF'S RESPONSE TO DEFFNUANTS'RFQ
                        Denied.
     8

     9
          REQUI~:ST FOR AU~91SSlON NU.32:
     ~o
        ~       Admit that the report oi' Mr Valentino is false
     ~i
                                                                                          A1)~USS(ON 32:
                                           DF,F            rNDANTS' RFQUF.ST FUR
     12         PLAINTIFF'S 121 SPO\'SF TO
     13                   Denied.
      14
                                                  NO.33:
         15        KF.QUEST FOR Alll~•11SSION
                                                                                                              and
                                                               your investigator has the objective to hjarass
         ~s             Admit that the report of Mr Valentino,
                                                   ial ads-antage
         ~7 I
              intimidate in order to obtain financ

         18
                                             DEFF:lYDAi\TS' RI?QUN:ST FOR ADMISSI0133:
                   PLAl1~iTIHF'S RESPUNSF,TO
         19
                           Denied.
         20
          2~                                           4:
                    RFQUFS"T FOR ADi~1ISSION NO.3
          zz                                                        than three minutes in the establishment of
                         Admit that your investigator was only less
          23
                    DEFCNDAN'1'
          2~

                                                                              I;S'1'~OR AD~IISSIOY 34:
           25       1'1,AlNTIFN'S IiTSI'ONSF. TO DEFF.NUAN7'S' Ri;UU
                                                                                              right to amend, modify, or
           2s               Plaintiff's investigation is ongoing, and Plaintiff reserves the
                                                                                            to revise, correct,supplement,
           s~       supplement these objections and responses. Plaintiff reserves the right
                                                                                          further discovery in this Action.
              2a    or clarify the content of these objections and responses to object to
                                                                                           or information regarding the
                    Plaintiffs responses re[lect the current state of their I:nowledge

                     PLAIYfIFF'S RESPONSES TO AEfGNDAM"S REQUEST rOR ADMISSIQNS
                     Case No :2:22-ev-07303-TJH-Pl.A
                                                                 Page 12
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 43 of 95 Page ID #:510




                                                                                           information that could
             information requested. Further investigation may identify additional facts or
                                                                                 this time and until discovery is
   2         Icad to additions or changes to these objections and responses. nt
   3         complete, deny.

    4

    5
             ~iFQurs~'FOIi AU:~11SSlON NU.3s:
                                                                               they go to the establishment of
                     Admit that you coordinate with the investigators before
    6
             DEPENDANT

    e                                                                 )l'F~7' FOK ADhi1SS10135:
             Pl ~VN'l'IFF'S RHSPONSF T'O1)1'F~~DAI~'"CS' RI'
    9
                     Denied.
    ~o

              RCQUF;ST I~nR ~V)1~IISSION NO.3G:
                                                                                                 intimidate and
    ~z                mit that you sent the invest igator s to the establishment of DEPENDANT to
                   Ad
    13        ask for bribes from DL'FCNUANT
    14
                                     TO DI:FE         nllAN"fS' 12I:QUES'1'FOK AI)~IISSION 3G:
       ~s I PLAINTIFF'S 12H:S1'ONSF.
       ~s        Denied.

        n
        78
               REOUFS'I'FOI2 AU111ISSlON \O.37:
                                                                            ent of DErENDANT knowing that you
                    Admit that you sent the investigators to the establishm
        19
               will file a bolus complaint
        20
        z~                                                                                 IISSIOV 37:
                                                              UF,ST FO!t AI)~•
              I PLAII~T(FF'S RfiSPONS~ TO 1)F,F~nDAV1:S'12I;Q
        zz
                      Denied.
        23

        24
               ttr•.c~u~:s~r Foil nun~issi~v n~o.3s:
                                                                                                               between
        25
                      Admit that you told the investigators that you will obtain benefits and share benefits
        zs     you and them
        27 i ~~~

        28     ~~~



               PLAINTIFF'S RGSPONSFS TO Df:FEN[)AM"S RIiQUEST FOR ADMISSIONS
               Case No.: 2:22-cv-07303-TJH-PLA
                                                              Page 13
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 44 of 95 Page ID #:511
         r'



          t        PLAIN7'lrF'S 111?Sl'ONSI; TO U1~ N1~ NUAN'1'S' RFOUFS"i'rl)R
                                                                                ADiti11SS10N 3H
          Z   ~             Dcnicd.
/~
          3

                  I RFOUES7'FOR tV):1IISSION NO.39:

                            Admit that you don't havc rights to distribution in Fcru


                  11'I.AINTtFF'S 1trSPov~r 7•o uFNr~~vnn~~~'S' RFpUFST FOR ADNIISSIUV 39:

                           Objection. Defendant's Rcqucst far /ldmission No. 39 is unintclligiblc. As such Plaintiffcannot
          s        ascertain Defendant's request and nn that basis Itcqucst for admission ~Vo. 39 is denied.
         ~o
                  1 1tl:QUr:ST FOK Al)~171SSlO,V NU.40:
         ~~
                            Admit that you don't have rights to distribution in South America
         iz
         13
                   PLAINTIFF'S ItrSPOVSF TO DH'rl'NDAN7'S'IZFQUH:ST FOIL A1)~IISSIOv ~JO:
         to
                        Objection. Defendant's Request for Admission No. d0 is unintelligible.
         15

         16
                  I a~o~Fs~r Moit Annuss~o~ ~~o..~~:
         tt                 Admit that you ~trc tryin5 to obtain an economic advantage through this procedure
         ~s
         19        PLAINTIFF'S KF.SPONSF,'1'O DEHI;n'DAN7'S' R}~:VUI:ST FOR ADi~~IISS[0~141:
         Zo             Objection. Defendant's Request forAdmission No.41 is unintelligible. As such Plaintiffcannot
         z~        ascertain l~cfcndant's request and on that basis Request for Admission No. 39 is denied.
         ii
         23        ItE0UFS7'FOK ADMlSS10N NU.42:
         2a                Admit that you maliciously conspire with your agrnts and aids to obt~iin illegal benefits from

         zs       this federal case

         28
                  PLAINTIFF'S RI~;SPOh'SE TO 1)F,FF.NUANTS' RFOUEST FOR A1)A~IISSIOn142•
         zi
                          Dcnicd.
         28



                  PLAIM'IFF'S RESPOI~SES'I'O Dl:FCNDAP''f'S R[iQUGST FQlt AD.'~115SIONS
                  Cesc No.: 222-cv-07303-17H-P1.A
                                                                     Page 14
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 45 of 95 Page ID #:512
       1~




       I Itl~:(,)l►1?S7' HOIt ~~1)~IlStilO\ NO .J;•

z
                     ~~clntit that y~~u ha~•c iu~.tRrccmcnt ~~~ith C'UM~gl;l3OI.
3 ',

4          r t.:~~~~rirN~s iti~:~i~c~~.~i~: ~rc~ ni~.~~i~:n~u;~,~•i~.ti~ iii~:~~~~~~:~~r rc~ii nu~~-iiti~i~~,v.~;:
5                    OUj~~tiun. 1)~I~ndant's Kcqucst for admission Nc~. ~4; is w~intcili~iblc. ~1s such Plaintiff
                                                                                                     43 is cicnicd.
s          ct111ItUl as~~rtain I)cl~ndant's r~qucst and cm that basis lt~qucst fi r /ldmission Na.



8
           ltl~:~)11t~.ti'1' I~Oit AU~~lltitilON \'U. ~-1:
9      i             Admit that ~~au d~mt kn~iw ~vh~it iti CON1MI:liOI.


                                                                             ItFOU1~ tiI' 1'OK ~V):~lltitilON -1-t:
10
           1'l AI\'1'll~r'S 121'tiPOi~til~ '1'O 1)1' E'1' \i)~1\'1'ti'
                                                                           -~~ is unintcliigiblc. Ati tiuch I'laintil~l~
                     Ohjcction. Ihtin~laitt'~ Itrqucst Ibr nclmission No.
                                                                                  liar ndmissicm No. a~ is dcniccl.
                     ascertain 1)cicnciant's rrqucst and an that basis Itcqucst
~z
           c.innoi
13

14

15
            llatcd: M~►rch 3, ?023
                                                                    1.:~1\' ~)1'F'ICt:S OI' ~I~IIU~IAti 1'. It11.F:1', 1'.C.
16                                                                 13y: "I'hotnas I'. ltilc~~, l:squirc
                                                                   Auornc~~s liar I'laintilf
                                                                   INh't)Vn'I'IVI: til'())Z'I'S Nil:l)I/\, (NC. d/b/a
 ~a                                                                tN'I'I;GRA"I'I:I) SI'OIZ'I'S Ml:l)In
 19
            ///

 20         ///

 21         ///

 22         ///

 23         ~/~

 24         ~/~

            ///
 25
            ///
 26
            ///
 27
            ~~~
 28
            /~~


            NLAIN77FF'ti RIiSI'OVSI:S'f0 b1
                                              iFIiNAgN'I"S RfiQUliti'I' POR nl)~11SS1Oh'S
            Carr No.: 2:22-rv-07303=1711-PI.A
                                                                     I'agr IS
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 46 of 95 Page ID #:513




                                                           VLIZIFICA'I'[ON
2

3

4            STATE OF 1~'E~V ,TERSEY                         )
                                                                     ss.
5             COUNTY OF BERGEN                               )

6
                        I, llOUC .IAC013S, declare as fallo~vs:
                                                                                         this Verification on its
                     1 am the President of the Plaintiff in the subject action and make
    8                                                                                 DF',f~F,IVDANT'S RF.QUF.ST
              behalf. I have read the foregoing PLAINTIFF'S IZESPOI~SES TO
    s                                                                              stated in the farcgoing are true of
              FUIt ADMISSIONS and know the contents thereof. The matters
io                                                                               on inrormation and belief, and as to
              my o~vn kno~vledgc except as to those matters, which arc stated
    ~~         those matters, 1 believe them to be true.
                                                                                       States of America that the
    12                1 declare under penalty of perjury under the la«~s of the Uniicd
                                                                            e~ecutcd on March 2          ,2023, in
    ~3         foregoing is true and correct and that t}~is declaration vas
    ~4         Tenafly, New Jersey.
     15
                                                                                -.
                                                                 --'—~   ~~,—
     16
        17                                                     llOUG Jf1C013S

                /!/
         1s
                ///
         ~s
                ///
         20
                111
         21
                 ~~~
         22
                 ~//
         23      ///

         2a      ///
          zs     I//
          is     ///
          2z      ///
          2a      ///


                  PLAINTIFF'S RESPONSES Tp DrFE\Dn:~T'S RCQUEST FOR AD~1ISSIONS
                  Case No. 222-n'-07303-TJ}I-PLA
                                                                Page 16
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 47 of 95 Page ID #:514




                                             r~tc~oH ~~H sr.IZViCI~, t~;~~ ~~n~~,~
2

3               1 declare that:

a               1 am employed in the Cotint~~ cif l.c~s nn~,~lcs. Calili~rnia. I am over the arc of ci~htccn years

5
         end not a party to the within cause; my business address is First Library Syuarc 1114 l~rcmont nvcrnir.
         youth Pasadena, Calif'~rnia 91030. [ am readily familiar ~~~ith this la~v firm's practice for collection anti
6
         procrssing of corrcspondcncc/doc~nncnts 1'or mail in the ordin~~ry course of business.

8
                On March,3,2023, I scr~~c;d:
9
                 1'1,AIl~'1'tFh'S Itl?SPO\SI~,S'fO DI?H!?NI)~1N'I''S Itl•;QlI1;S7' P'O!t All~~1IS51n\S
~o
ii
                 On all parties in said cause by mailing s~~me to the l)ci~ndant at the lollo~ving address:
12

13 I,             Mr. Gerardo Valdivia                                        (I)ci'cndant)
~a                9347 Slausan Avenue
                  Pico Rivera, LA 90660
15
                  1 declare under the penalty oCperjun• pursuant to the 1~►~~~s ol~the United States that the i~~rc~uing
16
         is true and correct and that this declaration vas executed on March 3, 2023, at South Pasadena.
          California.
    18

    19

    20

    21
         ~ Uatcd: March 3, 2023
    z2                                                                 K1;1,1.1' ~9. IIIJMI'I1RF.Y
          ///
    23
          ///
    24
          ///
    25
          ~/~
    26
          ///
    27
          ~~~
    28
          ///



          PI.AIN'1'IFP'S RGSPUI~SI:S'fO
                                        bl:f'I;\DAN7~'S RI:QUIiS~I' I~OR nU~1ISS101~5
          Cax Ko.: 222-cv-07303-171I-PLA

                                                                  Page 17
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 48 of 95 Page ID #:515




         MEET AND CONFER LETTER FOR FURTHER DISCOVERY RESPONSES

    Date: 3/7/2023

    Thomas P. Riley ,SBN 194706
    LAW OFFICEAOF THOMAS P. RILEY,P.c.
    First Library Square
    1 114 Fremont Avenue
    South Pasadena, CA 91030-3227

    RE: Case No.: 2:22-cv-07303-TJH-PLA

    Dear Thomas:


    I have reviewed your responses to the discovery requests that was served upon you such
    as Request for Admissions, Request for production of Documents and Request for special
    interrogatories

    After a careful review of the responses I have found the following deficiencies.

    1.      The objections to saecial interroEatories are false and evasive

    The responses to special interrogatories are not applicable are too general and definitely
    not code compliant as they aze incomplete. They all have evasive objections.

    The objections to special interrogatories numbers do not state in detail how the particular
    interrogatory is "objection relevance", or how they contain a subpart. This type of
    boilerplate objection is not code compliant. And the objection term "objection relevance"
    is vague and ambiguous, does not specify how and why it is "objection relevance"

    Thus, your objections as to the form ofthe question presented are without merit.


    2. We did not receive resaonses to reauests for production of documents

    The response to response to request for production of document contains the similar
    objections then it does not state that without waiving that objection that after a diligent
    search your client does not have any such documents as no such documents have ever
    existed. You are not producing anything.

    The requests for production of documents seek information that is clearly related to the
    subject matter ofthis action. In fact most ofthe requested documents relate to allegations
    in the complaint filed by plaintiff or the affirmative defenses asserted by defendant in
    their answer.
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 49 of 95 Page ID #:516




    The objections are evasive sucha as this:

    "Objection. INNOVATIVE SPORTS MANAGEMENT,INC. objects to each and every,
    all and singular, ofthe items listed as Defendant's Request for Production No. 26 as
    follows: Attorney-Client privilege; work product privilege..."


    3.     The responses to the requests for admission are not code-compliant in that
    the responses to requests for admission are nothing but repeated, boilerplate
    objections and evasive responses.

    Thank you for your prompt attention to this matter. Call me should you wish to discuss
    this matter further.

                                    Meet and Confer Dates

    I am available to meet on 3/9/2023 at 8;30am.10:15 am,and 4:35pm
    I am available to meet on 3/10/2023 at 8:30am.10:15 am,and 4:35pm
    I am available to meet on 3/11/2023 at 8:30am.10:15 am,and 4:35pm

    Place if in person we can meet at my address or if you want I can go to your place


    Very truly yours,


   Gerardo Valdivia
   (562)200-5748
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 50 of 95 Page ID #:517




                                      CERTIFICATE OF SERVICE

     a m over the age of 18 and not a party to this action. I am a resident of or employed in
    the county where the service occurred;

    On 3/7/2023 I served in person a Letter to meet and Confer to:

    Thomas P. Riley Law Offices of Thomas P. Riley, P.C. First Library Square 1114 Fremont
    Avenue South Pasadena, CA 91030-3227

     declare under penalty of perjury under the laws of the State of California that the
    foregoing is true and correct.

    DATED: 3/7/2023

           Art Cervera

           Process Server Reg 20200027
      Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 51 of 95 Page ID #:518




           ~°~Y ~~ f~i~~ (~I\IERA                                                                                                               F


      ~~l~9~E~~ LICENSE TAX CERTIFICATE                                                                                                 =~;`_~~~=~ .'
                                                                                                                                         ~u
    s~s~~+~ss w3~,~:        acyo~~ P~uvu~v cu~sir~~
    Susiress Locaiian:      9347 S'.AUSOh AtilE
f                           PlCQ RlVERA, CA 90660-4525                                      8usinass Type:            RESTAURs1NT
{f Ovmer(s):      GERAf2D0 VALDf~~lA
1
             TONGERO PERUVIAN CUIcW[                                                        License Number.           63506755
             9347 SLAUSON A~/E                                                              Date Issued:               07!0112021
             PIGO RIVERA, GA 9Q6fi0-4525
~                                                                                           Expiration Date:           06:30!2022



               7N1S L/GiNSE Aft157 BE POS~rD 7N A COY,SFlCUOUS ALACE AT THe BUSINESS LOGh7lON.
                                     IT 15 +ACT TRAIJSF£Rs16tE CR ASSlGHASL£




         TOtdDERO PERUVIAN CUISINE:

         Thank you for ycur payment on your City of Pico Rivera Business License.

         ihis ~iaense Certificate does not permit any individual, business, or corporate entity, to conduct business activity which would
         othervise be prohibited in the City. Payment of a business tax (required 6y .he provisions of the City of Pico Rivera tvtunicipa!
         Code}, its acceptance by the City, and the issuance of a cerificaie to any person, steal! not authorize the holder thereof to carry
         on any business unless the holder has complied with all requirements of said Code and al! o!hec apFli~atrle laws. This
         certificate has been issued vfithout vennca6on ?hat the holder is subject to or exempted from licensing by the state, county, or
         federal gaysrnment; or aay other gavemment or gavemment agency.

         Keep this portion for your license separate in case you need a replacemQnt for any lost, stolen, or destroyed license. A fee
         may be charged far a replacement or duplicate license. If you have questions concerning your business license, contact the
         Business Suppo~l Center via email at PicoRivera~hdigov.com or by telephone at(562)222-8754.

         Starting January 7, 2D21, Assembly Biil 16D7 requires the prevention of gender-based discrimination of business
         esiabfishments. A full notice is available in English or other Iartguages by going io: https:lFvnvw.dca.ca.gov!pubiicalionsi




                ,ti             CITY OF PICA RIVERA
                ~~             8839 N CEDAR AVE #212                    ~~
                 ~, "~         FRESNO,CA 93720                          0;~~—:                             Bt;~9(VESS ~ICEAISE TAX CERTiFiCATE




                  TONDERO PERU11ii1ty GU{SfiSi.                                                  Licen~c °.:::;tc::       035~~?~5
                                                                                                                                J

                  9347 SL,~USON AVE
                  PICG} RIVERA, CA 90664-4525                                                         Date of Issue:       07/01/2021
            Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 52 of 95 Page ID #:519



                                                                                                                                                           2020 16141
YOUR P,ET~JRN i~1AILING ADDRESS
                                                                                                                                                   ~l ~l !~1111~1~~~11' C~►11i1i~'li ilil l~~ll l i'~X11'
NAME• GERARDC RnUL VALGiVIAGARCiA                                                                                                                             FILED           EXPtiiiES
                                                                                                                                                           Oct is 2020              ~=~ ~A ~~
ADDRESS. 10476 GREENHURST ST.
                                                                                                                                                                                          s+.~ru~~
                                                                                                                                                        ,_--= i^i~.P«'r"-°"°n~~c
G'ITY• QELL("LO`J4ccr'~                                                    STATE: CA ZfP CQD~ 9~J7Qa"                                                        %li:.la'::x1-Sr°1
                                                                                                                                                                              P1CMY3il~k+



                                                FICTITIOUS BUSINESS NAME STATEN~E~..
                                                                   1'PE OF FILING AND FILING FEE ;Check one)
      ~x~ ra1. 526.OD (F^3 Q3~,^:~#~Ai ftiIAA L•!fT}~ ChF P.U$INESS PL1!~1E ON S~++TEIAE^i; )
 n ~. .a~dh: Pd ~^- S2hJ6 (i.ii:.t.G. 5 Bi FACTS Fii011 OIiICU1.l clUl1G REaUtRES PU6UC~TION)
 f"t H. t.~ . S:Efi0:P.0 ^.-lASiG~$ Iti':i~ FkCTS FR~`.f OFiCINA~Ai~4Gi
 1 .J
                                                                                                           l~A7fGV SSA0. FCnZ EACH:.4 iTTGN31. OW1:ER 1N EXCEaS 0 04E L'Y~Y+c2
 .i.0 -:~R i:~iirt ..J]1'fQYA18USi:JE5S N.iM11c FILET ON $A67E S fRTEN,a(i, ;iOSt1G $USINESS AT T!HE SW.'E
                                                                 The follo~riing persons) Is {are} doing business zs:

• ~. TONDERO PERUVIIN COUSINE                                                                       2,
                                                                                             t~"~r:: FxyCouG I1iW^CSs Na~r•N,:i

•-      9347 SLALSON AV't
                                                                       ct cus.+esa                                                              t a any e~.Less i c .                                   - --'T~
                                       ~~et ac^r.;ss orna:~ p
r~co Rrv~ua                                             c.a                so5so           v~cour~n              ~
                                                                              Lp           COiWiY                     Gry                                                           :. :,'c?C.rontry         Lp
 Gtly                                                 Sutc:Cau~iry

     ~,niU~r. cr tncaa~*accr, cd tkq~n;a5a+ Nurt+b~' (" acPE~~'r ;J ~i3N
""REGISTERED OVltNER{5):
           GERP.RJD RAJI YA~DtVIR GARCfA
                                                                                                     ~'        01.4NA C3-!10771

           Full Name/Cay~~C (~.0. Baz not xcr,~~edJ                                                           FuA Name~Cerp/LLC (P.Q Bmc not accepted)

            10476 GREENHURST 5T.                                                                               1284 cLOOMFIELD AVE

           Resi(en~e Adtlrtss                                                                                 Resirence ,~.utl255
                                                                  CA          90700                            NO~VvlLLK                                                    CA              HOo5U
            BELLrLOYJEER
                                                                                     Zip                      Cih~                                                   St~telCo::ntry            T+D
           Cry                                                Sta:e::aunfry

           If CorQn:tsivn w LI.0 - P.-~! Slate c: ~nco~oraoun;Organizahet~                                    I! C~o2ticn or lLC -Prig: Slate of Ircor~ora~x/Organization


 3.                                                                                                   4.       =u'I Narre'CerprLLC (P O. 6a~ rot aroea~e~j
           iuq Ptemr~o~~.PLC ,~ O. Sox -±ot acceFtr_')


           i=.e>:de~ce Address                                                                                k'esidence :~d~+ress


                                                            S1~tWCcu~~tr/          I~p                         City                                                   StatelCountr,              ~~;~


              ~::r;oraficn w PLC - Prnt S4iln dIncxporatior_'Organ¢a;~on                                       it Ca~orappn pr LL:, - Pn:i[ S1ou; of tn;,;,;~~ o,,,„,,,~,r5~ ...,,..r,

                                     1'r MORE T(if~\ FOUR REDS
                                                             i          A r /~CFt AD~]lTiONAL SHEET SHO~VItJG OWNER INFORMATION
                                                               P.fiN-S. i

     •'~`T~tS 6USINESS iS CONDUCTED BY_ (Check onE)
                   ~an tndividua~         Ja General Partnership
                                          x                                 ~a Limitsci Partr,ershiF      ~a Limiied Lability C;.~^tpany
                                      i,sscciati~n o;ner than a Partnership             ❑a    Corporation    ~a Trust               Copartner;
                   Gan Unincorpara?ed
                                              ~Joi~~ Venhxe             ~5tal~ or Locai Registered Domestic Painers         ~a Um~ted Lizbilily Partnership
                   ~a h4srr;ed Couple
                                                                                                                             fisted abo~~~:             wn
 ""'The date registrar: Started to L2nsact ~us~ness ~mder the tictiticus b~s~ness n2me o! names
                                                                                                                                            jln56rt 4~P,;,ttpve Y ya_ hevrnl atarfui to trl~sa~ psi-eag`

                                                       derJara that al! information In this statement is true and correct.
                                                                                                                                             Code that
                         (A registrant who declarss as We aoy rnateria~ matter pursuant[o Ses t:en 17913 of the Business and Professions
                                                                                                                                              (51,UD0).)
                         the regiSUdnt knoars to be false is gudhi of a ;;~isdemearcr punishable by 2 F.ne not :o exceed one thousand doStars

                                                                                                                                    TITLE     GenQral Partnor
     REGISTR,~NT;S}JCORPli.LCNAP~E jPRtNn

                                              5            --~—_                        ~r- coon o~ e.~e, r~~Hr Nsn~e
  REGISTRANT SIGNATURE __
  {(cor?aratlort, Aso print carp             e of offleer. 7f LAC,also print title of officer or manager.
                                                                                                                             :.umer.
   This statement uas'deC +nth tYx .,nly Grlc o'LOS .RNG ELES on the da!e :n~icaien 6y tre fikYl siar:~p in ii~a upper right
                                                                                                  S7ATEMEKT GcNCR.4l1Y EXPIRES AT 7liE END GF FIVE VEARS FP,ORt 'fF{E
   hJOT10E • i~J ACiAKllANC~ 4Y!'I H SUB'31VISlON (aJ OF ScCTiQ1 17920. A FICTITIOUS NAME
                                                                                             Iti Sl;3DNISICN ;b)OF SECilC1N i792D. NIHERE fT EXPIRES 4G D.ti'!S
     D;:TE ON t1HiCi 1 lT bYAS =:1.G IN THE OfFICF OF liE COUtdTY CLERK. EXCEPT. AS PROVIDE
                                                                                   SECTION 77£13 DTtfeR THAN A NAhS:~[!N 1NE RESiOENCE ADDkL•SS OF q
     ASTER ,+.NY CHANGE iW THE FACTS SET FOR~Ft iN 771E S7A'."EM14~N f PURSWWT'f0
                                                                               BE fiLcO BEFORE THE =_XI'iR4710TJ. ~FF'EC f'VE JAYUJ+RY 1, 2D1q, THt ~iCTICiOUS
                                                                 57.ATEMcNT M1tUST
     FE~i1S~fERE~ ~i'ditfE.~ 11 NEV'1 FIG71T'OUS 811SI1vE5S NAND
                                                                               47E.VTINFOR3~.
     BUSWcjStn..t.1E5TAT'cAScty. MUSTHE.aCCCVPAMEDBYTHEAFFiDAVITOF
                                                                                                                                                                                         OF THE RIGhTS OF
                                                                      THc U~c IN THIS STATE OF A FIGTTClS BUSINESS NAIv1E I Y \40R.ATIOh
     ik=E ~iliUG qF -HIS STA.T[F„ENT DCIES PJ07 OF ITSELF AI,THCFt2E        ~    SEQ., BliSiNESS MID PRQF=5S~0^!S CGDc)
     r,~;~Ti ~R UtdDER F_J[,7nL, STI~7E. OR CO~'riMRN LAN ~.~EE SECTION 5441 ET
                                                                              OP.fGINA.L 5r~FI~AEMT any F+zF irr nar oFFrc~.
                  ~ r;Ft7EoY ~ErT•FY THAT THIS COPY IS A CORREC T COPY OF THE                    ~' Q-i                                                                                                     . Usp~~y
              ;~~:5! ~_ LQGA~;. CJ5~'JS~Es     ~S_CQILNTY   ~~K             BY:
                                                        :  A g9d5b12~b      PM.{SG21-182-2L'7           VYES AUDRES5. LAVCTE.NET
              t:2o-d              F' O DOX 1208. NCRViALK,

                                                                                                                                                                                                            Paco'of 1
     Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 53 of 95 Page ID #:520


     IRSDEPARTMEhT OF THE TREASUf2Y
~~       INTERNAL REVEA~UE SERVICE
         CINCINNATI OH     95999-OQ23

                                                                      Date of this notice:      11-27-2420
                                                                     --employer'     ntific~tion Number:
                                                                       85-405645

                                                                      Form:   SS-4

              GERARDO RAUL VALDIVIA GARCIA                            Number of this notice:      CP 575 G
              TONDERO PERUVIAN CUISINE
              10476 GREEiJHiTRST ST
              BELLFLOWER, CA 90706                                    For assistance you may call us
                                                                                                     at:
                                                                      1-800-829-4933


                                                                      IF YOU WRITE, ATTACH THE
                                                                      STUB AT THE END OF THIS NOTI
                                                                                                   CE.




                            WF' ASSIGNED YOU AN ENtPLOYER
                                                          IDENTIrICl~?'ION NUMFi~R
          _ _,'X_ank_y._ou, for applying for an
                                                 Employer Ident_fication vumber
      EI~~„$$_-456452. This EIN will                                                (EIi~) . 4Je assigned you
                                             identify you, your bLsiness acco
      documents, even if you have no                                             unts, tax _eturns, and
                                             employees. Pease keep this
      records.                                                               notice in your permanent

           Wher. filing tax documFnts, paym
      that you use your ESN and carrplet     ents, and related correspondence,
                                         e name                                   it is very ~mpor~ar.~
      may cause a delay in processing,           and address exact~.y as s~:own abov
                                        result in incorrect information              e. A.-~y variation
      cause you to be assigned more than                                    in your account, or evert
      above, please make the correction one EIN. If the information is not correct as shown
                                          using the attacheri tear off stub
                                                                              and return it to us.
           A limited liabili~y company (LLC
                                              ) may file Form 8832, L•'ntity
     and elect to be classified as an                                        C1ass.zfication E.iection,
                                        association taxable a~ a corporat
     eligible to be treated as a co7-po                                      ion. Ii the PLC is
                                        ration that meets certain test
     corporation status, it mLst time                                    s and it will be electing S
                                       ly file Form 2553, Election
     Corporation. The LLC will be trea                                by a Small Business
     corporation election and does not ted as a corporation as of the effective daze of the S
                                          need to file Form 8832.
          To obtain tax forms and Dublicat
     visit our web site at www.irs.gov.      iors, including those referenced
                                                                                 in this notice,
     1-800-829-3676 (TTY/TDD 1-800-82.9-9 If you do not have access zo the Internet, call
                                           059) or visit your local IRS offi
                                                                               ce.


          *   Keep a copy of this notice in your
              one time and the IRS will not be     permanent records. This notice
                                                                                   is issued only
                                                 able to generate a duplicate
              may give a copy of this docu                                    copy for you. Yo"
                                           m~ert to anyone asking for proof
                                                                            of your E~[~.
          *   Use this EZN and your name exactly
              your federal tax forms.              as they appear at the top of *his
                                                                                     notice on all
          "
          ~  Refer to this EIN on your Lax-rel
                                               ated correspondence and document
                                                                                s.
          If you have quest-ohs abou~ your
                                            EIN, you can call us at the
     us at the address shown at the tap                                 phone number or write Lo
                                         of this notice. If you writ
     at the bottom of this notice and                                e, please tear off the stub
                                      send it along with your letter.
     write us, do not complete and re~u                                 If you do no= need io
                                        rn the stub.
          Your name control associated with
     information, along with your SIN,      this EIN is VALD. You will need
                                       if yoc file your returns electron      to provide this
                                                                         ically.
          Thank you for you* cooperation.
            Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 54 of 95 Page ID #:521




        November 17, 2021
        Invoice Number.              0598626111 X21
        Account Number:              8448 30 021 il5~8626
        Security Code:               3153
        Seniice At:                  9347 SLAUSON AVE
                                     SB
                                     PICO RIVERA CA 90660-452                                       ~~w~ A~~ cNFORn~a~~UR~
        contact us
                                                                                       ~;OF~. Taxes, Fees and Charges listed in the Summary only apply
        Visit us at SpectrumBusiness.nei                                               to Spectrum Business TV and Spectrum Business Internet and are
        Or. call us at 1-~56-772 4948
                                                                                       dEtailed on the foi{owing page. T?xes, Fees and Charges for
                                                                                       Spectrum Business Voice are detailed in the Billing Information
                                                                                       section.
                                                                                                                                                                     . .,

                                                                                       Get the TV programs thai your customers v,~ant to see for                   ~~'-
         Previous Balance                                                 117.97       only S49.89! Call 1-877 '12-6493 to get 85+ popular HD                      '~'"
         Payments Received                                            -                channels!                                                                   '
                                                                                                                                                                   'i it

                                                                  i,
         Spectrum SusinessT"" Internet                              ~--gTc3$'~         Gel the best mobile plan For your business ai d save up to
         Spectrum BusinessTM Voice                                       29 gg         60%t Cail today 1555-208 216.
         One-Time Char es                                              . _!d
          Current Charges Due By 1?J04/21                         :
                                                                  ~^$119           '
        Total Die                                                   5237.70
                                             ,•                     ._1

                                            r




  auc Account is past ctue.
The past du amours is due roe. Please pay the rotas past due amourrt to avoid
furfl~er collection acti~!it;~


                                                                                                               ~~




                                                                                                            November 17, 2Q21
                                                                                                        TOMEDERO PERUVfP,N CUISINE
 ~            ~
            BUSln~~~c-                                                                 I nvoice Number: 0598626111721
                                                                                       Account Number: 8448 30 021 0598626
 4145 S. FALKENBURG RD RIVERVIEW FL 3357&8652                                          Service At       9347 SLAUSON AVE
 8448 30D0 NO RP 17 11182G21 NNNNNYIdN Ot 023723 004                                                        SB
                                                                                                            PICO RIVERA CA 90660-4525
 T~NiEDERQ PERUVIAN CUISINE
 GERALD BOLDEVIA                                                                   Total Due
 9347 SLAUSON AVE                                                                                                                                        $237.70
 PICO RNERA CP.90660                                                                   A mount you are enclosing                          S

                                                                                          Please Remit Payment To:
 i l(i~ll~l~n'iii'~!I'~illilfli~~l'~ii~i"I~i~lii„~~II'~nlll'~'i                           TIME WARNER CABLE
                                                                                          PO BOX 60074
                                                                                          CIT`( OF INDUSTRY CA 91716-0074
                                                                                           nllilif~i,i~~„Ili~i,~il~l~~i~llln~,i,ill,iii,i~~~~ii,ii~iii

                                     844830027,0.~9~~~1,Of~2377~1,
                   Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 55 of 95 Page ID #:522

                                                                        Go paperless at www.sce.com/ebiiling. It's fast, easy and secure.
                           SOUTHERN CALIFORNIA
                                  .                        ' FOf bl'1111C4 B~~C{ $2'~diCE IR;,'LIrQS
                          ~ ~IS~~~
           An EDISON !,1'7ERNATIO.NALm Company
                                                           i ~-~Qa-~~n-;ras
                                                            t~:N:'ti'd.SCfl.CJR'1
                                                                                                                                                       i;~;


                                                                                                                                         VALDIVIA, GERARDO 1 Page 1 of 10


          Customer Account                            Date bill prepared
          700078936018                                11/04/21                                                                   Amount due $11,277.64
          9347 SLAUSON AVE
          PICO RIVERA. CA 90660



          Your account summary
    Previous Balance                                                                                                  in order to pay your total payment arrangement
    Payment arrangement balance                                                                  S9,785.64            balance of$9,785.64 on dine, you wi(1 need to pay:
    Yaur new charges                                                                             $9,785.64            • $69.59 by 19/95/21
    Late payment ch~roe                                                                          $1,479.89          I • $69.59 by 12/95/21
                                                                                                    $12.11          ~ • $69.5 by 01/1,',2
 ~~ Total amount you owe
                                                                                             $11,277.64                 X69.59 by 02/15/22
                                                                                                                      • $9,507.28 by agreed upon future dates
                                                                                                                     Your total new charges of,~1,492.00 are due
                                                                                                                                                                    by
                                                                                                                     17/24/21.
                                                                                                                     Your payment arrangement wil! be cancelled
                                                                                                                                                                    if we
                                                                                                                     do not receive your payments by 5 p.m. on
                                                                                                                                                                  fhe
                                                                                                                     dates specified and your service maybe
                                                                                                                     disconnected without further notice. If you
                                                                                                                                                                 are not
                                                                                                                     able to pay yourbi!!, please ca!! 9-800-950-2356
                                                                                                                                                                      to
                                                                                                                     discuss how we can help. You may qualify for bi!!
                                                                                                                     payment options and financial programs available
                                                                                                                                                                       to
                                                                                                                     assist you.


        Summary of your biliin~ detail
        Service account                          Service address                            Billing period                             Your rate
       8002294571                               9343 SIAUSON AVE                                                                                                     New charges
                                                                                            10/04/21 to 11/01/21                    TOU-GS-1-E
                                                PICO RIVERA, CA                                                                                                            $564.78
       8002294571                               9343 SLAUSON AVE                                                                      (SCE)
                                                                                           09/01/21 to 10/03/21                     TOU-GS-1-E
                                                PICO RIVERA, CA                                                                                                            $651.00
       8002294571                               9343 SLAUSON AVE                           10!04121 to 11/01/?_1                    TOU-GS-1-E
                                                PICO RIVERA, CA                                                                                                            $264.11

                                                                                                                                                                      $1,479.89

                                  Please return the payment stub belov~ with your
                                                                                  payment and make your check payable to SouU~e
(14-574)                                  ~f you want to
                                                       pay in person, call 1-800-7d7-8908 for locations, or                     m California Edison.
                     Tear here                                                                                you can pay online at wvm.sce.com.
                                                                                                                                                              Tear here
         sou~+~ru. cuirorswn          Customer account 700078936018
          C D'~ O A ~~               Please write this number on the memo line                                   Payment arrangement amount                                X9,785.64
~         L                 ~ v      of your check. Make your check payable to                                   New charges -pay by 11/24!21
~ rnrso.~•c~iuv,~nn~~.aiscanw=r      Southern California Edison.
                                                                                                                                                                           $1,492.00
                                                                                                                 Total amount you owe
                                                                                                                                                                          $11,277.64
                                                                                                                 Amount enclosed                   $

                STMT 11042021 P2
               i ll"II`Ilu~~u~~~~i~~~~~ll'I'lii~~~nl('I~~i~i~~~~~~
                                                                   ~~~i~~~i~~
               VALDIVIA, GERARDO
               9347 SLAUSON AVE
               PICO REVERA CA 90660                                                                                       P.O. BOX 300
                                                                                                                          ROSEMEAD, CA 91772-0002

                                                  7f)0078936~1,8 Q0~0153
                                                                         ❑fla9785640D0~,492~DC1f11,1Z7764
                  Case 2:22-cv-07303-TJH-KS       Document
                                     accouNr rvuMaeK          45 1Filed 05/12/23 Page
                                                     126 046 7587                          56 of
                                                                                 UA I t n7H~~tu    95
                                                                                                iv~v     Page
                                                                                                     ~, GUG i ID #:523
                                                                                                                 ~ ~y~ ~ ~,

                                                          SERYIGE FOR                                                                   24 Hour SeNlce
                                                          GERARD(~ VALDIVIA G.4RCIA                                                     7-800-•427-2000 English
             So~~IGas.~                                   9347 SLAUSON AVE                                                              1-300-427-6029 Espanol
                                                          PICA RIVERA CA 90660
                                                                                                                                        socalgas.cam                                                            H



/~cc~~nt Summary                                                                                                                            DATE DUE                    IVOV 23, 2027
Amount of Last Bili                                                                                                 X3,815.16
Payment Received                                                                                                           - _oo    j       AMOUNT DUE                  $4,369.90
Current_C.nar es                                                                                                     + 54.74
Total Amount Due                                                                                                    $4,369.90
                                                                                                                                        Gas usage History (Total Therms used)
  7% Late Payment Charge Due if Paid After NOV 29, 2021
                                                                                                                                    ~          aeo
         This bill refilects modifiied gas charges due to a rate change                                                                        z,o         -
                                                                                                                                               ~~o ~
~tsg's~~17$ Cftaw~geS
                                                                                                                                                0      OCT NW OEC .NN FFB IAAR APfi 141Y lUN 11L AllG SfP OCT
Rate: GN-10 -Non-Residential                                                                                                                           ZO                                                  Zi

Meter Evumber: 14616600 {Next scheduled read date Dec 1 2027)                                                                                                            Oct 20        Sep 21         Oct 21
                                                                                                   Cycle:      21
                                                                                                                                        Total Therms used                  160           257            265
                                                   Current        Previous               Billing      BTU                   Total       Daily average Therms               49             7.8           8,8
Billing period            Days 6Seter Number       Reading        Reading = Difference x Fac[or     x Factor        =     Therms        Days in billing cycle               33            33            _30'
09/29/21 - 10/29(21 30         14&16660            6946           6689       257          1.000      t.Q32                   Z65

GAS CHARGES
Customer Charge                                                        ~C Days x x.49315                                 14 79
Gas Transportation (Details belov~~)                             265 Therms
                 Tier i                                       Tier 2
Therms used                                                                -.--            — -
                 Z50                                          15
RatslTherm       ~.g6o26                                      ~ 52696
Charge           $241.57                                      ~7 9D                                    =                249.47
Gas Commodity                                                      265 Therms x $ 57142             151.43
                                                                                 Total Gas Charges $415.69
TAJ(E5 &FEES OM G11S CHARGES                                                                                            Amount~5)
State Regulatory Fee                                             265 Therms x S 00577                1 53
Public Purpose Surcharge                                         265 Therms x ~ 10712               28 39
Pico Rivera City Users Tax                                           X445 61 x 4 50%                20 OS
                                                             Totat Taxes and Fees on Gas Charges $49.97
                                                                                                                                        ~?i;a~:=a~',qas commodity cost per therm for your
                                                                                  (Continued un next page)                              n il'%;ne penOd.
                                                                                                                                         Oct                ~ 57580           Sep.                 $.44425
PLEi1SE KEEP THIS PQRTiDN FOR YDUR RECORDS (FAVOR DE Gl1AR iii 6TA PARTE PARA SUS REGISTROS

PLEASE RETURN THIS PORTION WITH YOl1R PAYMEIJT (FAVOR OE OEVOLVER ESTA PARTS CON SL PAGO )
                                                                                                                                                                                                                (7
                                                                              Savo Paper 8,            ACCOUNT NUh9BER
                                                                                  P°St~9e —                                                 DATE DUE                     Nov 23, 2021                               N
                                                                                                       126 046 7587 1
                                                                                PAY ONLINE
                                                                                                                                                                                                                0
                                               1                                socalgas cam                                                AMOUNT DUE                  $4,369.90
                 ~ [~         a$ a ~'Sempra Energy ~t~~~h~'                                                                                                                                                         o
                                                                                                                                                                                                                    ~
                                                                                                                                                                       Please elver amount enclosed,




                           4717.1.19_:,086                1    oz.
                                                                                                                                                                       Wrrfe account nvmher cn rhecY and
                            ~iI~I~I~~~~lii~,I~iE<<,ul~flliln~i~lir~~~ll~i~~~~n~lfi~~i~~~~~                                                                             make payable to SoCziGas
                           GERARDO VALQIVIA GARCIA
                           9347 SLFlUSOP! /\l.~E
                           P1C0 RIVERA CA 90660                                                                                     SoCalGas
                                                                                                                                    PU BOX C
                                                                                                                                    MONTEREY PARK CA 91 756-51 1 1
                                                                                                                                                                                                                w s'

                                                                                                                                                                                                                    rr:



                                                   8D 1,26 46758? ~~43699~ 17                                                 7,26 467587 X00554 X41,2
      Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 57 of 95 Page ID #:524
                 CONTRATO DE                     n,,   _~     Tarifa de instalacion:
                 PRESTACION DE                                   Al contado: SI.00
                 SERVICIOS                       ~~              Financiado: en cuotas.
                 EMPAQUETADOS                    ~     ~~
                                                              Detalie de la instalacion:

 ~.   1) ~QU~ EST~S CC3NTRATAND~?                            Tecnologia dei servicio:
 MOV{STAR (Telefonica del Peru S.A.A.) con                   Tecn. Linea : IP
 domicilio en Calle Arequipa 261 Mollendo - Islay
                                                             Tecn. Internet : HFC
 Depart. Arequipa y         RUC     20100014791        se
 compromete     a      prestarte        los      servicios   Tecn. T1/ : CATV
 empaquetados (e! servicio).                                 Todos los precios incluyen (GV.
  ~ Telefonia fija        x Television de papa
  X Internet fijo           Tetefonia mdvil                        5) ~,QU~ INCLUYE TU PLAN?                             J
           2} DA'tOS DEL ABONADO
 f~ombre / Razon social:                                           MQVISTAR VOZ TMU                   9.99
 GERARDO RAUL VALDIVIA GARCIA                                      N ESTANDAR HD A                    7b.00
 Tito y numero de documento de                                    MOV INTERNET CAF RA                 81.4Q
 identification: DN1 :44880465
                                                                   Bloque Full NND INC                13.54
 Nacionalidad:
 Peru                                                        Servicio de telefonia ~ja
                                                             Sl0.00053 tasados al segundo en cualquier horario
 Representante iegai o apoderado:
 GERARDO RAUL VALDIVIA GARGIA                                Servicio adiciona8es, suplementarios y gratuit~s
                                                             Derecho de reproduction se otorga pars cualquier
Tito y numero de documento de identifi~cion del              parte dei mundo via Internet
                                                             Servic'so de acceso a tntemet:
representantc legal o apoderado:
                                                             La velocid~d minima garantizada es el 52°lo de la
QN l: 44880465                                               velocidad maxima.
C~r.•eo pars recibir comunicaciones y recibos:
papefito~ 128~rJhotmail.com                                                  . ..                     . ..        n
                                                                       •
Direc~ion de instalacion:
AV 09 DE OCTUBRE MZ M,LOTS 09- MOLLENDO                                    ,.                        ..
AREC~U IPA                                                        Maxima      Minima             Minima
                                                                                        Maxima
                                                                            garantizada        garantizada
Direction de facturacion
AV 09 DE OCTUBRE MZ M,LOTE 09- MOLLENDQ                         100 Mbps 52 Mbps           30 Mbps 15.6 Mbps
AREQU(PA
                                                             Sesvicio de television de papa:
      3)SERVt~i~ GONTRATAD~
'
N telefonico: 13140709                                       Equipos provistos por to empress en calidad de
Codigo de clients:                                           prestarr~o gratuito.
Nombre de! plan tarifario:irio Mov. Voz Internet Estandar    - .Cads decodificador incluye, ademas del
HD RA X22                                                    decodificadar: 1 control remoto, 1 tarjeta de
Nombre de is Promotion:                                      activacionlchip, 1 cable de video/audio, 1.5 metros de
X Nueva lines         Migration                              cable coaxial, 1 cable s-video y 1 cable HDMI (solo pars
                                      Portabilidad
                                                             el deco HD). Para poder visuafizar las senates HD, el
                                                             CLIENTS debera contar con un televisor de alts
~;-.' 4) ~,~UE DEBES SEER LE Tt~ PL~►N?                      definition (HD). Para pader visualizar las senates HD,
R~nta fija: a Mens►~ai                                       usted debera cantar con: (i) televisor de alts definition
                                Anual: SJ                    (HD); y, (ii) un decodificador HD.
EI pago se realiza por:                                      - Un cable modem MTA que serf instalado por TdP
   Mss wencido            Adelantado                         donde se brindar~ el Servicio,
Costo de reconexion por falta de pago: S110.40
Ultimo dia de pago:       de cads mss                        • Para mks information de tus promociones ver:
                                                             htfps_//www_ movistar. corn.pe/information-a-abonados-y-
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 58 of 95 Page ID #:525

 • En caso el servicio reguiera de instalacion, se realiza             • R4ovistar solo podra modificar este contrato por: a)
 en el piazo maximo de 5 dias habiles desde la                         Aumento o reduccion c+e las tarifas; b) Aumento de
 contratacion, previa caordinacion contigo.
                                                                      beneficios
 • De no realizarse la instalacion el dia y hors packados
 con Movistar, por problemas ajenos a elia, se                        • Previo al aumento de tarifas o cambios de senates
 estabiecera un nuevo plazo de 15 dial_                               de    programacion, Movistar         to    remitira una
 • Si no se fogra instalar e! servicio en ei plazo antes              comunicacion {carta, Sh1S, audio u otros).
 indicado, e! cartrato queda terminado, sin ninguna
                                                                      • Por el aumento de tarifas o cambia de senates de
 obligacion de to pane. Movistar to devolvera
 cualquier importe pagado previamente en un ptazo                     programacion, podras solicitar la terminacion de este
 maximo de 10 dias habiies.                                           contrato sin pago de penalidades, ni cobros similares,
                                                                       aun en caso to encuentres dentro dei plazo forzoso.
      7)RECIBO Y PAGO t~EL SERVICI~
                                                                             10) RAJA QE TU SERVlCIO
• Tu recibo inciuye la facturacion de: a) cargo fijo segun
to plan tarifario contratado, ylo b) servicios adicional2s y          Si deseas dar por terminadc este contrato, puedes
equipos adguiridos, de ser el caso.
                                                                      solicitarlo a Movistar y la Baja se ejecutara en un
• Tus recibos seran enviados mensualmente al correo
                                                                      plazo maximo de d1 dia habit. Tambien podras indicar
indicado en e! numeral 2. En caso no to hayas registrado,
se remitira mediante SMS al servicio contratado, salvo                la fecha en la cual requieres la ejecucion de la baia, con
que solicites se remita de manera fisica a to domicilio.              1 mes de anticipacion.
• Debes efectuar tos pagos o cargos que correspondan
por la prestacion del servicio, hasta la fecha de                           9 1) BLOQUEO DE P~GINAS WEB
vencimiento indicada en el recibo. Lugares de oago:
                                                                      ~Deseas contar con un filtro para bloquear paginas web
h ops:/iwww.movistar.com.pe/atencion-al-
                                                                      con contenido pornografico u otras de contenido vjolento?
cfientellugares-y-medios-de-pago.                                             No x
                                                                      Si
•En et primer recibo, se podra inciuir el monto
proportional de los dias gue usaste el servicio hosta el              Gratuito X o Tarifa adicional: SI
cierre de to primer cicio de facturacion.
• Si no papas a tiempo to recibo o realizas un pago                   Ver la Politics de Uso de Internet en:
partial, Movistar podria cobrar intefeses y to servicio               www.movistar_com.pe/control-parental
sera suspendido, en cuyo caso podrias pagar un manto
por reconexion.                                                   '=~,~ 't 2) COMUNiCATE COQ! MOV(S7AR
                                                                    Canal           Desde una lines Movistar: 104
                                                                    telefanico      Otero operador: 0-8~C-11-800
     8} DER~CHOS 1'` O~L(GACIONES
                                                                    Paoina web    l www.movista~com.oe
• En !a section "Information Abonados y Usuarios" de                Centros de    I www.movistar.com.pe/atencion-al-client
 la paging web                                                      atencion      ~ e/centros-de-atencion
www.movistar_tom.pelinformacion-a-abonados-y-usu
                                                                       WhatsApp       ;~+51 999 955 555
arios encontraras information sobre tus derechos. el
procedimiento de reclamo, casos de use indebido,
indicadores de calidad de Movistar y otros.
• Eres responsible por el use del serJicio. No puedes                      1 ~) USO DE TUS[3ATOS P~RSQNALES
camercializar ni ~evender a otro to servicio, ni usarlo               Movistar realiza el tratamiento de tus datos
indebidamente.                                                        personates pars 12 ejecucion y prestacion del servicio.
• Si se detects que empleas el servicio pars fines ilicitos           Sara eElo, debe infcrmarte sobre las condiciones pars el
o presentaste information falsa, Movistar podra                       tratamiento de tus datos personates y debe solicitar to
suspender ei servicio y/o terminar este contrato.                     consentimiento pars enviarte information comercial,
• (vtovistar podra deshabilitar las conexiones adicionales            publicidad u otra fina{idad.
indebidas o reguerir is ccntratacion de 1as mismas.
• Debes permitir al personal de Movistar, el i~greso a                ,,,, ` 14) ACEPTACION DES CONTRA3a
to domicilio pars !a instalacion, verification o reparation           La acepiacion de este contrato se reali2ara con la firma
del servicio, asi como el retiro de los equipos.                      m anuscrita del presente documento, al obtener la
• Debes conservar los equipos que instate Movistar                    information biometrics de to huella dactilar o mediante
sin mss desgaste que et use normal, sin reaiizar,                     otro tipo de firma digital en la version digital del presente
cambios, reubicaciones o disposer de los bienes y/o                   contrato.
i nfraestructura de propiedad de Niovistar. Para cualquier
                                                                      La cartiila y anexo adjunto forma parte del contrato
cambio o reubicacion comunicate con Movistar.
    Recuerda que asumes e! papa de los Banos o
perdidas gue ocasiones a los equipos ylo
i nfraestructura de propiedad de b1ovistar instalada en to
damicilio.
                                                                              - MOVlSTAR
      3)tW.00l1=lCACION DYL Ct~iv~'R};i~
                                                                          Fecha:25~02/2017 ~/Hors~i:56:07
                                                                          fiN~XO - CO~lT~~VlnC ~D~C~GtVAL
                                                              ,;_,.
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 59 of 95 Page ID #:526
  TRATAMtENTO DE DATOS PER
                                       SONl~LES Y AUTORIZACION DE ENV
                                                                      %O DE MATERI                    AL PUBUCITARIO
 • TRATAMIEIVTO DE DATOS P~R
                                     SONALES
  Te informamos que tus datos personates
                                         que nos estas entregando son necesari
 Movistar y sus proveedores encargad                                           os para brindarte e! servicio contratado.
                                         os los trataran bajo estrictas medidas
 con~dencialidad y conforme a nuestra                                              de seguridad Para velar por su
                                         Polrlica de Privacidad disponible en ~~vw.mov
 resumers encuenfras en !a prese
                                 nte. Estos
                                                                                       istar.com.pe/privacidad, cuyo
                                             se conservaran en nuestro Banco de Dafo
A utorrdaa' de Proteccion de Datos Personat                                                s Clienfes, registrado ante fa
                                           es(RNPDP No_ 13571) mientras seas nues
despues. Podras ejercer tus derechos de acce                                            tro cliente y hasfa diez (10) anos
                                              so, ractifrcacibn, cance/acion, revocacion
profecciondedatos@movistar.com.pe adiu                                                   y oposicion al correo elecfronico
                                         ntando to DNI.

• AUTORJZACION DE ENVIO DE MATc
                                        P,IAL PUBLICITARtO
 Mavisrar o sus encargados podremos ofrec
                                             erte productos o servicios adiciona/e
por socios comerciales de /os sectores                                             s a! confratado, asi como otros ofrecidos
                                       : finanzas, salud, alimentos y bebidas, educ
ello, elaboraremos tL pe~i usan                                                      acion, turismo y entretenimiento.
                                   do tus datos demograficos, economic                                                  Para
localizacion_ Estas ofertas podran envia                                   os, comerciales, brometricos, de
                                         rse a traves de medios escntos, verb                                  trafi co y  de
condiciones mencionadas en Ia seccion                                          ates o electronicoslinformaticos. Apli
                                        anterior.                                                                     can las




          Si acepto

          No acepto, prefiero perderla opor~uni
                                                     dad de recibir nuevas ofertas.




        i      MA DEL CLIENTE
      Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 60 of 95 Page ID #:527
   7. lnstalaci6n
  SI no se cuenta con facilydades tecn
                                        icas para prestar el servicio en to tecno
  servicio en tecnologia HFC y, en este                                           logia Fibra Optica, acepfas que se insta
                                          caso, e!servicio de Intemef no ofrec                                              lara e1
  bajada y de subida) y en su Lugar usted                                         era simefria de ve(ocidad(misma velocida
                                            contara con !a misma velocidad de baja                                            d de
  lOmbps para !os planes de 30mbps,                                                     da ofrecida y una velocrdad de subida
                                         75mbps Para Los de 50mbps y 30mbps para                                                de
                                                                                        Los planes a partir de 900mbps.
 2. Uso de!servicio
 Internet: La velocidad de transmision del Servi
                                                  cio depende, entre otras, de:(iJ el volumen
 en lntemet,~ (ii) caracteristicas fecnicas y capa                                               de trafico y congestion de la red
                                                   crdades de fu disposfivo; y, (iii) el use exce
 peer"(punfo a punfo o PZP o el use que impJ                                                       sivo de aplicaciones peer to
                                                 lque env7o o descarga de informacion desde o
 Big Torrent, Ares u ofros) u otras similares.                                                     hacia un servidor, por ejemplo
 Linea fija: Los segundos/minufos incluidos
                                               en la Tarifa pu~den ser utrfizadas sin restriccio
 acumulados para e!proximo ciclo de factura~ion.                                                 nes horarias, Pero no podran ser

 3. Respecto a !os equipvs de Movistar.~ Una
                                                vez terminado el contrafo, debes devolver Los
 prestacion del Servicio en maximo de 30 dias. Caso                                              equipos entregados para la
                                                      contrario, Movistar podra cobrarle el valor come
                                                                                                       rcia! de Los mismos.
 4. Terminacion: (i) Movisfar podra resolver el
                                                 confrato en caso no respetes Las normas
 costumbres, el orders publico, Las normas que                                                vigentes, la moral Las Buenas
                                                   regulars e/ errvio y reception de mens
 contenido publicitario o realices activida                                                 ajes de correo electronico con
                                               des Como pornografa infantil, "spam';
 telecomunicaciones y !a protection de                                                        infrinjas el secrefo de Las
                                       datos personates infrinjas Los derechos de
y actividades srmilares o realices transmis                                         propiedad intelectual, realices "hacking
                                             iones o difusiones de materiales con                                            "
propagues virus informatrcos u otros                                                 contenidos que violen la legislation
                                       programas daninos. (ii) Si el contrato                                               a
prestacion del Servicio y hubreras reali                                        fuera resuelto par fi antes del inici
                                         zado pagos por adelanfado, Movistar pod                                      o de la
incurridos antes de !a devolution.                                                 s descontarte Los gastos administratrvos

5. Cesion: Movistar pods ceder en form
                                             a total o partial Los derechos u obligaci
contracfuales suscrrtos por ti, l~ cua!sera                                             ones del Contrafo y demas doc~emen
                                             comunicado utilizando un mecanismo ic~on                                         tos
                                                                                          eo.
6. Responsabifidad: Movistar na asumira
                                              responsabilidad por causas que no
usos y confenioos de !a information a                                              le sears direcfamente imputables,
                                          !a que accedas a traves del Servicio;                                        Como:(i)
information que guarder o transmif                                                (ii) information transmitida por tErce
                                       as a traves del Servicio, siendo fu                                               ros; (iii)
averias y desperfectas en el Servicio                                       responsabte por el contenido de !a
                                        derivados de equipas adquiridos a terce                                  misma; y, (iv)
                                                                                 ros.
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 61 of 95 Page ID #:528




                                     FORTUN INCOME TAX
                                      5720 IMPERIAL HWY
                                     SOI;TH GATE,CA 90280
                                           562-842-5392

   GERARDO VALDIVIA

   10476 GREEN HURST ST
   BELLFLOWER,CA 90706-0000


   Dear client,



   Please find enclosed your 2021 CALIFORNIA individual income tax return. We prepared
   your ret~irn based on the information provided. Please review the ret~irn carefully to ensure
   that there are no omissions. You should retain a copy of your rett~rn, along with any
   Supporting documents, for a minii~~um of three years from the filing date.

   Your CALIFORNIA state return was filed electronically. The amount due is $500, and you
   havc authorized the state to automatically withdraw the payment from your bank account.

  Your CALIFORNIA state return indicates that estimated tax payments are required. Make
  your checks payable to the "CALIFORNIA Franchise Tax Board". and write your Social
  Security Number on your payments. Please mail the payments along with the vouchers on or
  before the due dates shown. Your State Estimated Income Tax Payments for 2022 are as
  follows:

                                       .Apr 18, 2022      $135
                                       Jun I5, 2022       $180
                                        Sep 15, 2022       ~0
                                       Jan 17, 2023       $135

   Mail your estimated tax payments to:

                                        Franchise Tax Board
                                          P.O. Box 942867
                                    Sacramento, CA.94267-0008

  If you have any questions about your return, please feel free to contact our office. Remember
  that we are here tlu-oughout the year to assist you with all of your financial and tax consulting
  needs.

  Sincerely,
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 62 of 95 Page ID #:529


  April 17, 2022
                                    kOR'I'UN INCOME TAX
                                     5720 IMPERIAL HWY
                                   SOU`T'H GATE,CA 90280
                                           562-842-5392

  GERARDO VALDIVIA

  10476 GRL'~1~ IIURST ST
  BLLLFLOW~R,CA 90706-000O

  Dear Client,

  Please find enclosed your 2021 Federal individual income tax return. We prepared your reriirn
  based on the information provided. Please review the return carefully to ensure that there are
  no omissions. You should retain a copy of your relurn, along with any supporting documents,
  for a minimum of three years from the filing date.

  Your Federal return was tiled electronically. The Amount due is $6,497. Make your check or
  money order payable to the "U.S.'treasury" and mail it along with the 1040-V provided with
  your return on or before April 18, 2022. Be sure to write your name, Social Security
  Number, and "2021 ~~orm ]040" on your check before mailing to:

                                 Internal Revenue Service Center
                                          PO Box 802501
                                   Cincinnati, OH 45280-2501

  You can pay your tax liability using an American Express, Discover Card, MasterCard or Visa
  account. The authorized processors take payments through either their phone at (877)729-
                                                                                     but the
  8298 or web site www.pay1040.com. There is no IRS fee for credit card payments,
  processors charge a convenience tiee.


  Your Federal return indicates that estimated tax payments are required. Make your checks
  payable to the "U.S. Treasury", write your Social Security Number and "2022 Fonn 1040-ES"
  on your payments. Please snail the payments along with the vouchers on or before the due
  dates shown. Your l~edcral Estimated Income Tax Payments for 2022 are as follows:

                                      Apr 18, 2022     X1,550
                                      Jun 15, 2022     $1,550
                                      Sep 15, 2022     51,550
                                      Jan 17, 2023     $1,551

   viail your estimated tax payments to:

                                     Internal Revenue Service
                                         PO Box 802502
                                    Cincinnati, OH 45280-2502

                                                                                  docwnents to
   As your Llectronic Retun~ Originator, we will forward your required supporting
   the IRS.
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 63 of 95 Page ID #:530



  If you have any questions about your return, please feel free to contact our office. Remember
  that we are here throughout the year to assist you with all of your financial and tax consulting
  needs.

  Sincerely,

 ~~.~~~~~
  GISELLA L FORTUN
         Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 64 of 95 Page ID #:531



Forrti   $879 I                                  IRS e-file Signature Authorization
                                                                                                                                                OMB No. 1545-0074
(Rev January 2021)
                                                    ► ERO must obtain and retain completed Form 8879.
Department of the Treasury                        ► Go to www.irs, y ov/Form8879 for the latest information.
Inlemal Revenue Service

Submission Identification Number (SID) ,
Taxpayer's name                                                                                                             Social security number

GERARDO R VAL~IVIA                                                                                                           7 95-25-3269
Spouse s name                                                                                                               Spouse's social security number


  Part I        Tax Return Information —Tax Year Ending December 31,                                     2 021        (Enter year you are authorizing.)
Enter whole dollars only on lines 1 through 5
Note:  Form 1040-SS filers use line 4 only. Leave lines 1, 2, 3, and 5 blank.                                                                   i
 1     Adjusted gross income                                                                                                                 ~ ~       3 3, 8 8 9
  2    Total tax                                                                                                                             2           7, 0 0 3
  3    Federal income tax withheld from Forms) W-2 and Forms) 1099                                                                           3              51?_
  4    Amount you want refunded to you                                                                                                       q
  5    Amount you owe                                                                                                                        5           0, 4 9 7
            Taxpayer Declaration and Signature Authorization (Be sure you get and keep a copy                                                of your return)
 Part II
Under penalties of penury, I declare that I have examined a copy of the income tax return (original or amended) I am now authorizing, and to the best of my
knowledge and bei~ef, it is true, correct, and complete I further declare that the amounts in Part I above are the amounts from the income tax return (original or
amended) I am now authonzing I consent to allow my intermediate service provider, transmitter, or electronic return onginator (ERO) to send my return to the
IRS and to receive from the IRS ~a) an acknowledgement of receipt or reason for re}ection of the Vansmission, (b) the reason for any delay in processing the
return or refund, and (c) the date of any refund. If applicable, I authorize the U.S. Treasury and its designated Financial Agent to initiate an ACH electrornc
funds wdhdrawal (direct debd) entry to tl~e financial institution account indicated in the tax preparation software for payment of my federal taxes owed on this
return andlor a payment of estimated tax, and the financial mst~tulion to debd the entry to this account. This authorization is to remain in full force and effect until
   no~fy the U.S Treasury RnanGal Agent to terminate the authorization To revoke (cancel) a payment. I must contact the U S Treasury Fnancial Agent at
                                                                                                                                                                 file
1-888353 537 Payment cancellation requests must be received no later than 2 lwslness days prior to the payment (settlement) date. I also authorize
 financial institutions involved in the processing of the electronic payment  of taxes to receive confidential information necessary to answer inquiries  and  resolve
                                                                                                                                                  return (original or
issues related to the payment. I further acknowledge that the personal identdication number (P1N) below is my signature for the income tax
 amended) I am now authorizing and ~f applicable, my Electronic Funds Withdrawal Consent.
 Taxpayer's PIN: check one box only
                                                                                                 to enter or generate my PIN __ _             0326 4             as my
     ~] I authorize GISELLA L FORTUN
                                                     ERO firm name                                                                      Enter five digits, but
                                                                                                                                        don'c enter all zeros
             signature on the income tax return (original or amended) I am now authorizing.
                                                                                                                                  only
         ❑I will enter my PIN as my signature on the income tax return (original or amended) I am now authorizing. Check this box
          if you are entering your own PIN and your  return is filed using the Practitioner PIN method. The ERO must complete  Part III
          below.
 Your signature ►                                                                             Date ►              0 4 / 17 / 2 2

 Spouse's PIN: check one box only
         ❑   ~authonze                                                                           to enter or generate my PIN                                     as my
                                                     ERO firm name                                                                      Enter five digits, but
                                                                                                                                        don't enter all zeros
             signature on the income tax return (original or amended) I am now authorizing.
                                                                                                                                     only
         ❑   I will enter my PIN as my signature on the income tax return (original or amended) I am now authorizing. Check this box
                         entering your own PIN and your return is filed using the Practitioner PIN method. The ERO must complete  Part III
             if you are
             below


 Spouse's signature ►                                                                     Date ►
                                   Practitioner PIN Method Returns Only—continue below
 Part III  Ce►-tification and Authentication — Practitioner PIN Method Only                                                                                         ___
                                                                                                9 5 8 8 2 9 9 0 2 8 C'
 ERO's EFINlPIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                                      Don't enter all zeros


                                                                                                             tax return (original or amended) I am now
  certify that the above numeric entry is my PIN, which is my signature for the electronic individual income
                                                                                                         submitting this return in accordance with the
 authorized to file for tax year indicated above for the taxpayers) irdicated above. I confrm that I am
                                                                                                                of Individual Income Tax Returns.
 requirements of the Practitioner PIN method and Pub. 1345, Handbook for Authorized IRS e-file Providers


                                                                                                                Date ►                       0 4 / 17 / 2 2
 ERO's signature ► /
                                             ERO Must Retain This Form —See Instructions
                                      Don't Submit This Form to the IRS Unless Requested To Do So
                                                                                                    1037 CPTS OUSPAI                         Farm HH79 (Rev. Ot-2021)
 SPA For Paperwork Reduction Act Notice, see your tax return instructions.
                                                                                                                                      FORTJN            Page 03
         Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 65 of 95 Page ID #:532


068
oateAccepted_ __                                                      __                                                      DO NOT MAIL THIS FORM TO THE FTB
                                                                                                                                                                                                 FORM
  TAXABLE YEAR

      2021                  California e-file Return Authorization for Individ uals                                                                                                            8453
                                                                        Suffix Your SSN or ITIN
                                                                                              Lasl name
Your (first name and initial
~ERARDp R                                                                                                       VALDIVIA                                                     XXX-XX-XXXX
                                                                                              Last name                                               SuKx
If joint return, spouse's1RDP's first name and initial


                                                                                                           Apt. no Isle. no            ~, PMBlpnvate mailbox         Daytime telephone number
Street address(number and street) or PO box
10476 GREEN H URST ST                                                                                                                                                   562-200-5748
                                                                                                                                              State                  ZIP code
Gty
BELLFLOWER                                                                                                                                ~           CA               9C706
                                                                             rForeign province/statalcountry                                                        ~ Foreign postal code
Foreign country nerve


Part I        Tax Return Information (whole dollars only)
                                                                                                                  .          ................................................. .. 1
                                                                                                                                                                                               33, 8 89.
 1 Cahfomia ad~usled gross income. See mstruchons ..........................................................
                                                   ...................... ...................... ...................... ...................... ....................................... 2
 2 Refund or no amount due. See instructions
                                                                        ...................... ...................... ............. ...................... ........................ .. 3           5~ ~ .
 3 Amount you owe See   instructions .............. . ...........  ....
Part II Settte Your Account Electronically for Taxable Year 2021 (Payment due 411812022)
 4 Q Direct deposit of refund                                                                      ~ 9 /18/22
                                  5a Amount               5 O O Sb Withdrawal date c mMadiyyyyl
 5~Electronic funds withdrawal
                                                                                                                     you owe.
Part III Make Estimated Tax Payments for Taxable Year 2022 These are NOT installment payments for the current amount
                                                                                              Due 9/15/2022 Fourth Payment Due 1/17/2023
                ~Ffrst Pay ment Due 4l18l2U22 Second Pavrient Due 6/15!2022 hird Payment
 6 Amount                                      1
 7 Withdrawal date       t
Pat't IV Banking Information (Have you verified your banking information}
 8 Amount of refund to be directly deposited to account below           12 The remaining amount of my refund for direct deposit

  9 Routing number                 ~7~?71 H~7                                                                 13 Routing number
 10 Account number                --       ~~                                                                 14 Account number
                                              Savings                                                         15 Type of account J Checking                               Savings
 1 1 Type o~ account              Checking

 Part V       Declaration of Taxpayers)
                                                                                                      that the :hrect deposit re`und mformaUon m Part IV agrees with the
                                                                                                                                                                                aulhorizal~on
   authorize my account be seUled as designated in Part II H I check Part II Box 4. I declare
                                                                                                 for the amount listed on Gne 5a and any eshmaled payment amounts !fisted on line 6
 staled on my reWrn If I check Part II Box 5, I authorize an electronic funds wdhdrawal                                                                                                 refund
                                                                                                   irrevocable appointment of the other spouse/RDP as an agent to receive the
 from the bank account I~sted on lines 9, 10, and 11 I.` I have 61ed a point return, this is an
 or authorize an electronic   funds withdrawal
                                                                                                                                                                                        name,
                                                                                             return originator (ERO) transmitter, or intermediate serv;ce provider, including my
  Under penatt~es of penury. I declare that the mformauon I provided to my electronic               (ITIN), and the amounts shown in Part I above agrees wdh the information and
                 social  security number   (SSN)  or  individual  taxpayer identification number
 address, and                                                                                                                                                                           If I am
                                                                                      return To t'ne best of my knowledge and belief, my return is true, correct, and complete.
 amounts shown on the corresponding lines of my 2021 California income tax                               full and timely payment of my tax liability, I remain liable for the tax liability
                                                                                                                                                                                            and
  f~l;ng a balance due return. I understand that if the Franchise Tax Board (FTB) does not receive                   be Iransmdted to the FT8    by  my   ERO.  vansmilter,  or  ~ntermediale
                                         1 authorize  my   return and accompanying     schedules   and  statements
  ail applicable interest and penalties                                                                                               intermediate service provider the reasons) for
  service provider If the processing of                   r refund is delayed, I authorize the FTB to disclose to my ERO or
  the delay or the date when th                     ent.
                                                                                     04/17/22
 Sign               ~                                                                       '
                                          -                                          -        ----
                                                                                              Spouse's! RDP's signature. If filing jointly, both must sign.                                      Date
 Here                   Your signature                                             Date
                                                                                  I t Is unlawful to for e a s.ouse's/RDP's si nature
                   Declaration of Electronic Return Originator(ERO) and Paid Preparer.    See instructions.
    a
                                                                                                                                                                          (If I am only an
                                                                                          on form FTB 8453 are complete and correct to the best of my knowledge
    declare that I have reviewed the above taxpayer's return and that the entries                                                                                               the data on
                                                                                           the taxpayer's return. 1 declare, however, that form FTB 8453 accurately reflects
  intermediate service provider. I understand that I am not responsible for reviewing                              to the F78 1 have provided the   taxpayer  with a copy of all forms and
                                       taxpayer's signature on form  FTB  8453   before  transmitting  this return
  the return.) I have obtained the                                                                    in FTB Pub. 1345. 2021 Handbook for Authorized e-fle Providers. I will keep
                                                                                                                                                                                       form
  information that I will file with the FTB. and I have followed all other requirements described                                                                                to the FTB
                                                                                       from the date the return is filed, whichever is later, and I will make a copy available
  FTB 8453 on file for four years Irom the due date of the return or four years                                                                             accompanying    schedules   and
                                                                                    I          that I have examined the above taxpayer's return and
  upon request If I am also the paid preparer, under penalties of penury. declare
                       the  best  of my  knowledge  and belief they are :rue. correct. and  complete    I make this declaration based on all information of which I have knowledge.
  statements, and to
                                                                                                                                    Check if            I Check                   ERO's PTIN
                ERO's-                                 ~
                                            ~~a ~_t~~~ t ~ Oate
                signature'~                                                                                 04/17/22 p~epare~r I~I I ep
                                                                                                                                      'loyed ~                                       P01 J 54 320
  E RO
                                                                                                                                                                Firm's
  M ust                                              GISELLA L FORTUN
                               Yours 'S
                                        720               IMPERIAL HI~IY                                                                                                     XX-XXXXXXX
  Sign          f~self-employed)
                                                                                                                                                                       z~Pcode 90280
                and address                          SOUTH GATE CA
                                                                                                                                              the best of
  U nder penalties of perJ ury I declare that I have examined the above taxpayers return and accompanying schedules and statements and to
                                                                              declaration based on all miormation of which I have knowledge.
  m y knowledge and belief. they are true, correct, and complete. I make this                                            Paid preparer's PTIN
                                                                                                         jCheck
                                                    1 ~~~~`~'         G' ~' ' Date                        if self-
  Paid             Paid
                   preparer's , y~-~~                                                                    ~employed~              P01054320
                   signature       ~                           ~_ISEL~ c. eoa~ov I 04/17/22
  Preparer
                                                           GI S~LLA L FORTUN                                                                                   Firm's
  M ust                  Firm's name (or yours
                         itself-employed)                 '5720 IMPERIAL HWY
  Sign                   and address                                                                                                                                     Z~Pcode           90280
                                                           SOU1H GATE CA
                                                                                                                                                                                               FTB 8453 2021
   For Privacy Notice, get FTB 1131 ENG/SP.                                                      zo2~ cPTs iCnssi

                                                                                                                                                                             FORTUN            Page 04
       Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 66 of 95 Page ID #:533



                                                                                                                         Department of the Treasury
2021                                     Form 1040— V                                                      Y             I nternal Revenue Service




          s-roP                            Before you mail a check, consider your online
                                           payment options
                                                                                                                                          - -- __
                                                                                                                                    Electronic                 ~
                       IRS Direct Pay                                            Pay by Card                                       Federal Tax                 j
                                                                                                                                 Payment System

                   • Pay with Bank                                            • Credit or Debit                                • Registration required
                     Account                                                    Card option
                                                                                                                               • Businesses and
                   - Schedule up to 30                                        • Schedule in                                      Individuals
                     days in advance                                            advance                                                                         ~
                                                                                                                               • Pay with Bank
                   • No fees                                                  • Service fees                                     Account by phone
                                                                                apply and vary                                   or online                         j
                   • Immediate                                                  by processor
                                                                ~                                                                 No fees                          ~
            '        Confirmation


                            Go to                                                   Go to                                        Go to EFTPS.gov
                      directpay.irs.gov                                       irs.gov/payments                                        to enroll
                      or download the                               ~          or download the                                   Registered users
                        IRS2Go app                                               IRS2Go app                                     call 1 800-555-3453
                                                               -~       ~    —                                                                                         ~
                                 Online payments save time, reduce paper, and don't require postage.
                                  If you do mail a check, include the portion below with your payment.
                                                                                                                                                  Form 1040-V ~zo2~)

                                                       ~    Detach Here and Mail With Your Payment and Return




,~ 1040-V                                                                   Payment Voucher                                                       OMB No 1545-0074

                                                   ► Do not staple or attach this voucher to your payment or return.                               AOA
Cepanmer~ of tha Treasury
~r.lernal Revenue Service ~ss~                    ► Go to www.irs.govlPayments for payment options and information.                                11
       1 Your social security number (SSN)                 2 If a point return, SSN shown second    3 Amount you are paying by check or
                                                             on your return                           money order. Make your check or
         (if a joint return SSN shvvn hst on ywr return)
                                                                                                      money order payable to "United
                                                                                                      States Treasury"                              6, 497 00
              7 95-25-3264
       4 Your first name and middle irnlial                                                    Last name
 a
 ~            GERARDO R                                                                            VALDIVIA
 ~       Ii a ~omt return, spouse's first name and middle inYUal                               Lasl name
.r
 c
                                                                                ,Apt. no.      C4Y nwn.o.Dosio~e Ky~tavee~ram~~ ~           ~+'    State ~ ZIP code
 d        Home address (number and street)
                                                                                                   BELLFLOWER                                      CA       90706
              10476 GREEN HURST ST
                                                                                               Foreign provincelstate/county                       Foreign postal code
          Foreign country name


                                                                                                     1037 CPTS tUSPV1
SPA For Paperwork Reduction Act Nonce see your tax return instructions.

                                                                                                                                          FORTUN        Page 05
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 67 of 95 Page ID #:534



                       1040-ES                                                                                               Payment
                ~ Deoartmenlofthe7reas~ry
                               ~i n..,,~,.,~o co..,~~e
                                                         2022         Estimated Tax                                          Voucher        ~         OMB No 1545-0074

                                                                                                                            Calendar year—Due Sept. 15, 2022
                File only if you are making a payment of estimated tax by check or money order. Mail this
                                                                                                                            Amount of estimated tax you are paying
                voucher wdh your check or money order payable to "United States Treasury." Wnte your
                                                                                                                            by check or            Dollars      'Cents
                social security number and "2022 Form 104Q-ES" on your check or money order. Do not send
                                                                                                                            money order.
                cash Enclose but do not staple or attach, your payment with this voucher.                                                               1 55 C 00
                                                                                           Your last name                               Your social security number
                            Your first name and middle initial
                                                                                           VALDI VIA                                    XXX-XX-XXXX
                           GERARDO R
Pay online a[       If point payment, complete for spouse
www.irs.gov/                                                                              i Spouse's last name                          Spouse's social securely number
                  Q Spouse's first name and middle initial
etpay

                  `o Address (number, street, and apt. no.)
Simple.
Fast.                1 0 4 76 GREEN I-iURST ST
Secure.           °- City, town, or post office If you have a foreign address. also complete spaces below                     State            ZIP code

                           3ELLFLOWER                                                                                           CA              90706
                            Foreign country name                                          rForeign province/county                      Foreign postal code


                                                                                                                       1037 CPTS tUSE51
                SPA For Privacy Act and Paperwork Reduction Act Notice, see instructions.

                                                                                 Tear o(f here


                       ,oao-Es                                                                                                Payment
                ~
                  o Department of the Treasury
                       Inlalnal RvvnnuP Srrvlr.A
                                                         2022 Estimated Tax                                                   Voucher                     OMB No    isas-oo~a
                                                                                                                             Calendar year—Due June 15, 2022
                  File only if you are making a payment of estimated tax by check or money order. Mail this
                                                                                                                             Amount of estimated tax you are paying
                  voucher with your check or money order payable to "United States Treasury." Write your
                                                                                                                             by check or            Dollars      Cents
                  social security number and "2022 Form 1040-ES" on your check or money order. Do not send
                                                                                                                             money order.
                  cash. Enclose, but do not staple or attach, your payment with this voucher                                                            "_ ~ 550100

                                                                                            Your last name                               Your social security number
                             Your first name and middle initial
                            GERARDO R                                                       VALDIVIA                                    795-25-326
Pay online at                I F joint payment, complete for spouse
                                                                                            Spouse's last name                           Spouse's social security number
www.irs.gov/                 Spouse's first name and middle init~ai
etpay              a~
                   Q
                   a
                   o         Address (number. street, and apt. no.}
Simple.
 Fast.             ~ 10476 GREEN 4URS1 ST
                                                                                                                               State           ZIP code
 Secure.           a         City, town, or post office. If you have a foreign address, also complete spaces below.
                                                                                                                                CA               90706
                            3ELLFLOWER
                                                                                             Foreign province/county                       Foreign postal code
                              Foreign country name

                                                                                                                           1037 CPTS 7USE51
                  SPA For Privacy Act and Paperwork Reduction Act Notice, see instructions

                                                                                  Tear off here


                           1040-ES                                                                                             Payment
                   o Department of the Treasury
                  LL       Inl.arn_~1 Rovnni.n Snrv~ro
                                                         2022 Estimated Tax                                                    Voucher 1                   orris No i~as-oo~a
                                                                                                                              Calendar year—Due April 18, 2022
                  File only rf you are making a payment of estimated tax by check or money order. Mail this
                                                                                                                              Amount of estimated tax you are paying
                  voucher with your check or money order payable to "United States Treasury." Write your
                                                                                                      not send                by check or                 Dollars        ce~~s
                  social security number and "2022 Form 1040-ES" on your check or money order. Do
                                                                                                                              money order.
                  cash. Enclose, out do not staple or attach, your payment with this voucher.                                                                1 , 55 ~ ~ 0

                                                                                                 Your last name                            Your soaal security number
                              Your first name and middle irnt~al
                                                                                            VRLDIVIA                                     XXX-XX-XXXX
                             G~RARDO R
 Pay wil~rre at               If point payment, complete for spouse
                                                                                                 Spouse's last name                        Spouse's social security number
 www.us.govl           v      Spouse's first name and middle mina(
 etpay                 2
                       a
                       o       Address (number, street, and apt. no.)
 Simple.
 Fast.
                             10976 GREEN HURST ST
                                                                                                           below.               State           ZIP code
 Secure.               ~-     City, town, or post once If you have a foreign address, also complete spaces
                                                                                                                                 CA               90700
                             BELLFLOWER
                                                                                                 Foreign province/county                   Foreign postal code
                               Foreign country name
                                                                                             i
                                                                               instructions.                               to3~ CPTS i useSt        corm ~ unu-tom ~~~«~
                   SPA For Privacy Act and Paperwork Reduction Act Notice, see

                                                                                                                                           FORTUN             Page 06
       Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 68 of 95 Page ID #:535

                                                                                                                                                XXX-XX-XXXX
 GERARDO R VALDIVIA
Record of Estimated Tax Payments (Farmers, fishermen, and fiscal
year taxpayers, see Payment Due Dates.)                                                                             Keep for Your Records


                                                                           (c~ Check or              (d) Amounl paid             (e) 2021          (n Tolal amount
~~        Payment            (a) Amount        I   (b) Date     I     money ortler number or         (do not include           overpayment         paid and credited
y~          due                                                 ~                                    any convenience
EF                               due                 paid               credit or deb4 card                             ~      credi! applied      (add (d) znd (e))
,~ ~        date                                                I      confirmation number                 fee)
ac


 1     4!18!2022

 2     6/15/2022

 3 ~ 9/15/2022

                                                            -                     ~-                                                                   --
 4 1 1/17/2023`


 Total.                                                                                        ► ~
                                                                                                                                    due with your return.
• You do not have to make this payment if you file your 2021 tax return by January 31, 2023, and pay the entire balance



Privacy Act and Paperwork Reduction Act Notice We ask for this                        We may disclose it to aties, states, the District of Columbia, and U.S.
information ro carry out the tax laws of the Urnted States. We need rt to             commonwealths or possessions to carry out their tax laws. We may also
figure and collect the right amount of tax. Our legal right to ask for this           disclose this information to other countnes under a tax treaty, to federal
information is Internal Revenue Code section 6654, which requires that                and state agencies to enforce federal nontax criminal laws, or to federal
you pay your taxes m a specrfied manner to avoid being penalized.                     law enforcement and intelligence agencies to combat terrorism.
Additionally, sections 6001, 6011, and 6012(a) and their regulations                       If you do not file a return, do not glue the information asked for, or
require you to file a return or statement (or any tax for which you are               give fraudulent information, you may be charged penalties and be
habie, section 6109 requires you to provide your identifying number                   subject to criminal prosecution.
Failure to prowde this information, or providing false or fraudulent
                                                                                           Please keep this notice with your records. It may help you if we ask
 information, may subject you to penalties                                                                                                                        for
                                                                                      you for other information. If you have any questions about the rules
    You are not required to provide the information requested on a form                filing and giving information, please call or visit any Internal Revenue
  that is subject to the Paperwork Reduction Act unless the form displays             Service office.
 a valid OMB control number Books or records relating to a form or its
                                                                                        The average time and expenses required to complete and file this
 instructions must be retained as long as their contents may become
 material in the administration of any Internal Revenue law. Generally,               form will vary depending on mdrvidual circumstances. For the estimated
  tax returns and return information are confdenhal. as stated in Code                averages, see the instructions for your income tax return.
section 6103                                                                            If you have suggestions for making this package simpler, we would be
  VVe may disclose the information to the Department of Justice for civil             happy to hear from you. See the instructions for your income tax return.
and criminal litigation and to other federal agencies, as provided by law


                                                                            Tear off here


                 E 1040-ES
                 ~ Depanmen, nl 1ha Treasury       2022 Estimated Tax                                                   ~U her 4                      o~BNo ,~45-Qo~4
                   Internal Revenue Service
                                                                                                                       Cal¢ndar year—Due Jan. 17, 2023
                 File only rf you are making a payment of estimated tax by check or money order, Mail this             Amount of estimated tax you are paying
                                                                                                       your
                 voucher wdh your check or money order payable :o "United States Treasury." Write                      by Check or             Dollars      Cents
                                                                                                     not send
                 social security number and ' 2021 Form 1040-ES' on your check or money order. Do                      money order.
                 cash. Enclose. but do not staple or attach, your payment with this voucher.                                                       Z 5 5 ~ Ci 0
                                                                                        Your last name                             Your social security number
                       Your first name and middle initial
                                                                                       `.'ALDIVIA                                     795-2 5-3264
                      GERARDO R
                      If joint payment, complete for spouse
                                                                                        Spouse's last name                             Spouse's soda! security number
 Pay onlire at         Spouse's first name and middle inlUal
 wnvw.irs.gov!    a                                                                                                                                                     __
 QtPaY            ~
                  o Address (number, street, and apt. no )
 Simple.              1097 6 GREEN HURST ST
                                                                                                spaces below                State          ZIP code
 Fast.            a    Crty, town, or post office. If you have a foreign address, also complete
 Secure.                                                                                                                     CA                 90706
                      BELLFLOWER
                                                                                         Foreign province/county                        Foreign postal code
                       Foreign country name

                                                                             instructions.                      t037 CPTS 1USES2                  Form 1040-ES (2022)
                 SPA For Privacy Act and Paperwork Reduction Act Notice, see

                                                                                                                                      FORTUN            Page 07
         Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 69 of 95 Page ID #:536
  GERARDO R VALDIVIA                                                                                                     795-25-326


 2022 Estimated Tax Worksheet                                                                                    Keep for Your Records
   1      Adjusted gross income you expect in 2022(see instructions)                                                         1           33,889
   2a Deductions                                                                                                            Za           12,950
          • If you plan to itemize deductions, enter the estimated total of your itemized deductions.
          • if you don't plan to itemize deductions, enter your standard deduction.
     b    If you can take the qualified business income deduction, enter the estimated amount of the deduction               2b
    c     Add lines 2a and 2b                                                                                           ►    2~          12,950
   3      Subtract line 2c from line 1                                                                                        g          2 0, 9 3 9
   4      Tax. Figure   your tax  on the amount   on  line 3  by using  the 2022   Tax Rate   Schedules.
          Caution: If you will have qualified dividends or a net capital gain, or expect to exclude or deduct
          foreign earned income or housing, see Worksheets 2-5 and 2-6 in Pub. 505 to figure the tax .                         q          2, 3 0 7
   5      Alternative minimum tax from Form 6251                                                                              5
   6      Add Imes 4 and 5. Add to this amount any other taxes you expect to include m the total on Form
          1040 or 1040-SR, line 16 .                                                                                           6          2, 3 0 7
   7      Credits (see instructions).  Do  not  include   any  income   tax withholding   on this line                        7
   8      Subtract line 7 from line 6. If zero or less, enter -0-                                                              g          2 , 307
   9      Self-employment tax (see instructions)                                                                               g          5 , 15 2
  10      Other taxes (see instructions)                                                                                      10
  11a     Add lines S through 10                                                                                             ~ ~a         7, 4 5 9
    b     Earned income credit, refundable child tax credit` or additional child tax       credit,  fuel tax credit, net
          premium tax credit, refundable American opportunity credit, section 1341 credit, and refundable
          credit from Form 8885'                                                                                           ~ 11b
    c     Total 2022 estimated tax.      Subtract  line  11 b from line  11a. If zero or less, enter  -0-                ►   11c           7, 4 5 9
  12a     Multiply line 11c by 90% (66 z/3% for farmers and fishermen)                         12a ~                6, 713
    b     Required annual payment based on pnor year's tax (see instructions)                  ~Zb                  7, 003
    c     Required annual payment to avoid a penalty. Enter the smaller of line 12a or 12b                               ►   12c           6, 713
          Caution: Generally, if you do not prepay (through income tax withholding and estimated tax
          payments) at least the amount on line 12c, you may owe a penalty for not paying enough estimated
          tax. To avoid a penalty, make sure your estimate on line 11c is as accurate as possible. Even if you
          pay the required annual payment, you may still owe tax when you file your return. If you prefer, you
          can pay the amount shown on line 11c. For details, see chapter 2 of Pub. 505.
  13      Income tax withheld and estimated to be withheld during 2022 (including income tax withholding
          on pensions, annuities, certain deferred income, etc.)                                                             13               512


  14a Subtract line 13 from line 12c                                              ~ 14a I            6 , 2 O1
      Is the result zero or less?
       ❑ Yes. Stop here. You are not required to make estimated tax payments.
      0No. Go to line 14b.
    b Subtract line 13 from line 11 c                                               ~4b              6,~ 47
      Is the result less than $1,000?
           Yes. Stop here. You are not required to make estimated tax payments.
           No. Go to line 15 to figure your required payment.
  ~5  If the first payment you are required to make is due Apri! 18, 2022, enter Y, of line 14a (minus any
      2021 overpayment that you are applying to this installment) here, and on your estimated tax
       payment vouchers) if you are paying by check or money order                                            15                           1,550

'If applicable




  Form 1040-ES (2022)

                                                                          7USES3
                                                                                                                          FORTUN     Page 08
      Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 70 of 95 Page ID #:537


                      ~e~artment of the Treasury—internal Revenue Service      (99)    ' wOA
 1040                 U.S. Individual Income Tax Return ~                               1 1                    OMBNo 1545-0074             IRS UseOny—Donot~.+~r~teorstaplemthisspace

Filing Status ~ Smgle ~ Married filing ~omtly                      ~ Marned filing separately (MFS) ~ Head of household (HOH) ~ Qualifying widower)(QW)
                                                                                                                enter the child's name if the qualifying
Check only         I( you checked the MFS box, enter the name of your spouse. Ii you checked the HOH or QW box,
one box.           person is a child but not your dependent ~
                                                            Lasl name                                                      Your social security number
 Your first name and  middle initial
GERARDO R                                                               VALDIVIA                                                                        ' XXX-XX-XXXX
                                                                                                                                                         Spouse's social security number
 If joint return, spouse s first name and middle inil~al                Lasl name


                                                                                                                                         Apt. no         Presidential Election Campaign
 Home address(number and street) If you have a P O box, see instrucnons
                                                                                                                                     I                   Check here ~t you. or your
104 76 GREEN HURST ST                                                                                                                                    spouse if filing jointly, want $3
                                                                                                     ~ Siate                   Zip code
 City town, or post office Ii you have a foreign address, also complete spaces below                                                                     to go to this fund. Checking a
BELLFLOWER                                                                                              CA                     90706                     box below will not change
                                                                              Foreign provincelstate/county                     Foreign postal code      your tax or refund.
 Foreign country name
                                                                                                                                                                         C You      ~ Spouse

                                                                                                                        currency?
At any time during 2021, did you receive, sell, exchange, or otherwise dispose of any financial interest in any virtual                                                  ~ Yes      ~ No

                Someone can claim       ~ You as a dependent         ~] Your spouse    as  a dependent
Standard
DCdUCtiOn ~ Spouse itemizes on a separate return or you were adual-status alien

Agelelindness You: ~ Were born before January 2, 1957 ~ Are blind       Spouse: ~ Was born before January 2, 1957 ~ Is blind
                                                          (2)social security  ~, (3) Relationship (4) ~ d qualifies for (see insUuctions)
Dependents (see instructions):
                                                                                        number             I        to you                   Child tax credit         Credit for olhe~ dependents
                      (~ 1 First name             Last name
If more
than four                                                                                                                                                                         ❑
                                                                                                                                                   r
dependents,
                                                                                                                                                   LJ
see mstruct~ons                                                                                                                                                      !             i
and check
                                                                                                                                                   ❑                 ~            C
here ► ~

                             Wages, salanes, tips, etc. Attach Forms) W-Z                                                                                        1
                   1
 Attach           ~ 2a       Tax-exempt interest                2a                                    b Taxable interest                                        2b
 Sch. B d                                                                                             b Ordinary dividends                                      3b
                      3a     Qualified dividends                       3a
 requued
                  ~   4a     IRA distrlbutlons                       I qa                             b Taxable amount                                          4b

                      5a     Pennons and annuities                     Sa                             b Taxable amount                                   -       5b

                 6a          Soaal security benefits                 , 6a                        I    b Taxabke amount _                                 -       6b
Standard
                                                                                                                                                    ► ~           7
Deduction for—   ~           Capdal gain or (loss). Attach Schedule D rf regwred. If not regwred, check here
. Single or
                             Other income from Schedule 1 , Ime 10
                                                                                                                                                                 g                 36      460
  Mamed htrng i 8
  separately,    g           Add fines 1. 2b, 3b, 4b, 5b, 6b, 7, and 8 This is your total income
                                                                                                                                                         ►       g                 36 ~    466
  $12 550
                                                                                                                                                                 ~p                   2, 5 ~ 7
• Married f~lmg 10           Ad~uslments to income from Schedule 1, line 26
  ja~nlly or
                11           Subtract line 10 from line 9 This is your adjusted gross income                                                             ►       ~~                3 3 , +~ 8 9
  Qualifying
  w~dow(er)           ry a   Standard deduction or itemized deductions (from Schedule A)                                     ~qa ~            IZ       J 5~
  s25 loo
                             Charitable contributions if you take the standard deduction (see instructions)                  ~Zb
• Head or         I     b
                                                                                                                                                                 ~Z~              IZ , 5 5 0
  5~6 8o0 1d     (      c    Add lines 12a and 12b
                                                                                                                                                                  ~3               4, 2 68
• II you checked I 13        Qualified business income deduction from Form 8995 or Form 8995-A
  any box under                                                                                                                                                   14               16 , 818
  Standard           14       Add lines 12c and 13
  Dcduc:~on                                                                                                                                                     ~ ~g               17 , 0 7 1
  see ~nSN~GtionS 15
                 ~ ,          Taxable income. Subtract line 14 from line 11 if zero or less, enter -0-

                                                                                                                                  1037 CPTS 1U501i                            Form ~~40 (202t)
 SPA For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.




                                                                                                                                                        FORTUN                 Page 09
       Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 71 of 95 Page ID #:538

                                                                                                                                                                                 Page 2
Fornt 1040 (2021)
                                                                                             8814      2      4972      3                                  18                1,850
                   16          Tax (see instructions). Check if any from form(s). 1 ~
                                                                                                                                                           17
                   17          Amounl from Schedule 2, line 3
                                                                                                                                            _              ~g                1,$5 Q
                   18          Add lines 16 and 17
                                                                                                                .                                          ~g
                   19          Nonrefundable child tax credit or credit for other dependents from Schedule 8812
                                                                                                                                                           20
                   20          Amount from Schedule 3, line 8
                   21          Add lines 19 and 20                                                                                                         21
                   2z          Subtract line 21 from i~ne 18. If zero or less, enter -0-                                                                   ZZ                1,850
                               Other taxes, including self-employment lax, from Schedule 2, line 21
                                                                                                                                                           23                5,153
                   23
                                                                                                                                                     ►     yq                '~j , Q Q 3
                   24          Add lines 22 and 23 This is your total tax
                    25         Federal income tax withheld from.
                         a     Forms) W-2                                                                                   25a
                         b     Forms) 1099.                                                                                 ZSb                   ~ 12
                         c     Olher forms (See instrucl~ons)                                                               25c
                                                                                                                                                           25d ',                  512
                        Add lines 25a through 25c
                         d
                                                                                                                                                            28
                   26   2021 estimated tax payments and amount applied from 2020 return
  If yon nape a   ---
           g
  quahym chad      27a  Earned  income credit (EIC)                                                                         27a
~ auacr, scn EIC. ~     Check here ii you were born after January 1, 1998, and before
                        January 2, 2004, and you satisfy all the other requirements for
                        taxpayers who are at least age 18, to claim the EIC See mslruclions ►
                      b Nontaxable combat pay election                         27b
                      c Pnor year (2019) earned income                         27c i
                   28   Refundable child tax credal or additional child tax credit from Schedule 8812                       28
                    29          American opporturnty credit from Farm 8863, line S                                          29

                    30          Recovery rebate credit. See instructions                                                    30
                    31          Amount from Schedule 3, line 15 .                                                   31
                                                                                           other payments     and refundable credits ►                      32
                    32          Add lines 27a and 28 through 31. These are your total
                                                 26, and  32 These  are y our  total payments                                         ►                     gg                       512
                    33          Add lines   25d,
                                                             24, subtract fine 24 from Ime 33. This  is the amount you overpaid     ~                       34
                    34          If line 33 is more than line
 Refund                                                                                                                          ►
                                Amount of Ime 34 you want refunded to you. If Form 8888 is attached, check here
                                                                                                                                      ❑                     35a
                    35a
 DvecldeposiC~       ►b         Routing number XXXXXXXXX                                         ►  c  Type.  ~    Checking  []  Savings
 See ~nswcUons       ~d     Account number X }(}~}{ XX~(~(X }~X}{}(}{}(XX
                    36      Amount of line 34 you want applied to your 2022 estimated tax                          ►     36
                                                               line  33 from line 24   For  details on  how to  pay, see  instructions                ►      37                6 ~ 4 97
 Amount             37      Amount you owe. Subtract
                                                                                                                   ► 1 38 ~                              6
 YOU OWe            38      Estimated tax penaity (see instructions)
                       Do you want to allow     another    person    to discuss this  return  with the IRS?  See
 Third Party                                                                                                              ► ❑Yes. Complete below.
                                                                                                                                                                    ~ No
 Designee              instructions
                                                                                            Phone                                      Personal identification
                       Designee's                                                                                                      number (PIN)
                       name ►                                                               no ►
                                                                                                 accompanying schedules  and  statements,  and to the best of my knowledge and
 Sign                  Under penalties of penury. I declare that I have examined this return and
                                                                                                                        on all information of which preparer has any knowledge.
                       belief, they are We. wrrect, and complete Declaration of preparer (other than taxpayer) is based
 Here                                                                              Date             Your occupatior                              ' If the IRS sent you an Identity
                        Your signature                                                                                                               Protection PIN, enter it here
                                                                                                                                                     (see inst.) ~
 Jomtretum?                                             J                         94/17i2z           OPERATOR
                                                                                                    Spouse's occupation                              I(the IRS sent your spouse an
 See ~nswct~ons.        Spouse s signature If a ~oml return, both must sign.       Date
                                                                                                                                                     Identity Protection PIN, enter it here
 Keep a copy for                                                                                                                                  ~' (SB6 inst)
 your records
                             Phone no                                             Email address papel1tO11Z8@YlOtITlal~~. . COIiI
                                                                 Preparer'       ~;a~~~.                              PTIN                                                Check ~f
                             Preparer's name
  Paid                                                        o~iiii~~                                                                          ~ 010 5 4 3 2 0 ~ ,~~,,~.,;
             ~~se,.~n ; ~a~r•~~: ,~~r;t~,
  Preparer _                              INCOME TAX                                                                                                Pno~eno. 562-842-5392
             F"'"'sname   ►  FORTUN
  Us2 Only _ Firm's address                                                                                                                          Firm s EIN ►
                            ►5720 IMPERIAL HWY SOUTH GATE CA 90280
                                                                                                                   1037 CPTS tUS012                                     Form 1040 ~2D2t)
  SPA Go [o www.irs.govlForm1040 for instructions and the latest information




                                                                                                                                                 FORTUN                   Page 10
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 72 of 95 Page ID #:539



                                       US RET 1040
                            Qualified Business Income Activities
 Names)                                                              Tax Identification Number
 GERARDO R VALDIVIA                                              1 XXX-XX-XXXX

 Trade or Business Name:                                         TONDERO RESTAURANT
 Taxpayer Identification Number:                                 XX-XXXXXXX
 Business Income ........ ................................ ...                            36,466
 A].]ocated Deduct~or: for One-Half of Self-Employment Tax.. .                            (2,577)
            Qualified Business Income................... ....                             33,889




zote ffi I ~ Gr'rs                           Bus01 k_1                                           04/0312019


                                                                        FORTUN          Page 11
           Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 73 of 95 Page ID #:540


                                                                                                                           OMB No. 1545-0074
SCHEDULE 1
(Form 1040)
                              Additional Income and Adjustments to Income                                                   r~o^~
                                                                                                                            L     L
                                               ►Attach to Form 1040, 1040-SR, Or 1040-NR.                                  Attachment
Depanment of the TreasurY
Internal Revenue Service        ► Go to www.ir5.govlFofm1040 for instructions and the latest information.                  Sequence No. O1
                                                                                                           ~ Your social security number
Names) shown on Form 1040, 1040 -SR, or 1040-NR
                                                                                                                   795 - 25 - 3269
GERARDO R VALDIVIA
  Part I        Additional Income
  1        Taxable refunds, credits, or offsets of state and local income taxes
   2a Alimony received _
    b Date of original divorce or separation agreement (see instructions)
                                                                                                              •       1 3 I         36, 466
   3       Business income or (loss). Attach Schedule C
   4       Oiher gains or (losses). Attach Form 4797.                                                                  4

   5       Rental real estate, royalties, partnerships, S corporations, trusts, e1
           Schedule E                     _
   6       Farm income or (loss). Attach Schedule F .
   7       Unemployment compensation                                  _
   8       Other income:
       a Net operating loss                                                         _

       b Gambling income .
       c Cancellation of debt .
       d Foreign earned income exclusion from Form 2555.
       e Taxable Health Savings Account distribution .
       f    Alaska Permanent Fund dividends
       g Jury duty pay
       h Prizes and awards                 _
       i    Activity not engaged in for profit income
       j Stock options                                                      .
       k Income from the rental of personal property if you engaged in
         the rental for profit but were not in the business of renting such
         property .
         Olympic and Paralympic medals and USOC prize money (see
         instructions)
       m Section 951(x) inclusion (see instructions)
       n Section 951A(aj inclusion (see instructions)                                     .

       o Section 461(1) excess business loss adjustment
       p Taxable distributions from an ABLE account (see instructions)
       z Other income. List type and amount ►


       9    Total other income. Add lines 8a through 8z
                                                                         1.,T.,-~~ ., ~,
   10       Combine lines 1 through 7 and 9 Enter here and on Form 1040,
                                                                                         .                        -    X 10           36, 66
            1040-NR, line 8                                                                                            Schedule 1 (Form 1040) 2021
                                                       return instructions.             1037 CP7S 1USOA1
  SPA For Paperwork Reduction Act Notice, see your tax




                                                                                                                  FORTUN          Page 12
         Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 74 of 95 Page ID #:541


                                                                                                                    Page 2
Schedule 1 (Form 1040)2Q21

 Part II      Adjustments to Income
                                                                                             -     11
11        Educator expenses
                                                                                  sis government
12        Certain business expenses of reservists, performing artists, and fee-ba
                                                                                                   ~2
          officials. Attach Form 2106
                                                                                                   13
 13       Health savings account deduction. Attach Form 8889
                                                                                      .            14
 14       Moving expenses for members of the Armed Forces. Attach Form 3903
                                                                                           _       15            2, 577
 15       Deductible part of self-employment tax. Attach Schedule SE
                                                                                                   ~g
 16       Self-employed SEP, SIMPLE, and qualified plans
                                                                                                    17
 17       Self-employed health insurance deduction .
                                                                                                   , ~g
 18       Penalty on early withdrawal of savings
                                                                                                   19a
 19a Alimony paid
                                                                              ~
   b Recipients SSN
   c Date of original divorce or separation agreement(see instructions) ►
                                                                                                    20
 20 IRA deduction
                                                                                                    2~
 21 Student loan interest deduction
                                                                                                    22
 22       Reserved for future use
 23       Archer MSA deduction .                                                                    23

 24       Other adjustments:
      a Jury duty pay (see instructions)                                       24a
      b Deductible expenses related to income reported on line 8k from
        the rental of personal property engaged in for profit                  24b
      c Nontaxable amount of the value of Olympic and Paralympic
        medals and USOC prize money reported on line 81                        24c
                                                                _              24d
      d Reforestation amortization and expenses .
                                                              under the
      e Repayment of supplemental unemployment benefits
                                                                               24e.
        Trade Act of 1974
      f Contributions to section 501(c)(18)(D) pension plans                   24f
                                                                               24
      g Contributions by certain chaplains to section 403(b) plans
      h Attorney fees and court costs for actions involving certain
        unlawful discrimination claims (see instructions)                      24h
                                                                    an
      i Attorney fees and court costs you paid in connection with
                                                       ed that helped  the
        award from the IRS for information you provid
        IRS detect tax law violations                                          , 24i
                                                                       24j
      j Housing deduction from Form 2555
                                                               ule K-1
      k Excess deductions of section 67(e) expenses from Sched
        (Form 1041)                                                    24k

      z Other adjustments. List type and amount

   25       Total other adjustments. Add lines 24a through 24z
                                                                          to i
   26       Add Lines 11 through 23 and 25. These are your adjustments                               X 26           2, 577
                                                     10, or Form 1040-N R, Iine10a      .
            here and on Form 1040 or 1040-SR, line                                                  Schedule 1 (Form 1D40) 2021
                                                   1037 CPTS 1USOA2
   SPA



                                                                                               FORTUN          Page 13
       Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 75 of 95 Page ID #:542


SCHEDULE 2                                                                                                                 OMB No ~sas-oo~a
(Form 1040
                                                     Additional Taxes                                                       ~0~~

De ar~ment of one Treasu                      ►Attach to Form 1040, 1040-SR, or 1040-NR.                                   At;achmeni
   P Revenue Service ry
internal                        ► Go to www.irs.9 ov/Form1040 for instructions and the latest information.                 Sequence No OZ
Names) shown on Form 1040, 1040-SR, or 10Q0-NR                                                               Your social security number
GERARCO R VA~DIVIA                                                                                                XXX-XX-XXXX
 Part I Tax
  1     Alternative minimum tax. Attach Form 6251                                                                     ~
  2     Excess advance premium tax credit repayment. Attach Form 8962.                                               2
  3     Add lines 1 and 2. Enter here and on Form 1040, 1040-SR, or 1040-NR, line 17 .                               3
 Part ii       Other Taxes
  4     Self-employment tax. Attach Schedule SE .                                                                     4              5,153
  5     Social security and Medicare tax on unreported tip income.
        Attach Form 4137                                                                      5
  6     Uncollected social security and Medicare tax on wages. Attach                     ~
        Form 8919 .                                                                           g
  7     Total additional social security and Medicare tax. Add lines 5 and 6                                          rl

  8     Additional tax on IRAs or other tax-favored accounts. Attach Form 5329 if required                            8
  9     Household employment taxes. Attach Schedule H .                         _                 _                   9
 10     Repayment of first-time homebuyer credit. Attach Form 5405 if required .                                     10
 11      Additional Medicare Tax. Attach Form 8959                                                                   11
 12     Net investment income tax. Attach Form 8960                                                                  12
 13     Uncollected social security and Medicare or RRTA tax on tips or group-term life
        insurance from Form W-2, box 12 .                                                                            13
 14     Interest on tax due on installment income from the sale of certain residential lots
        and timeshares                                                                                               14
 15     Interest on the deferred tax on gain from certain installment sales with a sales price
        over $150,000.                                       _                                 •                     15
 16      Recapture of low-income housing credit. Attach Form 8611                                                • 16
                                                                                                                 (continued on page 2)
SPA For Paperwork Reduction Act Notice, see your tax return instructions.           1037 CPTS 1USOB1                Schedule 2 (Form 1040) 2021




                                                                                                                FORTUN          Page 14
         Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 76 of 95 Page ID #:543


Schedule[(Form 1040) 2021                                                                                            Page 2

 Part II     Other Taxes (continued)
17       Other additional taxes:
   a Recapture of other credits. List type, form number, and                                 ';
     amount ►                                                                 17a
   b Recapture of federal mortgage subsidy. If you sold your home in      ~
     2021, see instructions                                                   17b
    c Additional tax on HSA distributions. Attach Form 8889                   17c
    d Additional tax on an HSA because you didn't remain an eligible
      individual. Attach Form 8889.                    _             - 17d
    e Additional tax on Archer MSA distributions. Attach Form 8853     17e
    f Additional tax on Medicare Advantage MSA distributions. Attach
      Form 8853                                                               17f
    g Recapture of a charitable contribution deduction related to a
      fractional interest in tangible personal property                       17
    h Income you received from a nonqualified deferred compensation
      plan that fails to meet the requirements of section 409A                17h
     i   Compensation you received from a nonqualified deferred
         compensation plan described in section 457A                      , ~~i
     j   Section 72(m){5) excess benefits tax.                                17•
     k Golden parachute payments .                                            17k
       Tax on accumulation distribution of trusts                             17~
     m Excise tax on insider stock compensation from an expatriated
       corporation                                                            17m
     n Look-back interest under section 167(g) or 460(b) from Form
       8697 or 8866                                      _                    17n
     o Tax on non-effectively connected income for any part of the
       year you were a nonresident alien from Form 1040-NR .                  170
     p Any interest from Form 8621, line 16f, relating to distributions
       from, and dispositions of, stack of a section 1291 fund                17p
     q Any interest from Form 8621. line 24                                   17q
      z Any other taxes. List type and amount ►
                                                                              1 17z~
 18      Total additional taxes. Add lines 17a through 17z                                         18
 19      Additional tax from Schedule 8812                                                         19
 20      Section 965 net tax liability installment from Form 965-A           20
 21      Add lines 4, 7 through 16, 18, and 19. These are your total other taxes. Enter here
         and nn Form 1040 or 1040-SR, line 23, or Form 1040-NR, line 23b                     ~ 21 ~               5, 153
SPA                                          1031 CPTS 1US062                                     Schedule 2 (Form 1040) 2021




                                                                                          FORTUN            Page 15
           Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 77 of 95 Page ID #:544


                                                                                                                OMB No   ~sas-oo~a
SCHEDULE 3
                                        Additional Credits and Payments
(Form 1040)                                                                                                       2~2~
                                               ►Attach to Form 1040, 1040 -SR, or 1040-NR.                         Auacr,rr,er,t
                                                                                   latest information.             Sequence rvo 03
                            ► Go to www.irs.9 ov/Form1040 for instructions and the
Department of the Treasury
Internal Revenue Service
                                                                                                     i Your social security number
Names) shown on Form 1040, 1040 -SR, or 1040 -NR                                                                     5-3264
                                                                                                       ~   795-2
GERARDO R vA~DIVTA
 Part 1 Nonrefundable Credits
           Foreign tax credit. Attach Form 1116 if required            .
  1
   2       Credit for child and dependent care expenses from Form 2441. IinE
           2441
   3       Education credits from Form 8863, line 19
   4       Retirement savings contributions credit. Attach Form 8880
   5       Residential energy credits. Attach Form 5695.
   6     Other nonrefundable credits:
       a General business credit. Attach Form 3800
       b Credit for prior year minimum tax. Attach Form 8801                  .

       c Adoption credit. Attach Form 8839
       d Credit for the elderly or disabled. Attach Schedule R                        .

       e Alternative motor vehicle credit. Attach Form 8910.
       f Qualified plug-in motor vehicle credit. Attach Form 8936
       g Mortgage interest credit. Attach Form 8396
       h District of Columbia first-time homebuyer credit. Attach Form 8859
       i Qualified electric vehicle credit. Attach Form 8834 .
       j Alternative fuel vehicle refueling property credit. Attach Form 8911
       k Credit to holders of tax credit bonds. Attach Form 8912.
         Amount on Form 8978, line 14. See instructions
       z Other nonrefundab{e credits. List type and amount ►

    7       Total other nonrefundable credits. Add lines 6a through 6z
                                                                      1040-;
    8       Add lines 1 through 5 and 7. Enter here and on Form 1040,
            line 20
                                                                                                           (continued on page 2)
                                                                                    1037 CPTS 1USOC1         Schedule 3 (Form 1040 zo21
                                                              instructions.
  SPA For Paperwork Reduction Act Notice, see your tax return




                                                                                                           FORTUN        Page 16
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 78 of 95 Page ID #:545


                                                                                                             Page 2
Schedule 3(Form '1040) 2021

 Part II      Other Payments and Refundable Credits
  9     Net premium tax credit. Attach Form 8962 .                                         9
10      Amount paid with request for extension to file (see instructions)                 10
11      Excess social security and tier 1 RRTA tax withheld                               11

12      Credit for federal tax on fuels. Attach Form 4136                                  12

 13     Other payments or refundable credits'
     a Form 2439                                                            13a
      b Qualified sick and family leave credits from Schedules) H and
        Forms)7202 for leave taken before April 1, 2021                     13b
     c Health coverage tax credit from Form 8885                            13c
     d Credit for repayment of amounts included in income from earlier
         years                                                              13d
      e Reserved for future use                                             13e
      f Deferred amount of net 965 tax liability (see instructions)         ~ 13f
      g Credit for child and dependent care expenses from Form 2441,
        line 10. Attach Form 2441                                           13
      h Qualified sick and family leave credits from Schedules) H and
         Forms} 7202 for leave taken after March 31.2021                    13h

      z Other payments or refundable credits. List type and amount ►
                                                                            ~13z~

 14      Total other payments or refundable credits. Add lines 13a through 13z              14
 15      Add lines 9 through 12 and 14. Enter here and on Form 1040, 1040-SR, or 1040-NR,
         line 31                                                                          ~ 15J
                                               1037 CPTS tUSOC2                           Schedule 3 (Form 1040) 2021
 SPA




                                                                                       FORTUN        Page 17
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 79 of 95 Page ID #:546


                                          Underpayment of Estimated Tax by                                                          OMB No. 1545-0140

Fes, 22~ ~ I                                Individuals, Estates, and Trusts                                                         2021
                                    ► Go to www.irs.govlForm2210 fnr instructions and the latest information.               I
                                                                                                                                    Attachment
Departmem of tt,e Treasury                     ► Attath to Form 1040, 1040-SR, 1040-NR, or 1041.                                    Sequence No. ~s
Inlemal Revenue Service
                                                                                                                Identifying number
Names) shown on tax return
GERARDO R VALDIVIA                                                                                                 XXX-XX-XXXX

                                            Do You Have To File Form 2210?
    Complete lines 1 through 7 below. Is Ilne 4 or line 7 less than         Yes ~
                                                                                  Don't file Form 2210. You don't owe a penalty.
    $1,040?
                  No
                                                                            Yes ~ You don't owe a penalty. Don't file Form 2210 unless
    Complete lines 8 and 9 below. Is line 6 equal to or more than
    line 9?                                                             ~         box E in Part II applies, then file page 1 of Form 2210.

                   I
                  No
                                                                        ~ Yes       You must file Form 2210. Does box B, C, or D in Parl II
    You may owe a penalty. Does any box in Part II below apply?
                                                                        J           app~Y~
                    ~No                                                              No            Yes
                                                                                                            ~~ You must figure your penalty.

     Don't file Form 2210. You aren't required to figure
     your penalty because the IRS will figure it and send                    You aren't required to figure your penalty because the IRS
     you a bdl for any unpaid amount. If you want to figure                  will figure it and send you a bill for any unpaid amount. If you
     it, you may use Part III as a worksheet and enter your                  want to figure it, you may use Part III as a worksheet and
     penalty amount on your tax return, but don't file                       enter your penalty amount on your tax return, but file only
     Form 2210.                                                              page 1 of Form 2210.


  Part 1   Required Annual Pa ment
   1 Enter your 2021 tax after credits from Form 1040, 1040-SR, or 1040-NR, line 22. (See the
     instructions if not filing Form 1040.)                                                                             1                        1, 8 5 0
   2 Other taxes, including self-employment tax and, rf applicable, Additional Medicare Tax and/or Net
     Investment Income Tax (see instructions)                                                          _                2                        5 , 15 3
   3 Other payments and refundable credits (see Instructions)                                                           g       (                        )
   4 Current year tax. Combine lines 1, 2, and 3. tf less than X1,000, stop; you don't owe a penalty.
     Don't fife Form 2210.                                             _                                                4                        7, 0 0 3
   5 Multiply line 4 by 90% (0.90}                                                ~                6, 30 3
                                                                                                                          6                   512
    6   Withholding taxes. Don't include estimated tax payments. See instructions
                                                                                                      file Form  2210 .   7                6, 4 91
    ~   Subtract dine 6 from line 4. If less than $1,000, stop; you don't owe a penalty. Don't
        Maximum required annual payment based on           prior year's tax  (see  instructions) .                        8                   688
    8
                                                                      or  line  8                             _           9                   68 8
    9   Required annual payment. Enter the smaller of line 5
        Next: Is line 9 more than   line  6?
           No. You don't owe a penalty. Don't file Form 2210 unless box E below applies.
           Yes. You may owe a penalty, but don't file Form 2210 unless one or more boxes in Part II below applies.
           • If box B, C;or D applies, you must figure your penalty and file Form 2210.
                                                                                                                                            IRS
           • If box A or E applies (but not B. C,or D), file only page 1 of Form 2210. You aren't required to figure your penalty; the
             will figure it and send you   a bill for any unpaid  amount.   If you  want to figure your penalty, you may use Part III as a
             worksheet and enter your penalty on your tax return, but file only page 1 of Form 2210.
  Part II Relsons for Filing. Check applicable boxes. If none apply, don't file Form 2210.
                                                                                                                   1 of Form 2210, but you
   A L~ You request a waiver (see instructions} of your entire penalty. You must check this box and file page
         aren't required to figure your penalty.
   g [] You request a waiver (see instructions) of part of your penalty. You must figure your penalty and waiver amount and file
         Form 2210.
                                                                                                                               income
   C ~ Your income vaned during the year and your penalty is reduced or eliminated when figured using the annualized
         installment method. You must      figure the penalty using Schedule  AI and  file Form 2210.
   D ❑Your penalty is lower when figured by treating the federal income tax withheld from your income as paid on the dates it was
         actually withheld, instead of in equal amounts on the payment due dates. You must figure your penalty and file Form 2210.
   E ❑You filed or are filing a point return for either 2020 or 2021, but not for both years, and line 8 above is smaller than line 5
         above. You must file page 1 of Form 2210, but you aren't required to figure your penalty (unless box B, C, or D applies).
 SPA For Paperwork Reduction Act Notice, see separate instructions.                          1037 CPTS tUS06i                            Form 2210(2021)


                                                                                                                    FORTUN                Page 18
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 80 of 95 Page ID #:547

                                                                                                                                            XXX-XX-XXXX
GERARDO R VALDIVIA                                                                                                                                       Page 3
Form 2210(2021)
                          nualized Income Insta                                                                                                     (d)
                                                                                         (a)               (b)                  (c)
                                                                    right.
Estates and trusts. don't use the period ending dates shown to the                  1/1/21-3/31121   1/7!21-5131/21       111/21--8!31!21     1/1/21-12!31/21
                                                          11/30/21.        I
Instead, use the following 2/28!21, 4/30121, 7131121. and
 Part I       Annualized Income Installments
                                                        See
   1 Enter your adjusted gross income for each period.
     instructions.(Estates and Vusts, enter your taxable
                                                                   1
     income without your exemption for each period.) .                                                                                               1
                                                   instruct ions.) 2                      4               2.4                   1.5
   2 Armual¢aGon amourds.(Estates and  trusts, see
                                                               3
   3 Annualized income. Multiply line 1 by line 2
                                          ions for the period
   4 If you item¢e, enter itemized deduct
                                                       skip
     shown in each column. All others, enter -0-, and
                                                            9. q
     to line 7. Exception: Estates and trusts, skip to Tine                                                                                          1
                                                                               5          4               2.4                   1.5
   5 Annualization amounts
                                                                               6
   6 Multiply line 4 by line 5
   7 In each column, enter the full amount of your
     standard deduction from Form 1040 or 1040~SR, line
        12.(Form 1040-NR filers, enter -0-. Exception: Indian                                                         '
                                                                               7
        students and business apprentices, see instructions.)
                                                                               g
   8    Enter the larger of line 6 or line 7 .
    9   Deduction for qualified business income. Estates
        and trusts' Subtract this amount from the amount
                                                              11 .             9
        on line 3, skip line 10, and enter the result on line
  10                                                                           10
        Add Imes 8 and 9
                                                                               11
   1~   Subtract line 10 from line 3
   12    Form 1040, 1040-SR, or 1040-NR filers, enter -0- in
      each column.(Estates and trusts, see instructions.)                      ~2
   13 Subtract line 12 from Ilne 11. If zero or less, enter -0-                13
                                                                               14
   14 Figure your tax ~ the amount on line 13. See instructions
   15 Self-employment tax from line 36(oompiete Part II below)                 ~5
   16 Enter other taxes for each payment period
      including, if applicable, Additional Medicare Tax
                                                                               ~g
      and/or Net Investment Income Tax. See instructions
                                                                               17
   17 Total tax. Add lines 14, 15, and 16
   18 Fa each period, enter the same type of credits as albwed
                                                                ~              18
      on Form 2210, Part I, lines 1 and 3. See instn.idions
                                       If zero or less, enter -0-              ~g
   19 Subtract line 18 from line 17.                                                                                            67.5%                90%
                                                                               20        22.5%             45%
   20 Applicable percentage
   21 Multiply line 19 by line 20                                              21
                                                                       to line 22 of the next column.
       Complete lines 22-27 of one column before going
                                                              ofline 27 22
    22 Enter the total of the arraunts in aM previas cdumns
                  Ilne  22  from  line 21.  If zero or less, enter -0- 23
    23 Subtract
                                                                   column 24
    24 Enter 25°k(025)of brie 9on page 1 of Form 2210 m each
                                                         26 of that column ys
    25 Subtract line 27 of the previous column from line
                                                                           26
    26 Add lines 24 and 25
    27 Enter the smaller of line 23 or Ilne 26 here and on
                                                           ► 27
       Form 2210, Part I11, Ime 10
                                                  Tax Form 1040, 1040-SR, or 1040-NR filers onl
    Part II Annualized Self-Emplo merit
                                                            insUudio       ns) 28
     28 Net eartnngs from seFF-empbyment fa the period (see                                                                    $95 200             $142 800
                                                                                   2g    $35 700          $59 500
     29 Prorated social security tax limit
                                                  to soaal security tax
     30 Enter actual wages for the perbd subbed           nt (tier 1~ tax.
        or the 6.2% portbn of the 7.65% railroad retireme
                                                         see  inswc~ons 30
        Exception: If you filed Forth 4137 a Forth 8919,
                                            If zero or less,   enter -0- 3~
     31 Subtract line 30 from line 29.                                                                                           0.186               0.124
                                                                                   3y      0.496           0.2976
     32    Annualization amounts
                                                         line 31
     33    Multiply line 32 by the smaller of line 28 or                           33
                                                                                                                                 0.0435               0.029
                                                                                   34      0.116           0.0696
     34    Annualization amounts
                                                                                   35
     35    Multiply Ime 28 by line 34
                                                       15 above ►                  36
     36    Add lines 33 and 35. Enter here and on line                                                                                             Form Z2~0 (2021)
                                                                      1037 CPTS 1US063
    SPA                                                                                                                               FORTUN        Page 19
              Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 81 of 95 Page ID #:548


                                                                                                                                                       OMB No 1545-0074
SCHEDULE C                                               Profit or Loss From Business                                                                   ~O~
(Form 1040)                                                       (Sole Proprietorship)
                                                                                              the latest information.
                                          ► Go to www.irs.govlScheduleC for instructions and                                                           Attachment
Department of ine Treasurr
                                                                                 partnerships  generally must file Form 1065.                          Sequence No. 09
Internal Revenue Service(99)    ►Attach to Form 1040, 1040-SR, 1040-NR, or 1041;
                                                                                                                                   Social security number (SSN)
Name of proprietor
                                                                                                                                     XXX-XX-XXXX
         GERARDO R VALDIVIA                                                                                                        B   Enter code from instructions
                                                                                        uctions)
A             PrincYpal business or profession, including product or service (see instr                                                ►             722511
         RESTAURANT'                                                                                                               D   Employer ID number (EINj, (see instr ~
C             Business name. If no separate business name. leave blank.
                                                                                                                                     XX-XXXXXXX
  TONDERO RESTAURANT
                                                                SON AVE
E   Business address (including suite or room no.) ► 934 7 SALU
    Crty, town or post office, state, and ZIP code   P ICO RI VERA CA G 0 6 60
                                        (~) ❑Cash          (Z) ❑Accrual            (3) ~ Other (specify) ►         10 9 9K
F             Accounting method'                                                                                                                               Yes         No
                                                in     operatio n of this busines s during 2021? If "No." see instructi ons for limit on losses
G             Did you "materially participate"     the
                                                                                                                                                        ~
 H            If you started or acgwred this business dunng 2021, check here                                                                                          ~ No
                                                                                                                                                            ~ Yes
                                                                                              1099 See instructions
 ~            Did you make any payments in 2021 that would requue you to file Forms)                                                                        [~ Yes    ~ No
                                                                                                                   ~
 J            It "Yes "did you or will you file regwred Forms 10997
    Part I        Income                  _
                                                                             the box iF this income was reported to you on
     1        Gross receipts or sales See instructions for line 1 and check                                           ► ~                  ~                2 9 8 , 2 01
              Form W-2 and the "Statutory employe   e" box  on  that form was checked
                                                              ~                                                                            2
     2        Returns and allowances                                                                                                       3                2 g$, 2 Q 1
     3        Subtract hne 2 from Ime 1
                                                                                                                                           q
     4        Cost of goods sold (from line 42)                                                                                                             2 9 `~, , 2 ~ 1
                                                                                                                                           5
     5        Gross profit. Subtract I~ne 4 from line 3                                                                                    g
                                                                              credit or refund (see instructions)
     6        O ther income, including federal and state gasoline or fuel lax                                                              7                2 9$~ 2 Q ~
                                                                                                                                 ►
     7        Gross income. Add lines 5 and 6
                                                                             on line 30.
     Pa►'t II      Expenses. Enter ex enses for business use of our home onl                                                             18                     i, 3 2 S
      8        Advertising                        8                   5,   3 60        18     Office expense (see insWctions)
                                                                                       19     Pension and profit-sharing plans         t 19
      9        Car and truck expenses (see




                 • If a loss, you must go to line 32
                                                                   your irnestment in this activity. See instructions.
         32      If you have a loss, check the box that descnbes
                                                                         le 1 (Form 1040), line 3, and on Schedule SE,
                     If you checked 32a. enter the loss on both Schedu                                                                         32a ~ All investment is at risk.
                                                         1, see the line 31 instructions). Estates and trusts. enter on
                 line 2. (If you checked the box on tine                                                                                       32b ~ Some investment is not
                 Form 1041, line 3.                                                                                                                  at risk.
                                                                  6198 Your loss may 6e limited.
                  • ~f you checked 32b, you must attach Form                                                                                    Schedule C (Form 1040) 2021
                                                   Notice,  see the separate instructions.         1037 CPTS tUS091
      SPA        For Paperwork Reduct     ion Act

                                                                                                                                                FORTUN          Page 2C
           Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 82 of 95 Page ID #:549

                                                                                                                                    XXX-XX-XXXX
  GL:IZliRDO R VALDIVIA                                                                                                                             Page Z
Schedule C(Form i0A0)202
 Part III        Cost of Goods Sold (see instructions)

 33        Melhod(s) used to
                                          a   ~ Cost                  b     ~ Lower of cost or market            ~   ~ Other (attach explanation)
           value closing inventory'
                                                                                        opening and closing inventory?
 34        Was there any change in determining quantities, costs. or valuations between                                                          ~ No
                                                                                                                                ~ Yes
           If "Yes," attach explanation

                                                                                                                       ~ 35
 35        Inventory a; beginning of year. If different from last year's closing inventory, attach explanation

                                                                                                                         36
 36        Purchases less Cost of dems withdrawn for personal use


 37        Cost of labor. Do not include any amounts pale to yourself


 38        Materials and supplies


 39        Other costs


 40        Add lines 35 through 39


  41       Inventory at end of year


  42       Cost of goods sold. Subtract line 41 from line 40. Enter the result here and on line A .
                                                                                                             expenses on line 9
 Part IV         Information on Your Vehicle. Complete this part only if you are claiming car or truck
                                                                                                for line 13 to find out if you must
                 and are not required to file Form 4562 for this business. See the instructions
                 file Form 4562.

                                                                                         year)
  43        When did you place your vehicle in service for business purposes?(month day,

                                                                                       number of miles you used your vehicle for.
  44        Of the total number of miles you drove your vehicle during 2021, enter the

                                                      b Commuting (see Instructions)                                 c Other
       a    Business

                                                                                                                                     ~ Yes        ~ No
  45        Was your vehicle available for personal use during off-duty hours?

                                                                                                                                     ~ Yes        ~ No
  46        Do you (or your spouse) have another vehicle available for personal use?

                                                                                                                                     ~ Yes        ~ No
  47a       Do you have evidence to support your deductions

                                                                                                                                     ~ Yes        ~ No
       b    If "Yes ` is the evidence written?
                                                                                         or    30.
  Part V          Other Expenses. List below business ex enses not included on lines 8-26 line

       See STM Ol




                                                                                                                         ~ 4a                  166,~ 1 ~
   48        Total other expenses. Enter here and on line 27a
                                                                                                                                    Schedule C(Form 1040 2021
                                                                          io37 Cars ~uso92
  SPA                                                                                                                                         Page 21
                                                                                                                               FORTUN
         Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 83 of 95 Page ID #:550


                                                                                                                                           OMB No 1545-0074
SCHEDULE SE                                                Self-Employment Tax
(Form 1040)
                                       ► Go to www.irs.govlScheduleSE fnr instructions and the latest information.                         ~O~
Depanmern o1 ine Treasury                                                                                                                 Attachment
                                                       ► AtteCh t0 FOf~►1 1040, 1040-SR,   or 1040-NR.                                    Sequence No 17
Internal Revenue SerHce (99)
                                                             70a0 70~0•SR, or t040-N R)        ~ Social security number  of  person
Name of person with self-employment income (as shown on Form
                                                                                               ~withself-employmentincome ~ XXX-XX-XXXX
 GERARDO R VALDIVIA
                                                                                                                                                           _
  Part I          Self-Employment Tax
                                                                                employee    income,     see instruction  s  for how  to report  your income
 Note: If your only income subject to self-employment tax is church
 and the definit~on of church employee income
                                                                                                                you filed Form 4361, but you had
 A         Ii you are a minister, member of a religious order, or ChrisLan Science practitioner and                                                    ►
                                                                              check   here and    continue with  Part I
           $400 or more of other net earnings from self-employment,
 Skip lines 1a and 1b if you use the farm optional method in Part II. See instruction            s.
                                                                                                                      1Q65),
    1a Net farm profit or (loss) from Schedule F, line 34. and farm partnerships; Schedule K-1 (Form
           box 14, code A                                                                                                         1a
                                                                                                            Reserve
    b   If you received social security retirement or disability benefits, enter the amount of Conservation
                                                     F, line 4b, or listed on Schedule  K-1 (Form 1065), box  20, code AH           1b (                           )
        Program payments included on Schedule
Skip brie 2 if you use the nonfarm optional method          in Part  II See  instruction s.
                                                                                                             (other than
  2     Net profit or (loss) from Schedule C, line 31; and Schedule K-1 (Form 1065), box 14, code A
                                                                                                                     order           2                  3 6, 4 6 6
        farming) See msVuclions for other income to report or if you are a minister or member of a religious
                                                                                                                                     3                  3 0, 4 0 6
   3   Combine Ines 1a, 1b, and 2 .
   4a  If line 3 is more than zero. multiply Ime 3 by 92.35% (0.9235). Otherwise, enter amount from
                                                                                                                       line 3       4a                  33, 67 6
                                than  $400 due to Conservati on Reserve   Program  payments on   line 1b, see instructions .
       Note: If line 4a is less
                                                                                                     17 here                        4b
    b If you elect one or both of the optional methods, enter the total of lines 15 and
                                                     X400, stop,  you  don't  owe  self-emplo yment    tax. Exception: If
    c Combine lines 4a and 4b If less than
                          and   you  had  church   employee     income,    enter -0-and  continue                             ►      4c                33, 67 6
       less than X400
   Sa Enter your church employee income from Form W-2. See instructions
        for definition of church employee income                                                   5a
     b Multiply line 5a by 92.35% (0.9235). If less than $100, enter -0-                                                             Sb
                                                                                                                                      g                33, 6 6
   6    Add lines Ac and 5b
                                                                                                       social security tax
   7    Maximum amount of combined wages and self-employment earnings subject to
                                        7.65%   railroad retiremen  t (tier 1) tax for 2021                                           7                142,800
        or the 6.2% portion      of the
   8a Total social security wages and tips (total of boxes 3 and 7 on Forms)
                                                                                               ~
        W-2) and railroad retirement (tier 1) compensation. If $142,800 or
        more, skip lines 8b through 10, and go to line 11                                          8a
     b Unreported tips subject to social security tax from Form 4137, line 10                      gb
     c \Nages subject to soaal security tax from Form 8919. line 10                                8c
                                                                                                                                        8d
     d   Add lines 8a, 8b, and Sc
                                         7. If zero  or less,  enter -0- here  and on  line  10  and  go   to line   11            ►     g              14 2 , 8 0 0
    9    Subtract line 8d from line
                                                                                                                                        ~ p                 4 , 17 6
  10     Multiply the smaller of tine 6 or line 9 by 12.4% (0.124)
                                                                                                                                        ~~                      97 7
  11      Multiply line 6 by 2 9% (0.029)
                                                                                                    2 (Form      1040),   line 4        12                  S,  153
  12      Self-employment tax. Add lines 10 and 11. Enter here and on Schedule
  13      Deduction     for one-half    of  self-empl   oyment    tax.
          Multiply Ilne 12 by 50% (0.50). Enter here and on Schedule 1 (Form
                                                                                                      13                     2, 577
          1040 , line 15
                Optional Methods To F~ure Net Earnings {see                        instructio  ns)    __
  Part II
                                                                                                            wasn't more than
 Farm Optional Method. You may use this method only if (a) your gross farm income'
 58,820, or (b) your     net farm   profits'  were  less  than  X6,367.
                                                                                                                                         14                   5,880
  14      Maximum income For ~pUonal methods
                                                                                                         or $5,880. Also,
  15      Enter the smaller of: two-thirds (z/s) of gross farm incomes (not less than zero)
                                                                                                _                    _              - 1 15
          include this amount on Ime 4b above
                                                                                     nonfarm   profits' were    less  than  X6,367
 Nonfarm Optional Method. You may use this method only if (a) your net
                                                                          (b) you had net eammgs from self-employment
 and also less than 72.189% of your gross nonfarm income;' and
                                                                                      no more than five times.
 of at least $400 in 2 of the prior 3 years. Caution You may use this method
                                                                                                                                 -       16
   16      Subtract brie 15 from brie 14
                                                                                     (not  less   than  zero)    or the  amount    on
   17      Enter the smaller of two-thirds (2/~) of gross nonfarm income'
                                                                                                                                       l 17
           brie 16. Also, include this amount on line 4b above
                                                    box  14, code B.                      'From    Sch. C, line  31, and Sch.  K-1 (Form 1065), box 14, code A.
 ' From Sch. F, line 9 and Sch. K-1 (Form 1065).                                                                                                  14, code C.
                                                              code A—minus the amount I ' From 5ch C, Ime 7; and Sch K-1 (Fore 1065), box
 z From Sch. F, brie 34; and Sch. K-1 (Form ?065} box 14, optional
    you would have  entered on brie 7b had  :ou not used  the         method.
                                                                          instructions.           7037 CPTS 1US171                        Schedule SE (Form iO4o) 202
  SPA For Paperwork Reduction Act Notice, see your tax return

                                                                                                                                   FORTUN           Page 22
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 84 of 95 Page ID #:551



                                      ~tualified Business Income Deduction                                                          OMB No.154S2294
Fon„    8995                                        Simplified Computation                                                            2~2~
                                                            ►Attach to your tax return.                                              Attacnment
DepaAment of the Treasury
Internal Revenue Service          ► Go to www.irs.govlForm8995 for instructions and the latest information.                          Sequence No 55

Names) shown on return                                                                                             Your taxpayer identification number

GERARDO R VALDIVIA                                                                                            X XXX-XX-XXXX
Note, YOU C2~ Clelm th2 gUellfled bUSin25S inCom2        deduCti~n only   if you have qualified business  income   from a qualified trade or
business, real estate investment trust dividends, publicly traded partnership income, or a domestic production activities deduction
passed through from an agricultural or horticultural cooperative. See instructions.
Use this form if your taxable Income, before your qualified business income deduction, is at or below $164,900 ($164,925 if married
filing separately; $329,800 if married filing jointly), and you aren't a patron of an agricultural or horticultural cooperative.

   ~                              (a) Trade. business, w aggregation name                                  (b) Taxpayer          (e) Qualified business
                                                                                                       identification number        income or (bss)




   i     TONDERO RESTAURANT                                                                            XX-XXXXXXX                             33,889

   ii

  iii

  iv

   v

   2    Total qualified business income or (loss). Combine lines 1i through 1v,
        column (c)                                                                                 2              3 3, 8 8 9
   3     Qualified business net (loss) carryforward from the prior year                          3               2 6)
   4     Total qualified business income.  Combine   lines 2  and  3. If zero or less, enter -0- 4       3  3 , 8 63
         Clualified business Income   component.    Multiply line 4 by   20%  (0.20)                                            5                 6, 7 7 3
   5
   6     Qualified REIT dividends and publicly traded partnership (PTP) income or (loss)
         (see instructions}                                                                      g
   7     Qualified REIT dividends and qualified PTP (loss) carryforward from the prior
         year .                                                                                  7                  )
   8     Total qualified REIT dividends and PTP income. Combine lines 6 and 7. zero      If
         or less, enter -0-                                                                      g
  9      REIT and PTP component. Multiply line 8 by 20% (0.20)                                                                  9
 10      CZualified business income deduction before the income limitation. Add lines 5 and 9                                   ~p                6, 773
 11      Taxable income before qualified business income deduction (see instructions)            11       21, 3 3 9
 12      Net capita{ gain (see instructions)                                                     ~2
 13      Subtract line 12 from line 11. If zero or less, enter -0-                               ~3       21, 3 3 9
 14      Income limitation. Multip{y line 13 by 20% (0.20)                                                                      ~q                9 , 2 68
 15      Qualified business Income deduction. Enter the lesser of line 10 or line 14. Also enter this amount on
         the applicable line of your return (see instructions)                                                    ►             ~5                4, 2 5 8
  16     Tota! qualified business (loss) carryforward. Combine lines 2 and 3. If greater than zero, enter -0-                   ~g
  17     Total qualified REIT dividends and PTP (loss) carryforward. Combine lines 6 and 7. If greater than
         zero, enter -0-                                                                                                        17
 SPA For Privacy Act and Paperwork Reduction Act Notice, see instructions.                1037 CP7S 1USoA~                              Form 8995 (2ort)




                                                                                                                         FORTUN            Page 23
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 85 of 95 Page ID #:552

                             Table of Additional Statements
                                                                               ***-**-3264
GERARDO R V~LDIVIA

STM O1 - US SCH C           PART V - Other Expenses

Description                          Amount

LOCAL 2EN`I'                         38, 6'i6
LIGHT' SERVICE                        6, 240
GAS SERV~C~'                          3,84C
TELEPHONE INTLRNE`I'                     924
MEATS ANU PRODUCE                   101,083
PERUVIl~N PRODIICT                    4,088
CRDIT CARD AND DEBT' MACE'=           2, 480
GAS FOR DELIVERIES                    3,516
MAITENANCE FOR F;QL'IPMENT               600
GREl1SE PUMP SERVICE                     720
DESSERTS                              1,454
TABLES                                   900
FILTERS                                  840
TV 65                                    650

Totat                               ?66,011




                                     f




                                                                      FORTUN     Page 24
       Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 86 of 95 Page ID #:553


                                                                                                                          ■                              FORM
TAXABLE YEAR

                                                                                                                                                        540
     2021             California Resident Income Tax Return
                                              `.P'~:                                                        ATTACH FEDERAL RETURN
                                                                                                            21        PBA          ?22511
XXX-XX-XXXX                    VALD
GERARDO                        R      VALDIVIA



1 0776 GREEN HURST ST
EELLFLOWER          CA                                 90700-OO~C

12-27-1986




           Enter your coumy at time of filing (see instructions)

~     Q          LOS ANGELES
                                                                                  e           at the 6me of filing, check this box .. .. Q
~            If your address above is the same as your pnnapaVphysical vesidenc address
                                                                                       fling.
,~           If not, enter below your prinGpaUphysical residence address at the bme of
 v                                                                                   ns)                                          Apt noiste. no
~            Street atltlress (number and street)(If foreign address, see instructio
                                                                                                                              ~
Q      ~ I
                                                                                                                             O~~
V
@      O~t                                                              --        —-----         --- - -
C                                                                                                                                           ZIP code
                                                                                                                                  Slate
a            Gty                                                                                                                                                     - ~
                                                                                                 --
                                                                                                                                                                       i
              -
              - ——                          —                           --

                                                                                                check the box here ............... ......... ❑
               If your California filing status is different from your federal filing status,

~        1 a Single                                                4 ❑ Head of househo{d (~nnth quahfymg person). See instructions.


~        2 ❑Married/RDP filing jointly See inst                     5 ~ Qualifying vwdow(er) Enter year spouse/RDP died.
rn
;~                                                                              See instructions.                                                      —J
                                                                                                                                                                 -
                                                                            IRDP's SSN or ITIN above and full name here. ~~
         3 ~ Mamed/RDP filing separatey. Enter spouse's

                                                                                     box here. See ~nst....... ... • g ❑
         6     If someone can claim you {or your spouse/RDP)as a dependent,check the

                                                                             enter in the box by the pre-punted d011ar 8mount for that line.
      ~ For line 7, line 8, line 9, and line 10' Multiply the number you                                                                               Whole dollars only
                                                                                   box. If you checked
 N      7 Personal: If you checked box 1, 3, or 4 above, enter 1 in the                                                                                  12 9.         _~
            box 2 or 5, enter 2 in the box. if you checked       the box  on line 6, see instructions. O ~ ~X $~ 29 =O $ ~
 o
                                                 RDP)  are  visually Impaired , enter  1;
 ~-     8 Blind: If you (or your spouse/
                                            . enter 2 ... .  ..... .  . _ ..     . ... ........             ~8 ~X $129 =0$
 X          rf both are  visually impaired                                                                      u
                                                                                 1;
 w      9 Senior: If you (or your spouse/RDP)are 65 or older, enter                                                                                                  ~
                                                                                        .. . ... .. ..... . • 9 ❑ X $129 =Q S L
            rf both are 65 or older, enter 2. See instructions



                                                                   068               3101214                 r—                           Form 540 2021 Side 1

                                                                                                                                           FORTJN          Page 25
         Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 87 of 95 Page ID #:554




           GERARDO R VALDIVI                                                                                 795253264                                   ■
Your name' ~              __. Your SSN or ITIN'
       10 Dependents: Do not include yourself or your spouselRDP.
                          Dependent 1                             Depender►t 2                                                                                  Dependerrt 3
               F irstName      O.                                                          ~     Oi                                                        O j                                    ~
                                                                                                                                                             L                                    1


               Last Name       O.                                                ~               O ~                                  _~                   O



:~             SSN. See         ~                                                         ~      ~ ~                                                        ~
               in5W000~5                  _ _               _

x'
°              oepende~rs             _                 —       —                          —
w              relationship    O ~                                                               O~                                                        O
               t oYa                                                                       —._
                                     ~ --                       -   -


        Total dependent exemptions                                           .. . .        ... .. . . .. ..... ... . ... • 10 ~ X $400 = Q $

        11   Exemption amourrt: Add line 7 through line 10. Transfer this amount to line 32 . . . . ...... . . . ..... ~ 11 $                                                      12 9


        12          9e      Y Urfederal
             Forms) W2frbax 16       ._.. ..... . _. _                                _    • 12                                                   .00


        13   Enter federal adjusted gross moome from federa Form 1040 or 1040-SR, tine 11                                                             _ Q 13               3 3, 8 8 g .          . 00
        14   Calrfornia adjustments —subtractions. Enter the amount from Schedule CA (540),
             Part I, line 27, column B _        . ..           .. . . .. . ... . .... . ..... . . .. . . . . .                               . _ ... . . ~ 14
        1S   Subtract Ime   14  from  tine     If
                                           13. less          than     zero,     enter     the     ~sutt    in  parentheses.
9t           See instructions ... . . ... . . .. . . .. . . .. . . . . . . . ..... . . . . . . . .. . . ..... .......... . ....... . . . .. . . . . .      ~5              33~ 889.              . 00
0       16   Caldomia adjustments —additions. Enter the amount from Schedule CA (540),
~            Part I, line 27. ooiumn C                    _                . . . .. . . ... ...... . .                                                   • 16                               ~

        17   California adjusted gross income. Combine line 15 and tine 165                                                                        • 17                    3 3, 8 8 9 .     ~ . 00
~       18   Enter the         Your Calrfomia itemized deductions from Schedule CA l5401, Part Ii, tine 30; OR
             larger of         Your Califom~a standard deduction shown below for your filing status'
                           .Single a MarnedlRDP filing separately.. . . . _ .... ... . ........ . . .. . _. . .. . . . . ... $4.803
                           .Mamed/RDP filing ~oinUy, Head of household, or Qualifying widow(er). . . .. $9,606                                                  ~                                .
                                                                                                                               • 18                                            4, 8 0 3 .
                           If Married~RDP filing separately or the box on I~ne 6 is checked, STOP See instructions
        19   Subtract line 18 from line 17. This is your taxable income                                                                                         ~          2 9, 0 8 6 .              ~
             ff less than zero, enter -0- . ........... . . . . .. . . ...... . ..... . ...... ..                              Q 19                             ~_



                                                                    Tax Table                    ~ Tax Rate Schedule
        31   Tax. Check the box if from
                                        ~ ~ FTB 3800                    • ~ FTB 3803 . . . . .. .... . . . . .. • 31                                                              02 9 .         . 00
        32   Exemption credrts. Enter the amount from line 11 If your federal AGI is more than
X            $212,288, see instructions      . . . . . _ ... .. .... ..   ... . . . .. . . . . . . . _ _ .. .   Q 32                                                              12 9 .
rn
H
                                                                                                               . . . . . . . . . ..      _ _       ~ 33         ~                 500.           . 00
        33   Subtract line 32 from line 31 ~f less than zero, enter -0-

        34   Tax. See instructions. Check the box rF from. • ~ Schedule G-1 • ~ FTB 5870A .. • 34                                                                                                . 00


        35   Add ime 33 and 6ne :i4                                      ...... . .. ...... . . . . . . ..... . .... .... .. .. _ . . . ..... ... . .. Q 35                       500 .          .a



~       40   Nonrefundable Child and Dependent Care Expenses Credd. See instructions . . .. . . . . . . • 40

_       43   Enter cxedit name ~                            _. . - --                          . code • ~ and amount .. • 43                                    ~_
•                                                                                           ---
~ ~i    44   Enter credit name ~                                        __            __    __~ code • ~ and amount     • 44                                    ~                               ~ • ~I



r Side 2 Form 540 2021                                                         0 68                   310 2 214                    ~—                                                           ,

                                                                                                                                                                     FORTUN             Page 26
          Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 88 of 95 Page ID #:555




 Your name:           G_ VALDIVIA
                              _ _                         J'~ Your SSN or ITW~              795253264

          45 7o claim more than two credits See instructions. Attadi Schedule P(540) ................... • 45                                                 •~

~         46    Nonrefundable Renters Credit See instructions .                                              ... _ . _ . . • 46                               . 00
cv
~`-
 ;        47   Add Gne 40 through line 46. These are your total credits ... . . .                                 .. ....... Q 47                       _—~ . 00

         48    Subaact hne 47 from hne 35 If less than zero, enter -0- . .. ....                                            O 4s               500.           . 00


         61    Aiternatrve Minimum Tax. Attach Schedule P(540) ...

         62    Mental Health Services Tax.See insWct~ons                                                           .........• 62

         63    Other taxes and credit recapture. See instructions                                                      . . ....• 63                           • Lw.i
 v
         64    Excess Advance Premium Assistance Subsidy(APAS)repayment See inshuct~ons . .... • 64                                                           • CI

         65    Add line 48, bne 61, line 62, line 63,and line 64. This is your total tax .... .. ...                    . . .• 65              50 ~ .



         71    Calrfom~a income tax v~nthheld. See msVuctrons ........ . . . .                                             • 71                               .a

         72 2021 CA estimated tax and other payments. See Instructions                                                      ~ 72

         73    Withholding {Fom~ 592-B and/or 593). See insUudions                                                         • 73                               •G

~        74    Excess SDI(or VPDI)withheld. See instructions                                                               • 74
a
a        75    Eamed Income Tax Credit(EITC)                                                                                • 75

         76    Young Child Tax Credit(YCTC) See msUuctions               .. .. ............. .. .. . ... . .... .. .       • 76

         77    Net Premium Assistance Subsidy(PAS). See InsWctions . .. ... ............. . . ..                           • 77
         78    Add hne 71 ttvough hne 77 These are your total payments.
               See instructions _ _                   ..        _ ... . .                                                  o ~$ ~                             .a
~        91    Use Tax.Do not leave blank. See mstrucGons ....... .. .. _ _ .. . ... _ . .. • 91 f                                     ~.00
v
~              ff line 91 is zero, check if    ~ No use tax is owed.                 ~ You paid your use tax obligation directly to CDTFA.

         92    If you ar~d your household had full-year health care coverage, check the box.
 ~,            See insVuct~ons. Medicare Part A or C coverage is qualifying health care coverage.                          •
~~             If you did not check the box, see msU~udions.

     a         IndNiduai Shared Responsibddy(fSR)Penalty. See mstrucbons                             • 92      L                            ; • 00

                                                                                                                                      ~---              -
0        93    Payments balance. If line 78 Is more than line 91,subVact Ime 91 from line 78 ... . . .                     Q 93                          ~ •a

         94 Use Tax balance. If line 91 is more than line 78, subtract line 78 from line 91 .. .......              ~ 94                         _--J
~        95 Payments after Individual Shared Responsibility Penalty. If bne 93 is more than line 92,
            subtract line 92 from line 935     _..... ................. ......... ........... ................. . . Q 95


                                                                                                                        ...0 96 ►                             .a
rs
         96 individual Shared Respons,bility Penalty Balance. if Nne 92 is more than Gne 93,then
            subtract line 93 from line 92 ... ..... ..........................................................


                                                             068                3103214                      ~                         Form 540 2021 Side 3

                                                                                                                                        FORTUN       Page 27
       Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 89 of 95 Page ID #:556




Your name'        GERARDO VALDIVIA                       Your SSN or ITIN:           795253264                         ■


a~
0     97    Overpaid tax. If line 95 is more than line 65,subtract ime 65 from line 95       ..... ............. Q 97
x
 ~    98    Amount of line 97 you want applied to your 2022 esbmated tax        _ .. .. _................... • 98 ~                                 .00
F-
      99    Overpaid tax available this year. Subtract line 98 from hne 97 . .. ......... .... .... ... . ... ~        99 ~           ~• 00
~-
                                                                                                              _ Q 100                 500. _J .
      100 Tax due. ff line 95 is less than hne 65, subtract line 95 from line 65 .

                                                                                                                    Code Amount

            Calrfomia Seniors Special Fund. See insVuctions       ._. _                                   .. . • 400 ~-           -   ___

            Alzheimers Disease and Related Dementia Voluntary Tax Confibution Fund .. .............. • 401 ~                                        •a

            Rare and Endangered Species Preservation Voluntary Tax Con~nbution Program ........... • 403

            Califom~a &east Cancer Research Voluntary Tax Contribution Fund ...................... _ .. • 405 ~                                 ~ • 00

            Cahfomia Frefighters' Memorial Voluntary Tax Contribution Fund           ............                • 406                              • 00

            Emergency Food for Families Voluntary Tax ContnbuGon Fund . .. .              . .._ .. . . .............. • 407

            California Peace Officer Memorial Foundation Vduntary Tax Contribution Fund                           ~ 408 ~_____~ - 00

            California Sea Otter Voluntary Tax Contribution Fund. . ........................                     • 410 ~_

            California Cancer Research Voluntary Tax ContnbuUon Fund .................................... • 413 ~                                   .00


 ~,         School Supplies for Homeless Children Voluntary Tax Contribution Fund             .................. • 422
 c

~           State Parks Protection Fund/Parks Pass Purchase .........................         .................. • 423
 ~L

 C
 c~         Protect Our Coast and Oceans Vduntary Tax Contribution Fund . .. ..               .................. ~ 4~


            Keep ARs in Schools Voluntary Tax ConVibubon Fund ...                             .................. • 425

            Prevention of Animal Homelessness and Cruelty Vduntary Tax Confi6ution Fund............ • 431                                       ~ .00

            California Senior Cit¢en Advocacy Voluntary Tax Contribution Fund . . . .                            • 438 I                        i - 00

            Native California Wildlrfe Rehabilitatbn Voluntary Tax Contribution Fund                             • 439                              •~

            Rape Klt Backbg Voluntary Tax ConVibution Fund                                                       • 440 ~                            •~

            Schods Not Prisons Voluntary Tax Contribution Fund ... .                                            .~                                  .n
            Su~c~de Prevention Voluntary Tax Con(nbuUon Fund ... ...... ....... ....... ..... .............. • 444                              ~

            Mental Health Crisis Prevention Voluntary Tax Coninbutbn Fund. .. . .. ..                            • 4A5                              • 00

            California Community and Neighborhood Tree Voluntary Tax Contribution Fund ............. ~ 446                                          • ~~

      110 Add code 400 through code 446. This ~s your total contnbuhon ... . ... ....................... • 110                                      . 00


           Side 4 Form 540 2021                          068              3104214                   r—                                              —'

                                                                                                                              FORTUN        Page 28
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 90 of 95 Page ID #:557




Your name: ~GERARDO
           ~        VALDIVIA                                      Your SSN or IT1N:          795253264                             ■


~~ 111 AMOUNT YOU OWE. If you do not have an amount on hne 99, add hne 94, line 96,line 100, and 6ne 110. See instructions. Do not send cash.
    ~        Mail to      FRANCHISE TAX BOARD,PO BOX 942867,SACRAMENTO CA 94267-0001 ... • 111                                         ~                S O O.               I ,C
Qr           Pay Online — Go to ftb.ca.govlpay for more infom~alion.                                                                   `----                  -     ----


        112 Interest, late return penalties, and late payment penalties            ......... .                ..... ......     112                                            •a
    ~ 113 Underpayment of estimated tax.
                                                                                                                                                                    __.
~~           Check the box:•~ FTB 5805 attached •~ ~g $gOSF attached ............ ......• 113
ra
c                                                                                                                                  ~
        114 Total amount due. See instructions. EnGose, but do not staple. any payment .                                       114 I ~'00.

        115 REFUND OR NO AMOUNT DUE,SubVact the sum of line 110, line 112 and line 113 from line 99. See instructio~u.


             Mail to FRANCHISE TAX BOARD,PO BOX 942840, SACRAMENTO CA 94240-0001.... • 115

             Fill m the information to authorize direct deposit of your refund into one or two accounts. Do not attach a voided check a a deposit slip.
N            See inshuctions Have you verified the routing and account numbers? Use whole ddlars only.
             All or the following amount of my refund (line 115)is authorized for direct deposit into the ao~ount shown below:


o                      number •
             • Rouling__         TYPe
                               }( Checking                       •Account number                                                       • 116 Oirect deposit amount

~               322271627                                        757377079                                                                                                   .~
~                                       ~ Savings                        -------

             The remaining amount of my refund (line 115)is author2ed for direct deposit into the account shown below
                              • Type
             • Routing number ~ Chedang                          •Account
                                                                 _        number                                                       • 117 Direct deposit amount
                                                                        -        —                   — -I                              —    -
                                                                            -                                                                                    . 00
                  --                    ~ Sarongs                                                                                                 — -- --------~

IMPORTANT: See the instructions to find out it you should attach a copy of your wmpiete federal tax return.
Our privacy notice can be found m annual tax booklets a online Go to ftb_ca.govlprivacy to Team about our privacy poky statement, a go[o ftb.ca.govlforms and search for 1131
to locate F T B 1131 ENSP,Franchise Tax Board Privacy ~bhce on Collection. To request Uvs notice by mad,caU 800.338D505 and enter tarn o de 948 when instn~cted.
Under Fenalhes of pequry, I declare that 1 have examined this tax return, indud~ng accompanying schedules and statements, and to the best of my knowledge and belief, d
~s true. correct, and complete.
Your su~nature                                                               Date                        Spouse s/RDP's signature (rf a joint ~x return, bo+h must s~,n)

~                                                                                4/17/22                  ~

                    O
                    i Your email address. Enter only one email address.                                                                          O. Preferred phone number

                        papelito1128@hotmail.com                                                                                            ~,    562-200-5748
Sign
                       r__
                       Paid                .      ~°         P                   aq information of which preparer has any knowledge)
Here                      ~al~
it.s unlawful          -/------- --                                                                                                                                             i
to forge a             Fern's name(a yarn,rf self-empbyed)                                                                                                 • PT1N
spouse s/                         —
ROP's                  '~GISELL~ L FORT[;N                                                                                                                   P01054320
sgnature.
                       Frm s address                                                                                                                       • F~mis FEIN
Jant tax
~~m?                    5720 IMPERIAL H~niY SOUTH GATE CA 90280
                                                                                                                                                                  ---
ir~swapns?
                       Do you want to allow another person to discuss this tax return with us? See instructions . ......... ....       •~ Yes             ~ No
                       Pnnt TMrd Party Designee's Name                                                                                           Telephone dumber




                                                                                   3105214                    -
                                                                                                              r                            Form 540 2021 Side 5

                                                                                                                                                 FORTUN           Page 29
Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 91 of 95 Page ID #:558




                               Other Mailable Forms

Prepared for:
   GERARDO R VALDIVIA


   10476 GREEN HURST ST
   BELLFLOWER GA 90706




  Following are Mailable copies of forms which are NOT a part o'
  State Tax Return, but need to be mailed to a separate location.




  Remember to attach copies of any required supporting docum




                ~et::rn Pri.n~ed on 04/ 7/2022 at 00:22:58 AM


                                              tUSDDRI               FORTUN   Page 01
      Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 92 of 95 Page ID #:559



                ,~E ~n~„~d~heT~aes~ry
                    1040-ES           ~
                                        2022 Estimated Tax
                      IIIIP_f11A1 R!lVRILM SPNM'F
                                                                                                                      Payment
                                                                                                                      Voucher         3          ~,BNo ,~~0~4
                File only if you are making a payment of estimated lax by check or money order. Mail Ih1s            Cdlendaf year—Due Sept. 15, 2022
                voucher with your check a money order payable to "United States Treasury." Write your                Amount of estimated tax you are paying
                social security number and "2022 Form 1040-ES" on your check or money order. Do not send             by check or              Dollars        Cents
                cash. EnGose, but do not staple or attach, your payment with this voucher.                           money order.
                                                                                                                                                   1 55.E 00
                        Your first name and middle ~nitial                              Your last name                           Your social security number
                        GERARDO R                                                      `~~ALDIVIA                               XXX-XX-XXXX
Pay online at   If point payment, complete for spouse
www.irs.govl a Spouse's first name and middle initial
                                                                                        Spouse's last name                       Spouse's social security number
~PaY
              a
                 `o     Address (number, street, and apt. no.)
Simple.
Fast.                   10976 GREEN EiURST ST
Secure.          n
                 ' City, town, or post once 1f you have a foreign address, also complete spaces below.                 State          ZIP code
                        BELLFLOWER                                                                                       CA             90706
                         Foreign country name                                           Foreign provincelcounty                  Foreign postal code

                SPA For Privacy Act and Papervvork Reduction Act Notice, see instructions.                        1037 CPTS tUSESt

                                                                             Tear off here


                __ 1040.Es                                                                                            Payment
                o Oepartmenl 01 the Treasury
                      Il1fIPtlIAI RPVAM~R SP.MCP.
                                                    12022 Estimated Tax                                               Voucher         ~          OMB No. 1545-0074

                File only it you are making a payment of estimated tax by check or money order, Mail this            Calendar year—Due June 15, 2022
                voucher v~alh your check a money order payable to "United States Treasury." Write your               Amount of estimated tax you are paying
                social security number and '2022 Form 1040-ES" on your check or money order. Da not send             by check or            Dol ars      cents
                cash. Enclose, but do not staple or attach, your payment with this voucher.                          money order.
                                                                                                                                               1,5 S ~~ ~ ~
                         Your first name and middle initial                             Your last name                            Your social security number
                       GERARDO R                                                       ~v%ALDIVIA                                XXX-XX-XXXX
Pay ordine at           If joint payment, complete for spouse
www~rs.gov/             Spouse s first name and middle irntial                          Spouse's last name                       Spouse's social security number
~PaY             a
                 T

                 o      Address (number, street, and apt. no.)
Simple.
Fast.            ~ 104 76 GREEN HURS'~' ST
Secure.          a      Cfty, town, or post office. If you have a foreign address, also complete spaces below.         State          21P wde
                       BELLFLOWER                                                                                        CA             90706
                         Foreign country name                                           Foreign province/county                   Foreign postal code

                SPA For Privacy Act and Paperwork Reduction Act Notice, see instructions.                         ioa~ cars iuses~

                                                                             Tear off here

                      1040-ES                                                                                         Payment
                      Depanm8nt0~It~ETreasury
                      Inlemal Revenue Service
                                                    ~ 2022 Estimated Tax                                              Voucher                    OMB NO. 1 S4S-0074


                File only if you are making a payment of estimated tax by check or money order. Mail this            Calendar year—Due April 18, 2022
                voucher with your check or money order payable to "United States Treasury." Write your                Amount of esiimated tax you are paying
                social security number and "2022 Form 1040-ES" on your check or money order. Do not send              by check or            Dollars      Cerns
                cash. Endose, but do not staple or attach, your payment with Ihis voucher.                            money order.
                                                                                                                                                1,550 00
                         Your first name and middle initial                             Your last name                            Your social security number
                       GERARDO R                                                        VALDIVIA                                 XXX-XX-XXXX
Pay online at            If joini payment, complete for spouse
www.irs.govl     y Spouse's first name and middle irntial                               Spouse's last name                        Spouse's social security number
etpay            a
                 T

                 o      Address(number, sVeet, and apt. no.)
Simple.
Fast.            c 10476 GREEN HURST ST
Secure.         a City, town, or post office. If you have a foreign address, also complete spaces below.               State          ZAP code
                       BELLFLOWER                                                                                       CA             90706
                        Foreign country name                                            Foreign province/county                   Foreign postal code

                SPA For Privacy Act and Paperwork Reduction Act Notice, see instructions.                         1037 CPTS 1 USESt       Form 1040-ES (2022)

                                                                                                                                FORTUN            Page 02
        Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 93 of 95 Page ID #:560


  GERARDO R VALDIVIA                                                                                                                        XXX-XX-XXXX
Record of Estimated Tax Payments (Farmers, fishermen, and fiscal
year taxpayers, see Payment Due Dates.)                                                                          Keep for Your Records


                                                                        (c)Check or                 (d) Amount paid
                                                                                                                               (e)X21              (~ Total amount
 .~,~     Pa~~~           (a)Amount             (b) Date           money order number, or           (do not include     ~    overpayment           paid and credited
            due              due                  paid               credd or debit card            any convenience
 EE                                                                                                                          credit a Ged          (add d and e
    ~       date
a                                                                   Confirmal~on number                   fee)                       PP                 (~       ~ ~~
         —                                                                                      ~
  1     4/18/2022 i

  2     6/15/2022

  3     9/15/2022 '


  4     1 J 1712023`


 Total.                                                                                     ►

 You do not have to make this payment if you file your 2021 tax re[um by January 31, 2023. and pay the entire balance due with your return.




Privacy Act and Paperwork Reduction Act Notice. We ask for this                   We may disGose it to cities, states, the District of Columbia, and U.S.
m(ormation to carry out the tax laws of the Untied Stales. We need it to          commonwealths or possessions to carry out their tax laws. We may also
figure and collect the right amount of tax. Our legal right to ask for this       disclose this information to other countries under a tax treaty, to federal
information is Internal Revenue Code section 6654, which requires that            and state agencies to enforce federal nontax criminal laws, or to federal
you pay your taxes in a specified manner to avoid being penalized.                law enforcement and intelligence agencies to combat terrorism.
Additionally, sections 6001. 6011, and 6012(a) and their regulations
                                                                                      If you do not file a return, do not give the information asked for, or
require you to file a return or statement for any tax for which you are
                                                                                  give fraudulent mformafion, you may be charged penalties and be
liable; section 6109 requires you to provide your idenGfying number.
                                                                                  subject to criminal prosecution.
Failure to provide this information, or providing false or fraudulent
in(ormal~on, may subject you to penalties.                                            Please keep this notice with your records. It may help you if we ask
                                                                                  you for other information. If you have any questions about the rules for
   You are not required to provide the information requested on a form
                                                                                  filing and giving information, please call or visit any Internal Revenue
 that is subject to the Paperwork Reduction Act unless the form displays
                                                                                  Sernce office.
a valid OMB control number. Books or records relating to a form or its
instructions must be retained as long as their conle~ts may become                    The average time and expenses required to complete and file this
material in the administration of any Internal Revenue law. Generally,            form will vary depending on individual circumstances. For the estimated
 tax returns and return information are confidential, as stated in Code           averages, see the instructions for your income tax return.
section 6103.                                                                       If you have suggestions for making this package simpler, we would be
   We may disclose the information to the Department of Justice for civil         happy to hear from you. See the instructions for your income tax return.
and criminal litigation and to other federal agencies, as provided by law.



                                                                        Tear off here


             a ~~o^EseTreasury                                                                                        Pa merit
             ~ Internal Revenue Serv~ee
                                        2p22 Estimated Tax                                                            Vusher            4          oh16No 1545-0074
                                                                                                                      Calendar year—Due Jan. 17, 2023
             File only if you are making a payment of est~maled sax 6y check or money order. Mail this
             voucher with your check or money order payable to "United States Treasury." Write your                   Amount of estimated tax you are paying
             soGal security number and "2021 Form 1040-ES' on your check or money order. Qo not send                  by check or            Dollars       cents
             cash. Encbse, but do not staple or attach. your payment with this voucher.                               money order.               j 5 5'_ ~
                   Your first name and middle initial                               Your last name                                Your social security number
                  GERfiRDQ R                                                       `vALDIVIA                                      795-25-326 4
                If joint payment, complete for spouse
Pay online at   Spouse's first name and middle initial                             Spouse's last name                             Spouse's soaal security number
www.irs.gov/ a
~Y            F
              o Address (number, street, and apt. no.)
Simple.           10976 GREEN E?URST ST
Fast.         a    City, town, or post office. If you have a foreign address, also complete spaces below.              State            ZIP code
Secure.                                                                                                                     CA      ~     90706
                  BELLFLOWER
                   Foreign country name                                            Foreign province/county                        Foreign postal code


             SPA For Privacy Act and Paperwork Reduction Act Notice, see instructions.                     t037 CPTS 1USES2                  Form 1040-ES (2022)


                                                                                                                                 F~RTUN              Page 03
            Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 94 of 95 Page ID #:561

     GERARDO R VALDIVIA                                                                                             795-25-326

   2022 Estimated Tax Worksheet                                                                                    Keep for Your Records
        1      Adjusted gross income you expect in 2022(see instructions)
                                                                                                                              1          33,889
     2a        Deductions
               • If you plan to itemize deductions, enter the estimated total of your Itemized deductions
                                                                                                                              ya         12,  950
                                                                                                             .
              • If you don't plan to itemize deductions, enter your standard deduction.
       b       If you can take the qualified business income deduction, enter the estimated
                                                                                              amount of the deduction        Zb
      c        Add lines 2a and 2b
                                                                                                                       ►     Z~          12,950
     3         Subtract line 2c From line 1
                                                                                                                              3          2 0, 93 9
     4         Tax. Figure your [ax on the amount on line 3 by using the 2022 Tax Rate Schedule
                                                                                                         s.
               Caution: If you will have qualified dividends or a net capital gain, or expect exclude
                                                                                              to           or deduct
              foreign earned income or housing, see Worksheets 2-5 and 2-6 in Pub.
                                                                                          505 to figure the tax .             4
     5                                                                                                                                    2, 3 0 7
              Alternative minimum tax from Form 6251
                                                                                                                              5
     6        Add lines 4 and 5. Add to this amount any other taxes you expect to include
                                                                                               in the total on Form
              1040 or 1040-SR, line 16 .
                                                                                                                              6           2, 3 0 7
    7         Credits (see instructions). Do not include any income tax withholding on this
                                                                                                 line                         ~
    8         Subtract line 7 from line 6. If zero or less, enter -0-
                                                                                                                              g           2, 3 0 7
    9         Se{f-employment tax (see instructions)
   10         Other taxes (see instructions)
                                                                                                                             g            5 , 152
                                                                                                                             ~p
   11a        Add lines 8 through 10
                                                                                                                            ~~a           7, 4 5 9
     b        Earned income credit, refundable child tax credit' or additional child tax credit, fuel
                                                                                                       tax credit, net
              premium tax credit, refundable American opportunity credit, section 1341 credit,
                                                                                                    and refundable
              credit from Form 8885'
                                                                                                                           11b
     c        Total 2022 estimated tax. Subtract line 11b from line 11a. If zero or less, enter
   12a
                                                                                                    -0-               ►    11c            7, 4 5 9
              Multiply line 11c by 90% (66 2/,% for farmers and fishermen)                   ~Za                  6, 713
     b        Required annual payment based on prior year's tax (see instructions}           ~ Zb                7, 0 0 3
     c       Required annual payment to avoid a penalty. Enter the smaller of line
                                                                                            12a or 12b                ►    12c            6, 713
             Caution: Generally, if you do not prepay (through income tax withholding
                                                                                            and estimated tax
             payments) at least the amount on line 12c, you may owe a penalty for not paying enough
                                                                                                              estimated
             tax. To avoid a penalty, make sure your estimate on line 11c is as accurate
                                                                                             as possible. Even if you
             pay the required annual payment, you may still owe tax when you file your return. If you prefer,
                                                                                                                     you
             can pay the amount shown on Ime 11c. For details, see chapter 2 of Pub. 505.
   13        Income tax withheld and estimated to be withheld during 2022 (including income tax withholdin
                                                                                                                    g
             on pensions, annuities, certain deferred income, etc.)
                                                                                                                            ~g               512
   14a   Subtract line 13 from line 12c
                                                                                       14a i             6, 2 Ol
         Is the result zero or less?
          ❑ Yes. Stop here. You are not required to make estimated tax payments.
          ~X No. Go to line 14b.
     b Subtract line 13 from line 11 c
                                                                                       14b ~             5,947
         Is the result less than $1,000?
          ❑ Yes. Stop here. You are not required to make estimated tax payments.
              No. Go to line 15 to figure your required payment.
 15      If the first payment you are required to make is due April 18, 2022, enter Y, of line 14a (minus
                                                                                                          any
        2021 overpayment that you are applying to this installment) here, and on your estimated
                                                                                                     tax
         payment voucher(sy if you are paying by check or money order
                                                                                                                 ~5                   1,550
'If applicable




 Form 1040-ES (2022)


                                                                     ~USE33

                                                                                                                 FORTUN         Page 04
            Case 2:22-cv-07303-TJH-KS Document 45 Filed 05/12/23 Page 95 of 95 Page ID #:562



      ~.


      4
      ~l




'.+




                                                                                                     ~.                ,,
                                                                                                                                    f        ...
                                                                                                              . ~`: ~,~


                      --          --



                  ~          _         ~
                                                                                                              ~.
                                                                                                   ..~
           ~~                              y.                                                      ,~K..~:-
                                                                                                        ~
                                                                _~
_.~,                                            ;~.~
   ~.                                                                k ~~   ~~ ~ ~                                                ~F
           . ..                                   _~        y
                                                            y
                                                                                          . ~; '                       `7~''            u^    r
                              i
                           ~~`►                        +R
                                                                                     '\                       i    ~   ~t      i ~~~iit.-
